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                             EXHIBIT 4
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 K.C., et al.,                                 )
                                               )
                 Plaintiffs,                   )
                                               )
 v.                                            )       No. 1:23-cv-00595-JPH-KMB
                                               )
 THE INDIVIDUAL MEMBERS                        )
 OF THE MEDICAL LICENSING                      )
 BOARD OF INDIANA, in their                    )
 official capacities, et al.,                  )
                                               )
                 Defendants.                   )

                      EXPERT DECLARATION OF DANIEL WEISS MD

         I, Daniel Weiss MD, hereby declare and state as follows:

 Background and Qualifications:

         1.      I am a physician who is Board Certified in Internal Medicine and

 Diabetes/Endocrinology and Metabolism.

         2.      I completed my undergraduate work at Columbia University in New York where I

 majored in chemistry. I was offered a fully paid scholarship to Massachusetts Institute of

 Technology to continue graduate work in chemistry. However, since fourth grade, I was fascinated

 by the wonders of the human body and wanted to be a physician.

         3.      I obtained my medical degree at the University of Texas Southwestern Medical

 Center in Dallas. I went on to a residency in internal medicine at Upstate Medical Center in New

 York and then to the University of Iowa Hospitals and Clinics where I completed a fellowship in

 endocrinology. I was on staff at the University of Iowa Hospital and Clinics for two years,

 receiving an award for teacher of the year.

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        4.      I have been in practice in endocrinology from 1986 until 2022. I was the sole

 endocrinologist in a group of 110 physicians before establishing an independent practice in 2003.

 I have provided care for adults and children.

        5.      While in Iowa and Ohio, I had academic appointments and mentored many medical

 students, advanced practice nurses and residents in their training. I have been a manuscript

 reviewer for peer reviewed journals and have been an author of original research papers.

        6.      I had been a member of The Endocrine Society since 1990 but I cancelled my

 membership in 2022 after the repeated failure to respond to my concerns about its promotion of

 hormonal interventions in children with possible gender-related distress.

        7.      I have served as the principal investigator in over 100 clinical research trials

 involving adults and children. As a Certified Physician Investigator, I have expertise in the strict

 international principles and ethical standards governing clinical research.

        8.      For about a decade (2003–2013) during my independent practice, I was the

 principal physician in northern Ohio offering hormonal treatment for adults with gender dysphoria.

 I was the “go to” physician listed on the principal LGBTQ website. I provided hormonal care for

 approximately 100 persons as young as 18. However, I stopped seeing new patients with gender

 incongruence when I realized the lack of benefit and the potential harm these treatments caused. I

 also found that these persons had minimal psychologic evaluation for their psychic distress.

        9.      I joined a group practice in Utah in December 2022. I continue to provide care for

 adolescents and persons into their 90s. Unlike most pediatricians, my care and follow up of patients

 does not stop when the person turns 18.




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         10.     As a specialist in internal medicine and a sub-specialist in endocrinology, I have

 training in diagnosing and treating patients with some mental health disorders including

 depression. I have treated many patients over more than 35 years of practice.

         11.     I am licensed to practice medicine in both Ohio and Utah.

         My comments do not reflect the views of my employer, Intermountain Health.

 Compensation and Previous Testimony:

         12.     I am compensated at five hundred dollars per hour. My compensation does not

 depend on the outcome of this case.

         13.     I have been designated an expert witness in two other cases not related to gender

 dysphoria: Susan Platz et al. v. Mike Karpinecz, et al. (Geauga County Court of Common Pleas

 Case No. 20P000218) (2022) (a driver, Karpinecz, with diabetes was accused of causing a motor

 vehicle accident because of a low blood sugar); William Blair v. U.S. Airways (Northern District

 of Ohio) (1994) (Blair, a passenger on a U.S. Air flight that crashed after takeoff, claimed that the

 crash caused him to get diabetes).

         14.     I have been designated and asked by defendants to provide an expert opinion on

 my clinical experience treating adults with gender dysphoria and the scientific literature regarding

 the diagnosis and treatment of gender dysphoria.

 Bases for Opinions:

         15.     In preparing this declaration, I have reviewed Indiana Senate Enrolled Act 480, the

 complaint, the medical records of the plaintiff children that have been shared with me, the

 declarations of the plaintiffs’ experts, and the references that I have cited in this declaration.




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        16.     I am basing my opinion on my experience, my expertise, and a critical review of

 the scientific literature and publications on this subject. This is the same approach that others in

 my field would rely upon in forming an opinion.

        17.     Note that I will comment in areas of psychology and surgery based upon published

 evidence and analysis of methodology of those reports. Any well-trained practicing physician must

 be able to analyze evidence with a careful reading of published literature. Doctors who are unable

 to do so cannot provide good care for their patients.

 Expert Opinions:

 Sex and Gender

        18.     Sex is identified at birth, not “assigned.” There are two biologic sexes male and

 female.1 Examination of an infant’s external genitalia will immediately and accurately identify

 whether that infant is male or female. Only rarely are the genitalia ambiguous at birth and the sex

 of the child is uncertain. The incidence of intersex or ambiguous genitalia is estimated to occur in

 less than 1 in 10,000 births.2

        19.     Males have XY chromosomes in their cells and females have XX chromosomes.

 Genetic analysis can be performed in those rare cases of ambiguous genitalia.

        20.     Sex, as defined by biology and reproductive function, is clear, binary, and cannot

 be changed. The Endocrine Society states that sex is a biological concept, “all mammals have two

 distinct sexes,” and “in mammals, numerous sexual traits (gonads, genitalia, etc.) that typically

 differ in males and females are tightly linked to each other.”1

        21.     While hormonal and surgical procedures may enable some individuals to appear to

 others as the opposite sex during some of their lives, no procedures can enable an individual to

 perform the reproductive role of the opposite sex.



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        22.       The Diagnostic and Statistical Manual of Mental Disorders (DSM) is the manual

 used by clinicians and researchers to diagnose and classify mental disorders. The latest version is

 called DSM-5-TR.3 In the DSM, gender dysphoria is defined in children as a marked incongruence

 between one’s experienced/expressed gender and “assigned” gender, lasting at least six months,

 as manifested by at least six of the following (one of which must be the first criterion)3:

              x   A strong desire to be of the other gender or an insistence that one is the other gender

                  (or some alternative gender different from one’s assigned gender);

              x   In boys (assigned gender), a strong preference for cross-dressing or simulating

                  female attire; or in girls (assigned gender), a strong preference for wearing only

                  typical masculine clothing and a strong resistance to the wearing of typical feminine

                  clothing;

              x   A strong preference for cross-gender roles in make-believe play or fantasy play;

              x   A strong preference for the toys, games or activities stereotypically used or engaged

                  in by the other gender;

              x   A strong preference for playmates of the other gender;

              x   In boys (assigned gender), a strong rejection of typically masculine toys, games,

                  and activities and a strong avoidance of rough-and-tumble play; or in girls (assigned

                  gender), a strong rejection of typically feminine toys, games, and activities;

              x   A strong dislike of one’s sexual anatomy; or

              x   A strong desire for the physical sex characteristics that match one’s experienced

                  genders

        23.       In adolescents, the DSM-5-TR criteria invokes “clinically significant distress” as a

 criterion for diagnosis.3



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        24.     Gender dysphoria may be influenced by what is considered stereotypic masculine

 and feminine behavior in society. The psychiatrist Dr. Stephen Levine writes: “what must a 12-

 year-old, for example, understand about masculinity and femininity that enables the conviction

 that ‘I can never be happy in my body’?”4 I would ask the same of a 4-year-old. Two plaintiffs, in

 this case were said to have gender dysphoria at age 4.

        25.     In addition, adolescents can be strongly influenced by their peers or social media.5,6

 One series of 1,655 youth, mean age of 15.7 years, reported that 55% had friends who also “came

 out” as transgender around the same time.6

 The role of the psychotherapist in treating youth with gender dysphoria

        26.     The goal of treating children with gender dysphoria is to resolve their gender related

 distress. The treating endocrinologist must bear this in mind. There are no standards of care

 accepted by most practitioners, either internationally or within the United States. In 2021, the

 Royal Australian and New Zealand College of Psychiatrists issued a position statement with the

 key message that there is “mixed evidence regarding treatment options for people with gender

 identity concerns, especially children and young people.”7 Many psychotherapists and

 psychologists believe it is essential to explore the factors that might have led to the patient’s

 rejection of their natal sex.8-10,11 Psychotherapy can be very beneficial in patients with gender

 dysphoria and lead to their desistance.12,13

        27.     Some clinicians think that children must be simply “affirmed” in their expression

 of transgender identity. But clinicians who without question “affirm” the child’s self-diagnosis will

 fail to address psychiatric co-morbidities that may underlie the rejection of their sex. A history of

 bullying, sexual abuse, social isolation, anxiety, emotional or physical trauma all may contribute

 to the child’s distress from the perceived gender incongruence.



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        28.     I reviewed the records of A.M., K.C., and M.W., all plaintiffs in this case. All had

 multiple serious psychiatric comorbidities including anxiety, depression, and self-harm behavior.

 The health care providers did not address these problems. All care has been focused on gender

 affirmation.

        29.     One child, A.M., had been physically and sexually abused by the biologic father.

 Puberty blockers are not a treatment for post-traumatic stress disorder.

        30.     Another child, K.C., was socially transitioned at age 4 by the parents, both of whom

 are biologic males and one of whom identifies as transgender. K.C. also has multiple chronic

 medical problems.

        31.     The mother of M.W. questioned the rapid onset of gender dysphoria in her daughter.

 However, after a telephone call with a health care provider, she no longer expressed concern,

 though the file does not explain why. M.W., a 16-year-old female was given testosterone on the

 second office visit. The first visit was a video/televisit. Mastectomy is now planned.

        32.     M.R., a 15-year-old female, had a history of self-harm, isolation, depression, and

 poor school performance. M.R. was hospitalized for suicidal ideation in February 2023. One week

 later, at the first visit with a family practice physician, Dr. Catherine Bast, testosterone was

 prescribed. There was no exploration of these co-morbidities. All were attributed to gender. A

 “consent” form, called “Informed Consent for Balancing Hormones in Gender Diverse people,”

 was signed by this child and mother. Unknowns and potential harms were minimized on this form.

 Among the potential undisclosed harms are infertility, baldness, and an increased risk of heart

 attacks and strokes.




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        33.     I am concerned about “the one size fits all” protocol of puberty blockers, opposite-

 sex hormones, and soon, surgery, for complex children who have already been terribly traumatized.

 This “assembly line” of harm has been revealed at other gender clinics.14,15

        34.     With gender identity issues, open, exploratory supportive psychotherapy or talk

 therapy is too often dispensed with entirely.

        35.     A study was commissioned by the United Kingdom (UK) government to evaluate

 the care provided at their world-famous Gender Identity Development Service (GIDS). That study

 revealed that there was overlooking of or “overshadowing” of other psychologic issues by an

 inappropriate focus on gender.16 Other healthcare needs were not addressed once “gender related

 distress” was identified. 16

 What happens to those with gender dysphoria without medical intervention?

        36.     Eleven studies reveal that approximately 90% of children who are diagnosed with

 gender dysphoria, if left untreated, will “desist,” meaning that their gender dysphoria resolves by

 puberty or adulthood.17,18,19 Desistance is also increasingly observed among teens and young adults

 who have experienced “rapid onset gender dysphoria”—first manifesting gender dysphoria during

 or shortly after adolescence.20 For these youth, various psychosocial factors including pressure

 from peers and social media strongly influenced their decision to transition with no previous sign

 of gender dysphoria.20

        37.     A European study reported on 201 young adults seen on average five years earlier

 in gender clinics of Netherlands, Germany, and Norway. Fourteen percent of that group had no

 medical interventions for their gender dysphoria. Nonetheless, those persons exhibited a 67%

 reduction in their gender dysphoria score.21 So even in young adults with distress attributed to

 gender, resolution can occur without medical interventions.



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         38.       The Endocrine Society clinical practice guideline states that “in most children

  diagnosed with GD/gender incongruence, it did not persist into adolescence.”22 No test identifies

  whose gender dysphoria will persist.

         39.       No other mental disorders listed in the DSM are treated with medication or surgery

  with the goal of altering body appearance or function.

  World Professional Association for Transgender Health (WPATH) guidelines

         40.       The World Professional Association for Transgender Health (WPATH) began in

  1979 as a US-based advocacy group for transgender, mostly male to female, adults. Since then, it

  has issued guidelines on the management of children and adults with gender dysphoria. These

  guidelines have been adopted and endorsed by many in the healthcare field.

         41.       In all medical fields, clinical practice guidelines vary in quality. According to the

  Guidelines International Network23 and the Institute of Medicine, 24 “trustworthy guidelines” will

  include the following:

               x   Utilizing a systematic literature review;

               x   Establishing transparency and disclosing the methods used for all development

                   steps;

               x   A multidisciplinary development group;

               x   Disclosure and management of both financial and non-financial conflicts of

                   interests;

               x   Clear and unambiguous guideline recommendations;

               x   Using a specific grading system to rate the strength evidence and recommendations;

                   and

               x   External peer review.


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         42.     WPATH guidelines fail in all the above criteria required for “trustworthy

  guidelines.” Furthermore, current WPATH guidelines25,26 advise no lower age limit for hormonal

  and surgical interventions in children. Current guidelines do not require dysphoria or distress.

         43.     WPATH also states that “While marked and sustained gender incongruence should

  be present, it is not necessary for TGD (transgender and gender diverse) people to experience

  severe levels of distress regarding their gender identity to access gender-affirming treatments.25

         44.     WPATH provides guidance for those males who feel they are “nonbinary,” i.e.,

  neither male nor female. Those males might simply want their testes removed to become a eunuch.

  WPATH provides no lower age limit for those children who might “identify” as a eunuch.

         45.     These are the guidelines to which some pediatric endocrinologists including Dr.

  Daniel Shumer adhere. Family medicine physician, Dr. Bast, a plaintiff in this case, also follows

  those guidelines.

  History of early medical interventions for gender dysphoria

         46.     Researchers in the Netherlands believed that if one could stop puberty before

  secondary sexual characteristics developed and subsequently administer opposite sex hormones

  one could most effectively treat gender dysphoria in children. Their so-called “Dutch protocol”

  was published in 2006.27 These researchers received funding from a pharmaceutical company

  selling the puberty blocker triptorelin.27

         47.     The adolescents in this study had to have a “comprehensive psychologic evaluation

  with many sessions” and could not have “psychosocial problems interfering with assessment or

  treatment”28 and required a “good comprehension of the impact of medical interventions.”

  Therefore, the study subjects were highly selected.28,29




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         48.     Note that none of the minors who are plaintiffs in this case would ever have been

  treated by the Dutch. They all would have been excluded from treatment with puberty blockers or

  hormones because of their multiple serious “psychosocial problems.”28

         49.     Multiple papers detail the many scientific flaws in the Dutch study, including the

  lack of a comparison group and the substantial loss to follow up of patients.30–32 The study started

  with 111 children but only 55 were analyzed at its conclusion.

         50.     The principal author of the Dutch studies, a psychiatrist named de Vries, stated

  recently that “the main finding remains the resolution of gender dysphoria.”33 They measured

  dysphoria with the 12 item Utrecht Gender Dysphoria Scale (UGDS). The authors created this

  measurement tool which they admit “was not designed to be used after treatment.” 33 After opposite

  sex hormone treatment, the children showed no improvement in gender distress, anxiety, or

  anger.29

         51.     Later, however, when the Dutch reported their subsequent data, after 55 of these

  children had “surgical reassignment,” they noted a marked reduction in gender dysphoria.28 This

  dramatic change in the UGDS score can be explained because researchers switched the scale from

  male to female. In other words, females were measured as females before surgery then evaluated

  as males after surgery, and vice versa. This is scientifically unsound.

         52.     A recent analysis describes, in a case scenario, how this would work.30 A severely

  dysphoric biologic female patient “is asked to answer two of the UGDS questions: ‘Every time

  someone treats me like a girl I feel hurt’ and ‘Every time someone treats me like a boy I feel hurt’.

  It is likely that the patient would strongly agree with the first statement and strongly disagree with

  the second. The first answer would lead to the score of ‘5’ on the UGDS gender dysphoria scale,

  indicating the highest possible level of dysphoria. The second answer—which is effectively the



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  same answer—would result in the score of ‘1’ indicating the lowest possible gender dysphoria.

  This is because unlike the first question, which belongs to the ‘female’ battery of questions, the

  second question belongs to the ‘male’ battery of questions and effectively assumes the subject to

  be male—hence, the lack of distress of being associated with ‘maleness’ receives the minimum

  ‘gender dysphoria’ score.”

         53.     Others have also challenged the validity of the Dutch claims because of this

  switching of the scale.3234

         54.     It should also be stated in the Dutch study there was one death as a complication of

  surgery.28

         55.     The Gender Identity Development Service (GIDS) in the United Kingdom began

  treatment of minors with gender dysphoria in 1989. This was the largest and oldest center in the

  world treating children with gender dysphoria, until it closed its doors this spring. Since 2009,

  psychologist Dr. Polly Carmichael has been the director. In 2011, GIDS embarked on a clinical

  trial in children aged 12–15 in an attempt to investigate the benefits of pubertal suppression. GIDS

  had been using this treatment for years in slightly older children admittedly without adequate

  evidence. The research team, therefore, tried to confirm the claims of the Dutch group. Their study

  included only 44 children and also had no control or comparison group. The children were

  followed up for up to 3 years on puberty blockers. Finally in 2021, they published their findings:

  they found no change whatsoever in psychiatric distress with puberty suppression.35 Dr.

  Carmichael and colleagues wrote in this paper: more studies were needed to “fully quantify the

  harms and benefits of pubertal suppression.”35

         56.     In 2007, Dr. Norman Spack elected to recommend treatment similar to those the

  Dutch described for children in Boston. Clinical practice guidelines were written by the Endocrine



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  Society in 2009 with Dr. Spack and the Dutch group.36 At that time, only 100 children had had

  puberty suppression for gender dysphoria. Since then, The Endocrine Society guidelines have been

  updated with the last update published in 2017.22

  Recent data showing no benefit with hormonal interventions

         57.     A publication this year described the outcome of treating transgender youth with

  opposite sex hormones at four U.S. clinics over a two-year period. Their ages ranged from 12-20

  with a mean age of 16. This low-quality study (as discussed below) had no control or comparison

  group and no description of psychologic treatments provided. The authors found no change in

  depression, anxiety, or life satisfaction in biologic males.37

  Gender dysphoria and associated psychosocial conditions

         58.     Most current data show that 70% of children with gender dysphoria have had recent

  trauma, history of abuse, autism spectrum disorder, homosexual orientation, depression, anxiety,

  or bullying.20,38-40,41 Hormonal or surgical interventions fail to address these problems. As stated

  above, the original Dutch study excluded these children.28,29 Therefore, it is misleading to

  extrapolate the claims from the Dutch protocol to current youth with gender dysphoria who often

  have psychologic co-morbidities, like the plaintiff minors in this case.

  What do others think of the evidence regarding hormonal or surgical interventions in

  children with gender dysphoria?

         59.     All evidence is not of the same quality. The phrase “evidence based” must be

  carefully understood.

         60.     GRADE is a standard accepted method of judging the quality of data.42 There are

  four levels of evidence in GRADE. When the GRADE score is “low,” the true effect is likely to

  be markedly different from the estimated effect.



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          61.       A paper published last year in The Endocrine Society’s key journal summarized the

  evidence on hormonal interventions for “gender diverse adolescents” as sparse and of low

  quality.43

          62.       The key authoritative endocrinology textbook, published in 2023, included a

  chapter on Transgender Healthcare, written by a WPATH member. That chapter states that “long-

  term prospective outcome studies of the effects of GAHT (gender affirming hormone therapy) of

  any type are lacking. What data that do exist are mostly retrospective and have numerous

  limitations.”44

          63.       Contrary to Dr. Shumer’s unreferenced claim, WPATH’s guidelines are mostly

  opinions not supported by science. WPATH guidelines25,26 have not been assessed using GRADE

  criteria and as discussed above are not considered “trustworthy.”

          64.       The last Endocrine Society guidelines were published in 2017. The authors of those

  guidelines judged their evidence to be of low or very low quality.22 Higher quality evidence of the

  efficacy of a treatment would require, among other elements, a minimum of two groups that were

  very well matched and were followed prospectively over time. One group would be randomly

  assigned to the treatment to be tested, the other group would be followed as the comparator or

  control group. Such a study would be said to be a “controlled” study. In gender dysphoria, the

  comparator or control group might be given supportive psychotherapy alone. That study would not

  use a placebo. Such a study would be higher quality evidence. In my estimation, it would be

  possible to undertake such a controlled study to measure the impact of puberty blockers or

  hormones on gender dysphoria on minors.

          65.       I have provided examples below of harms that doctors have caused when they fail

  to recognize the limits in knowledge.



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         66.     Regardless, what is clearly unethical is to harm an increasing number of vulnerable

  children with medical treatments that do not have a sound evidentiary basis. The lack of a model

  for a control group is not an excuse for relying on weak evidence and claiming that flimsy data are

  good enough. I have provided examples below of harms that doctors have caused when they fail

  to recognize the limits in knowledge.

         67.     Only when researchers are willing to admit uncertainty can we learn what is best

  for our patients. One example, I participated in a large National Institute of Health (NIH) sponsored

  trial called ACCORD.45 Before that study, many doctors were sure the systolic blood pressure

  should be below 120 in persons with Type 2 Diabetes. And many doctors thought the closer the

  blood sugar was kept to normal the better for the persons with Type 2 Diabetes. The ACCORD

  study45 in persons with diabetes showed that both of these convictions were wrong. The results of

  the ACCORD study changed the treatment approach for many adults with Type 2 Diabetes.

         68.     There is simply no high-quality evidence that hormonal or surgical interventions in

  youth with gender dysphoria reduce their psychic distress. A systematic review published this year

  in the journal Transgender Health46 concluded that there was a “lack of high-quality studies” and

  that all studies done were observational. The authors found no randomized controlled trials.

         69.     Cochrane Reviews are highly respected rigorous reviews of published data. A

  Cochrane Review was performed of hormonal interventions in females with gender dysphoria.

  They found “insufficient evidence to determine the efficacy or safety of hormonal treatment

  approaches in transgender women in transition.”47

         70.     Dr. Shumer’s listing of medical groups that endorse a treatment does not strengthen

  his argument when the evidence base is flimsy. Doctors, like all groups, are susceptible to group

  think and social contagion. Just because a harmful intervention is popular does not prove it to be



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  safe or beneficial. The neurosurgeon who pioneered the popular brain surgery pre-frontal lobotomy

  for mental disorders was awarded the Nobel Prize.48 That treatment has been widely discredited.

         71.     Another example to stress the need for high quality data: for years, right after

  menopause it was very popular to prescribe women the female hormones, estrogen, and

  progesterone. Doctors were sure it would reduce the risk of heart attacks and help women stay

  healthy. Only after a large high quality, randomized, controlled trial was it revealed that these

  hormonal treatments increased the risk of stroke, blood clots, and breast cancer.49

  Do hormonal and surgical treatments for gender dysphoria reduce suicide risk?

         72.     Suicide risk is increased in youth with gender dysphoria but remains very low. In a

  recent study, the annual suicide rate of transgender youth was 0.013 per cent.50 Suicidal thoughts

  and suicide are not to be confused. I am not aware of any studies that demonstrate that the rate of

  suicide in youth with distress attributed to gender differs from the suicide rate in youth with other

  mental health disorders including depression, post-traumatic stress disorder, anxiety, and autism

  spectrum disorder.

         73.     The Dutch study provided no data on suicide. Some data suggest that hormonal and

  surgical interventions in persons with gender dysphoria may increase the risk of suicide.

         74.     A long term study of transgender persons in Sweden51 found a 19-fold overall

  higher suicide rate, 40-fold higher in females, and a 3-fold higher overall mortality during an

  average of 11 years of follow up. These rates were in comparison to the control population. Most

  importantly, these outcomes were seen despite treatment with opposite sex hormones and surgery.

         75.     In another study of over 8,000 transgender persons, two-thirds of those who died

  by suicide were still receiving treatment at the gender dysphoria center.52




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         76.       Another researcher reported follow up of persons treated at the main gender clinic

  in the Netherlands. Over a median of 18 years of follow up, the suicide rate was six times higher

  in male to female persons than in an age-matched population.53

         77.       In a recent U.S. study, published this year, there was a 45-fold higher than expected

  suicide rate in the adolescents on opposite sex hormone therapy during their care at gender clinics

  (compared to the Center for Disease Control age-matched population).37,54

         78.       At a minimum, one must conclude from these studies that persons with gender

  dysphoria continue to have significant psychiatric issues despite hormonal and surgical

  interventions.

         79.       Dr. Shumer bases his approach to children and adolescents upon very weak data

  with interventions that have failed to show any benefit for these outcomes.

  Known and Unknown Harms of Puberty blockers

         80.       I will start with a quote by an endocrinologist who has repeatedly minimized the

  risk of hormonal and surgical interventions. He has co-authored the Endocrine Society guidelines

  while at the same time serving as the director of a gender clinic. He writes of the “need for

  appropriate humility regarding what we know versus what we only predict.” He writes: “Even the

  most logical conclusions extrapolated from our understanding of physiology must remain suspect

  until demonstrated in actual clinical environments.” 55 Elsewhere this author writes that there are

  “numerous gaps in knowledge” in transgender medicine.56

         81.       I agree with these statements, but I will now describe what we do know.

         82.       Background: The ovaries make the principal female hormone called estrogen. The

  testes make the principal male hormone called testosterone. Ovaries are the site of production of




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  gametes called ova (singular is ovum). When an ovum is fertilized with a sperm, an embryo can

  form and lead to the birth of a newborn baby.

          83.    The testes and ovaries are both regulated by a small gland in the brain called the

  pituitary. The pituitary is considered a master gland because it regulates other hormone producing

  glands, not just the ovaries and testes. The pituitary makes two hormones abbreviated LH and

  FSH; these regulate the ovaries and testes. LH and FSH are called gonadotropins.

          84.    The pituitary gland is, in turn, controlled by an area located above it called the

  hypothalamus. The hypothalamus produces many vital substances. One of these is gonadotropin

  releasing hormone, abbreviated GnRH. GnRH stimulates the release of LH and FSH.

          85.    The chemical structure of GnRH has been modified into chemicals called GnRH

  analogs. GnRH analogs are often called puberty blockers. GnRH analogs are administered, usually

  as an injection (every 1-6 months). There is also an implanted version (under the skin) of GnRH

  analogs. GnRH analogs block or stop the GnRH signals that come from the hypothalamus.

  Blockade of those signals means there is no secretion of LH and FSH and, as a consequence, the

  testes and ovaries are turned off.

          86.     GnRH analogs are called puberty blockers. GnRH analogs are not FDA approved

  for use in children with gender dysphoria. They are approved for use in children who have the

  relatively rare disorder called central precocious puberty. Central precocious puberty is a condition

  in which puberty occurs at an abnormally early age, generally below the age of 8 in girls and 9 in

  boys.

          87.    GnRH analogs are approved for treatment of endometriosis in women. GnRH

  analogs will stop the signals from the brain that cause ovulation and menstruation. They will




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  markedly lower estrogen and reduce bone density.57 Contrary to Dr. Shumer’s declaration, the use

  of GnRH analogs is not “off label” for women with endometriosis.57

          88.     GnRH analogs have also been used in the treatment of prostate cancer because they

  markedly lower the male hormone, testosterone. Testosterone increases the growth of diagnosed

  prostate cancer.58 The cancer is suppressed by blocking the testosterone.

          89.     There are no controlled trials that prove the safety of GnRH analogs in children

  with normal puberty. Dr. Shumer claims “robust research” for GnRH analogs and cites no reference

  to support that statement. There are many unknowns with puberty blockers even in those for whom

  they are FDA approved.

          90.     Puberty blockers may cause hot flashes, weight gain, fatigue and mood

  alterations.22,59 Seizures have been reported in children receiving puberty blockers. It is unclear if

  the seizures are related to the drug or the underlying condition.60

          91.     A disorder affecting the hip, slipped capital femoral epiphysis, has been reported in

  children on puberty blockers.60

          92.     Reductions in bone density are seen with use of puberty blockers; those reductions

  increase the risk of bone fractures.59,61,62

          93.     Pseudotumor cerebri (also known as idiopathic intracranial hypertension) has been

  associated with puberty blockers. This condition can cause severe headache and loss of eyesight.63-
  65



          94.     Early administration of puberty blockers will reduce penile growth and may not

  allow sufficient tissue to create a vagina-like structure, despite surgery called vaginoplasty.66




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         95.     Dr. Marci Bowers, a surgeon and renowned vaginoplasty specialist, described

  another adverse effect of puberty blockers in boys. These persons will not be able to achieve an

  orgasm as adults.67

         96.     Children who fail to progress through puberty are infertile. This is a biologic fact.

  The same physiology means that early initiation of puberty blockers will stop maturation of the

  testes and the ovaries. If the testes or ovaries fail to mature, sperm and ova cannot be produced.

  Infertility will likely occur especially if followed by opposite sex hormones.68,69 22

         97.     Gender clinics now are advised to routinely counsel children about the loss of

  fertility and steps they might take to preserve it.70 Authors this year wrote that “Research protocols

  for ovarian and testicular tissue cryopreservation have been developed at some centers and these

  methods can be also applied to children.” 69 These “research” approaches have uncertain efficacy

  and are very costly.

         98.     Dr. Shumer appears to minimize infertility. His analogy of the infertility that occurs

  when treating a child for cancer with chemotherapy is hardly apt. After all, Dr Shumer is

  prescribing interventions that cause infertility in an adolescent with a healthy body. A fundamental

  principle in medicine is “first do no harm.”

         99.     The Swedish government commissioned a study on hormonal therapy in children

  with gender dysphoria. The authors concluded in their systematic review71 that “the long-term

  effects of hormone therapy on psychosocial and somatic health are unknown, except that GnRH

  analog treatment seems to delay bone maturation and gain in bone mineral density.” They

  concluded that “GnRH analog treatment in children with gender dysphoria should be considered

  experimental.” 71 Dr. Shumer’s hope is that GnRH analogs will “minimize the patient’s dysphoria.”

  Yet the data does not support that goal.



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         100.    In 2021, the UK’s National Institute for Health and Care Excellence (NICE)

  published an extensive review, over 130 pages, examining puberty blockers for gender dysphoria

  in children.72 They found “a lack of reliable comparative studies.” They concluded that “the studies

  that reported impact on the critical outcomes of gender dysphoria and mental health (depression,

  anger and anxiety), and the important outcomes of body image and psychosocial impact (global

  and psychosocial functioning) in children and adolescents with gender dysphoria are of very low

  certainty using modified GRADE.”

         101.    The authors wrote that these studies “suggest little change with GnRH analogues

  from baseline to follow-up.” They did note a loss of the expected increase in bone density that is

  normally seen in children not taking puberty blockers.

         102.    Blocking of puberty in a child with normal puberty is a powerful intervention that

  has psychologic and physical impacts. Brain maturation during puberty is crucial.73,74 There are

  no studies of the effect of blocking normal puberty on judgment, cognition and emotional

  development.75 However one careful study is noteworthy. An 11-year-old male treated with a

  GnRH analog for gender dysphoria showed an abnormal failure to increase brain white matter. In

  addition, he had a reduction in IQ and memory during 22 months of puberty blockers.76

         103.    The Endocrine Society pointed out the need for more data on the effects on the

  brain and wrote that “animal data suggest there may be an effect of GnRH analogs on cognitive

  function”.22

         104.    Dr. Hilary Cass, a former president of the Royal College of Pediatrics and Child

  Health, in her interim report16 (see below) expressed concern that blockade of puberty may impair

  “maturation and development of frontal lobe functions which control decision making, emotional

  regulation, judgement and planning ability.”



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         105.    Furthermore, she states: “The most difficult question is whether puberty blockers

  do indeed provide valuable time for children and young people to consider their options, or whether

  they effectively ‘lock in’ children and young people to a treatment pathway which culminates in

  progression to feminising/masculinising hormones by impeding the usual process of sexual

  orientation and gender identity development.”16 Dr. Cass states that more research is needed. The

  answer to this question is not known.

  Harms of opposite sex hormones

         106.    Most of the data on the effects of opposite sex hormones come from follow up on

  adults. There are very little data on minors. Pediatricians and pediatric endocrinologists would fail

  to recognize any of these long-term harms because they usually do not provide care to persons

  after the age of 18.

         107.    The dose of the principal male hormone, testosterone, that is recommended by the

  Endocrine Society for gender dysphoric females would produce levels 20-40 times higher than the

  normal blood level of testosterone in females.22

         108.    Estradiol is the main female hormone level. Males normally have levels below 30

  pg/ml.77 For gender dysphoria in biologic males, the Endocrine Society recommends estradiol

  level of 100-200 pg/ml, about 5 times higher than a normal male. 22

         For natal females treated with testosterone

         109.    Short term effects of testosterone given to natal females include acne,78 baldness,

  facial hair, clitoral enlargement, and pelvic pain.79 There may be deepening of the voice.

         110.    Infertility is frequent in those females treated with testosterone even if not given

  puberty blockers.22,68,69,80 Testosterone causes blockage of the fallopian tubes which transport the

  ovum.80



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          111.   Increases in the red blood cells with consequent thickening of the blood, called

  erythrocytosis, is a known risk of testosterone therapy especially when testosterone is given by

  injection.81

          112.   Increases in blood pressure and reduced elasticity of the arteries has been reported

  with testosterone treatment in adolescent females.82

          113.    Testosterone treatment in females has caused pseudotumor cerebri.83

          114.   Longer term adverse effects of testosterone given to females include: a greater than

  4-fold increase in rate of heart attack and an almost doubling of the rate of stroke.84,85

          115.   With testosterone treatment in females, breast cancer onset is 20 years earlier than

  expected.86,87 Breast cancer has been seen even in those females who have had mastectomies—

  euphemistically called “top surgery”—as they have some residual breast tissue.88,89

          116.   Testosterone treatment in females causes abnormalities in the pap smear making it

  more difficult to diagnose cervical cancer.90

          117.   Testosterone treatment increases the risk of myocardial infarctions (heart attacks)

  by three and half times that of women not given testosterone.84,85,91

          118.   Testosterone increases the risk of strokes almost two-fold compared to women not

  given testosterone. Strokes are usually caused by blockage of blood flow to the brain.84,85,91

          For natal males treated with estrogen

          119.   Biologic males treated with estrogen have a 22-fold increase in the rate of breast

  cancer.92

          120.   Biologic males treated with estrogen may have increased risk of prostate cancer.93

          121.   Prostate cancer risk can be easily overlooked in these men who appear as women.

  They still have a prostate gland.



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         122.    Estrogen treatment in biologic males may increase the risk of other cancers.94

         123.    Biologic males treated with estrogen have a 36-fold higher risk of strokes. Venous

  thromboembolism (clots in veins that can pass to the lung and cause death) is increased more than

  six times that of males who are not given estrogen.84,85,91

         124.    Biologic males treated with estrogen may have an increased risk of retinal vein

  occlusion (blockage in blood flow from the eye).95

         125.    Treating biologic males with estrogen may alter their immune systems and increase

  the risk of autoimmune disorders.96

  Post-surgical complications for biologic females who undergo bilateral mastectomies

         126.    The most common surgery performed on minors with gender dysphoria is bilateral

  mastectomy. Bilateral mastectomy has been euphemistically called “top surgery” and “chest

  contouring.” Physicians who perform these surgeries use this phrase. It is notable that physicians

  do not speak of “top surgery” or “chest contouring” when women have their breasts removed

  because of cancer. This phrase has been applied only in reference to girls who have their healthy

  breasts removed.

         127.    A recent paper reports on a series of 81 girls who underwent bilateral

  mastectomies.97 Follow up was not available for 13% of the group. And follow up was only for

  three months. The youngest child was 13 years old. This paper is representative of the poor follow

  up and poor assessment of children undergoing these procedures.

         128.    Between 15-38% of children who undergo mastectomies require additional

  surgeries.98-100 Up to a third have post-operative complications.101 These complications include

  excessive scarring, pain and swelling from blood or fluid buildup, wound dehiscence (opening up

  where the surgical incisions were sewn together), and nipple necrosis (death of the nipple tissue).



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         129.      Most studies did not assess patient satisfaction. The largest series of mastectomies

  in 209 adolescents, aged 12-17, had a median follow up of 2.1 years.100 . 35 % of the group had

  less than a year of follow-up. Of the 137 patients who had more than a year follow up, 2 expressed

  regret. None of these girls will get their breasts back.

  How is gender dysphoria approached now in other countries that have had decades more

  experience than the United States?

         130.    Long before the U.S., centers in Europe have offered hormonal and surgical

  treatments for gender dysphoria.

         131.    In the UK, the GIDS had been in operation since 1989 and treated over 10,000

  youth with gender dysphoria. That center is scheduled to close shortly. Dr. Hilary Cass was asked

  to perform an independent review of GIDS. In February 2022, she issued an interim report.16 She

  noted many problems in the care of these children and pointed out that the “appropriate

  management of young people with gender dysphoria is inconclusive both nationally and

  internationally.” She stated that “given the gaps in the evidence base regarding hormone treatment”

  the child must have a thorough assessment of the full range of factors affecting their physical,

  mental, development and psychosocial wellbeing.” She stated that there should not be an

  “unquestioning affirmative” approach to these children.16

         132.    In February 2022, Sweden issued new guidelines102 recommending psychologic

  care as the first line of treatment. Its new guidelines stated that the risks of hormonal interventions

  outweighed benefits and that hormonal interventions in minors could only be used as part of a

  research protocol.




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          133.      The French National Academy of Medicine has recommended extending as much

  as possible the psychological support phase. They advised “the greatest reserve” in the use of

  hormonal treatments.103

          134.      In Norway, the Norwegian Healthcare Investigation Board concluded that there was

  “insufficient evidence for the use of puberty blockers and opposite sex hormones in young

  people.”104

          135.      In 2020, Finland issued new guidelines105 recommending psychosocial support as

  first line treatment and, as necessary, gender explorative therapy and treatment for comorbid

  psychiatric disorders. The Finnish health care board stated that “hormonal interventions may be

  considered “with a great deal of caution” and “no irreversible treatment should be initiated.”

  How often do those who transition desist or detransition and once again identify consistent

  with their natal sex?

          136.      Gender clinics have failed to carefully follow up on these children to determine the

  outcomes of their interventions. In general, pediatricians and pediatric endocrinologists like Dr.

  Shumer stop caring for children once they turn 18. Therefore, they fail to see the harm they may

  have caused.

          137.      There is increasing evidence of regret and detransition. Detransitioning tends to

  occur at least 4 years after treatment.20,106-108

          138.      76% of those who detransition did not inform their physicians about their

  detransition.20

          139.      The largest recent series, 952 adolescents, were evaluated for treatment

  discontinuation over 4 years. Their average age was 19. Among those who had started hormonal




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  intervention before age 18, 26% discontinued treatment. Of all the natal females, 36% discontinued

  treatment.107

         140.     In my practice, I treated about 100 individuals with gender dysphoria. I estimate

  that 70% of those discontinued the hormonal treatment that I was prescribing. My youngest patient

  was 18.

         141.     These patients did not transfer to other physicians for their transgender care because

  there were no other physicians treating at the time. I stopped accepting new patients for gender

  dysphoria in 2013. Those patients that discontinued their care with me did not inform me of their

  decision to do so. They simply did not return for office visits.

         142.     Another study sought reasons for those who underwent detransition.20 Difficulty in

  accepting oneself as lesbian, gay, or bisexual was expressed by 23% of persons.20 It was easier to

  be “trans” than to see oneself as gay or lesbian. This was a form of “internalized homophobia.”20

         143.     The majority of those who detransitioned did not think they had an adequate

  evaluation before starting “transition.” Many concluded that their gender dysphoria was related to

  other issues.20,106 Of those, 48% of those people reported a history of trauma within the year

  preceding their diagnosis of gender dysphoria.20

  Informed Consent

         144.     Informed consent is an essential element of patient care where there is a risk of

  adverse outcomes. Informed consent is not just getting a signature on a form.

         145.     Informed consent is also foundational to the ethical conduct of clinical research.

  Strict international principles prohibit children from providing consent because children cannot

  fully comprehend risk versus benefit. They can provide assent, however. That is, they can agree to




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  the treatment or intervention or not. But they are not able to give informed consent until they turn

  18.109,110

          146.    The United States is a signatory to the United Nations Convention on the Rights of

  the Child. The Declaration of the Rights of the Child states that “the child, by reason of his physical

  and mental immaturity, needs special safeguards and care.”111 These safeguards are uniquely

  important when it comes to an experimental intervention. The Declaration of Helsinki 112 allows

  individual parents to consent to an experimental treatment for their child. Usually, this choice is

  made in an extraordinary circumstance, to save that child’s life, and with the child’s assent.

  Experimental treatments to change physical appearance should not be an exception to these

  requirements.

          147.    The psychiatrist Dr. Stephen Levine and colleagues have discussed the

  inadequacies in the informed consent process for minors with gender dysphoria.31 Clinicians are

  required to provide balanced and thorough information on all the potential risks and benefits and

  unknowns of the treatment as well as alternative treatments available. Clinicians must assess the

  competence and understanding of the patient and caregiver.

          148.    Often the informed consent process is “perfunctory” with “poor evaluation” of

  children and “incorrect and incomplete information.” Evidence of this inadequate consenting

  process has been revealed by those who have desisted, and detransitioned and by whistleblowers

  at gender clinics.14,20,113 The form that Dr. Bast provides to her minors is a document called

  “Informed Consent for balancing hormones in Gender Diverse people”. This is not an adequate

  informed consent.




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  Conclusion:

         149.    I stopped treating persons with gender dysphoria because I did not see benefits

  despite hormonal interventions.

         150.    The data in minors are very clear: there is no compelling basis to allow puberty

  blockers, opposite sex hormones, or surgery in children or adolescents. We must first, do no harm.




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                                    &855,&8/80 9,7$

                                 'DQLHO :HLVV 0' &'&(6




     , 2)),&( $''5(66

            6W *HRUJH (QGRFULQH DQG 'LDEHWHV &OLQLF
             (DVW )RUHPDVWHU 'ULYH 6XLWH 
            6W *HRUJH 87 
            7HOHSKRQH 
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     ,, 3(5621$/ '$7$

            %LUWKSODFH                                 1HZ <RUN
            &LWL]HQVKLS                               86$

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            <HDU               'HJUHH                ,QVWLWXWLRQ
                            %$                   &ROXPELD 8QLYHUVLW\
                                 PDMRU FKHPLVWU\      1HZ <RUN 1HZ <RUN

                            0'                    8QLYHUVLW\ RI 7H[DV
                                                       6RXWKZHVWHUQ 0HGLFDO &HQWHU
                                                       'DOODV 7H[DV




     ,9 3267 *5$'8$7( ('8&$7,21

            <HDU              3RVLWLRQ               ,QVWLWXWLRQ
            -XO\ -XQH ,QWHUQ ,QWHUQDO        8SVWDWH 0HGLFDO &HQWHU
                               0HGLFLQH                6\UDFXVH 1HZ <RUN
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             -XO\ -XO\  5HVLGHQW ,QWHUQDO     8QLYHUVLW\ RI ,RZD +RVSLWDOV
                                 0HGLFLQH               ,RZD &LW\ ,RZD

             -XO\ -XO\  )HOORZ$VVRFLDWH       'LYLVLRQ RI (QGRFULQRORJ\
                                                        0HWDEROLVP
                                                        8QLYHUVLW\ RI ,RZD +RVSLWDOV
                                                        ,RZD &LW\ ,RZD


     9 $332,170(176 $&$'(0,& $1' &/,1,&$/

             <HDU              3RVLWLRQ               ,QVWLWXWLRQ
             -XO\ -XQH $VVRFLDWH LQ            'LYLVLRQ RI (QGRFULQRORJ\
                                ,QWHUQDO 0HGLFLQH       0HWDEROLVP
                                                        8QLYHUVLW\ RI ,RZD +RVSLWDOV
                                                        ,RZD &LW\ ,RZD

             -XO\-XQH &OLQLFDO ,QVWUXFWRU     &DVH :HVWHUQ 5HVHUYH
                               8QLYHUVLW\ 6FKRRO RI 0HGLFLQH &OHYHODQG 2KLR

             -XQH$SULO                           (QGRFULQRORJLVW
             8QLYHUVLW\0HGQHW
                                                        &OHYHODQG 2+


             -XO\ -XQH &OLQLFDO $VVLVWDQW 3URI &DVH :HVWHUQ 5HVHUYH
                                                         8QLYHUVLW\ 6FKRRO RI
                                                         0HGLFLQH &OHYHODQG 2KLR
                                 UHVLJQHG DIWHU OHQJWK\ WUDLQLQJ ZDV GHPDQGHG IRU
                                QHZ LQKRVSLWDO FRPSXWHU VRIWZDUH


             -XO\ $SULO  &KLHI RI              8QLYHUVLW\0HGQHW
                                  (QGRFULQRORJ\         'LDEHWHV 6HOI0DQDJHPHQW
                                                        &HQWHU &OHYHODQG 2+

             -DQXDU\         0HGLFDO 'LUHFWRU       -RVOLQ 'LDEHWHV &HQWHU
             WR -XQH                                $IILOLDWH DW 6W 9LQFHQW &KDULW\
                                                        +RVSLWDO &OHYHODQG 2KLR


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             $SULO  WR 'HFHPEHU             'LUHFWRU<RXU 'LDEHWHV (QGRFULQH
                                                           1XWULWLRQ *URXS ,QF

             $SULO $SULO             5HVHDUFK 'LUHFWRU<RXU 'LDEHWHV
                                                        (QGRFULQH 1XWULWLRQ *URXS ,QF
     

             -DQXDU\  WR                (QGRFULQRORJLVW /DNH +HDOWK
                                                          3K\VLFLDQ *URXS


             -DQXDU\  WR SUHVHQW            (QGRFULQRORJLVW
                                                   6W *HRUJH (QGRFULQH DQG 'LDEHWHV
                        &OLQLF                         6W *HRUJH 87




             WR          $GMXQFW &OLQLFDO )DFXOW\ .HQW 6WDWH 8QLYHUVLW\
                                                           &ROOHJH RI 1XUVLQJ




              WR          $GMXQFW &OLQLFDO $VVLVWDQW 3URIHVVRU
                                  'HSW RI 6SHFLDOW\ 0HGLFLQH
                                  2KLR 8QLYHUVLW\ +HULWDJH &ROOHJH RI 2VWHRSDWKLF
                                  0HGLFLQH


     9, &(57,),&$7,21 $1' /,&(1685(

             $ &HUWLILFDWLRQ DOO DFWLYH DQG FXUUHQW

             %RDUG                                           'DWH         1XPEHU


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             1DWLRQDO %RDUG RI 0HGLFDO ([DPLQHUV                     
             $PHULFDQ %RDUG RI ,QWHUQDO 0HGLFLQH                     

             $%,0(QGRFULQRORJ\0HWDEROLVP                        
             $PHULFDQ %RDUG RI 3K\VLFLDQ 1XWULWLRQ 6SHFLDOLVWV     

             1DWLRQDO &HUWLILFDWLRQ %RDUG IRU 'LDEHWHV (GXFDWRUV      
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             1DWLRQDO &HUWLILFDWLRQ %RDUG IRU 'LDEHWHV (GXFDWRUV      




             'LSORPDWH $PHULFDQ %RDUG RI 2EHVLW\ 0HGLFLQH           WR SUHVHQW


             2WKHU
             &RQWLQXLQJ 5HVHDUFK (GXFDWLRQ &UHGLW 3URJUDP ZLWK &DVH :HVWHUQ 5HVHUYH
             8QLYHUVLW\ FHUWLILFDWLRQ WKURXJK 6HSWHPEHU  

             $PHULFDQ +HDUW $VVRFLDWLRQ %DVLF /LIH 6XSSRUW IRU +HDOWKFDUH 3URYLGHUV

                                                          2FWREHU  'HFHPEHU 

             $PHULFDQ +HDUW $VVRFLDWLRQ $GYDQFHG &DUGLDF /LIH 6XSSRUW
                                                                 1RYHPEHU 

             &HUWLILHG 3ULQFLSDO ,QYHVWLJDWRU $VVRFLDWLRQ RI &OLQLFDO 5HVHDUFK
             3URIHVVLRQDOV DQG WKH $FDGHP\ RI 3KDUPDFHXWLFDO 3K\VLFLDQV DQG
             ,QYHVWLJDWRUV         )LUVW JUDQWHG LQ $SULO 
                                   5HQHZHG LQ 
                                   5HQHZHG LQ 
                                   5HQHZHG LQ 
                                   5HQHZHG LQ  VHW WR H[SLUH 


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     )HOORZ RI WKH $FDGHP\ RI 3K\VLFLDQV LQ &OLQLFDO 5HVHDUFK
                                


     % /LFHQVXUH

             6WDWH             'DWH                   6WDWXV    1XPEHU

             ,RZD                                 LQDFWLYH   
             ,OOLQRLV                             LQDFWLYH   
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     9,, 0$-25 &2856(6 $1' 0((7,1*6  &217,18,1* 0(',&$/ ('8&$7,21

            5HYLHZ RI (QGRFULQRORJ\ 1DWLRQDO ,QVWLWXWHV RI +HDOWK )RXQGDWLRQ IRU
     $GYDQFHG (GXFDWLRQ LQ WKH 6FLHQFHV :DVKLQJWRQ '& 2FWREHU   
     KRXUV RI &DWHJRU\  FUHGLW

             0HGLFDO .QRZOHGJH 6HOI $VVHVVPHQW 3URJUDP 9,, FRPSOHWHG IDOO 
     ZLWK IXOO $0$ &DWHJRU\  FUHGLW

            $QQXDO (QGRFULQH 6RFLHW\ DQG $PHULFDQ 'LDEHWHV $VVRFLDWLRQ 0HHWLQJV
     -XQH  1HZ 2UOHDQV /$  KRXUV RI $0$ &DWHJRU\  FUHGLW

            $PHULFDQ &ROOHJH RI 3K\VLFLDQV 0HGLFDO .QRZOHGJH 6HOI$VVHVVPHQW
     3URJUDP 9,,, FRPSOHWHG IDOO   KRXUV RI &DWHJRU\  FUHGLW

            $ &XUUHQW 5HYLHZ RI 3HGLDWULF (QGRFULQRORJ\ 6SRQVRUHG E\ WKH
     /DZVRQ :LONLQV 3HGLDWULF (QGRFULQH 6RFLHW\ DQG 6HURQR 6\PSRVLD 86$ $SULO
      :DVKLQJWRQ '&  KRXUV RI &DWHJRU\  FUHGLW

           $QQXDO (QGRFULQH 6RFLHW\ 0HHWLQJ -XQH  6HDWWOH :$  KRXUV RI
     $0$ &DWHJRU\  FUHGLW


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            &OLQLFDO 0DQDJHPHQW RI /LSLG 'LVRUGHUV $SULO  DW WKH :DVKLQJWRQ
     8QLYHUVLW\ 6FKRRO RI 0HGLFLQH 6W /RXLV 0R  KRXUV RI &DWHJRU\  FUHGLW

            WK ,QWHUQDWLRQDO 'LDEHWHV )HGHUDWLRQ &RQJUHVV 6FLHQWLILF 6HVVLRQV
     -XQH  :DVKLQJWRQ '&  KRXUV RI &DWHJRU\  FUHGLW

             &OLQLFDO 0DQDJHPHQW RI /LSLG 'LVRUGHUV )ROORZXS &RXUVH 6HSWHPEHU
       DW WKH :DVKLQJWRQ 8QLYHUVLW\ 6FKRRO RI 0HGLFLQH 6W /RXLV 0R 
     KRXUV RI &DWHJRU\  FUHGLW

             WK 3RVWJUDGXDWH $VVHPEO\ RI 7KH (QGRFULQH 6RFLHW\ 2FWREHU 
      LQ %RVWRQ 0$  KRXUV RI &DWHJRU\  FUHGLW

             WK $QQXDO 6HVVLRQ RI WKH $PHULFDQ &ROOHJH RI 3K\VLFLDQV $SULO 
      LQ :DVKLQJWRQ '&  KRXUV RI &DWHJRU\  FUHGLW

            7KLUG ,QWHUQDWLRQDO 6\PSRVLXP RQ 2VWHRSRURVLV 0DUFK   LQ
     :DVKLQJWRQ '&  KRXUV RI &DWHJRU\  FUHGLW

             3V\FKLDWULF 8SGDWH &OHYHODQG &OLQLF )RXQGDWLRQ $SULO   LQ
     &OHYHODQG 2+  &DWHJRU\  FUHGLWV

             1HZ 'HYHORSPHQWV LQ 2EVHVVLYH &RPSXOVLYH 'LVRUGHUV 8QLYHUVLW\ RI
     7H[DV DW 6DQ $QWRQLR 7HOHFRQIHUHQFH 0D\    &DWHJRU\  FUHGLW

             WK $QQXDO 0HHWLQJ RI WKH $PHULFDQ 'LDEHWHV $VVRFLDWLRQ -XQH 
       LQ $WODQWD *$   KRXUV RI $0$ &DWHJRU\  FUHGLW

            $PHULFDQ &ROOHJH RI 3K\VLFLDQV 0HGLFDO .QRZOHGJH 6HOI$VVHVVPHQW
     3URJUDP ;  &DWHJRU\  FUHGLWV 

            5HFHQW $GYDQFHV LQ 3DJHW V 'LVHDVH RI %RQH DQG 5HODWHG %RQH
     'LVHDVHV 0DUFK   LQ %HWKHVGD 0DU\ODQG  &DWHJRU\  FUHGLWV

            7HQWK ,QWHUQDWLRQDO &RQJUHVV RI (QGRFULQRORJ\ DQG DQFLOODU\ V\PSRVLD
     -XQH   LQ 6DQ )UDQFLVFR &DOLIRUQLD  $0$ &DWHJRU\  FUHGLWV

             WK $QQXDO 0HHWLQJ RI WKH $PHULFDQ 'LDEHWHV $VVRFLDWLRQ -XQH 
       LQ %RVWRQ 0$  KRXUV RI $0$ &DWHJRU\  FUHGLW


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             6L[WK ,QWHUQDWLRQDO 6\PSRVLXP RQ WKH 0DLOODUG 5HDFWLRQ -XO\ 
      LQ /RQGRQ (QJODQG  &DWHJRU\ FUHGLWV

             7UHDWPHQW DGYDQFHV LQ SRVWSDUWXP SV\FKLDWULF GLVRUGHUV 1RYHPEHU
       &OHYHODQG 2KLR  &DWHJRU\  FUHGLWV

             &RQTXHULQJ 'LDEHWLF &RPSOLFDWLRQV &OHYHODQG 2KLR  &DWHJRU\ 
     FUHGLWV 

             $PHULFDQ 6RFLHW\ RI %RQH DQG 0LQHUDO 5HVHDUFK $QQXDO 0HHWLQJ 6DQ
     )UDQFLVFR &$ 'HFHPEHU    $0$ &DWHJRU\  FUHGLWV

             WK $QQXDO 0HHWLQJ RI WKH $PHULFDQ 'LDEHWHV $VVRFLDWLRQ -XQH 
       LQ 6DQ 'LHJR &DOLIRUQLD  KRXUV RI $0$ &DWHJRU\  FUHGLWV

            QG $QQXDO 0HHWLQJ RI WKH (QGRFULQH 6RFLHW\ -XQH   LQ
     7RURQWR &DQDGD  KRXUV RI $0$ &DWHJRU\  FUHGLWV

             VW $QQXDO 6FLHQWLILF 6HVVLRQV RI WKH $PHULFDQ 'LDEHWHV $VVRFLDWLRQ
     -XQH   LQ 3KLODGHOSKLD 3HQQV\OYDQLD  KRXUV RI $0$ &DWHJRU\ 
     FUHGLWV

             WK $QQXDO 0HHWLQJ RI WKH (QGRFULQH 6RFLHW\ -XQH   LQ 6DQ
     )UDQFLVFR &DOLIRUQLD  KRXUV RI $0$ &DWHJRU\  FUHGLWV

             $&&25' 7UDLQLQJ 6HVVLRQ SUHVHQWHG E\ WKH 1DWLRQDO +HDUW /XQJ DQG
     %ORRG ,QVWLWXWH &KDUOHVWRQ 6RXWK &DUROLQD -DQXDU\    &DWHJRU\ 
     FUHGLWV

             $PHULFDQ 6RFLHW\ RI 1HSKURORJ\ 1RYHPEHU   6DQ 'LHJR
     &DOLIRUQLD  KRXUV RI $0$ &DWHJRU\ FUHGLWV

             WK 6FLHQWLILF 6HVVLRQV RI WKH $PHULFDQ 'LDEHWHV $VVRFLDWLRQ -XQH 
      LQ 2UODQGR )ORULGD  $0$ &DWHJRU\ FUHGLWV

             WK 6FLHQWLILF 6HVVLRQV RI WKH $PHULFDQ 'LDEHWHV $VVRFLDWLRQ -XQH 
       LQ 6DQ 'LHJR &DOLIRUQLD  KRXUV RI $0$ &DWHJRU\  FUHGLWV




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             1RUWK $PHULFDQ $VVRFLDWLRQ IRU WKH 6WXG\ RI 2EHVLW\ 7KH 2EHVLW\
     6RFLHW\  $QQXDO 6FLHQWLILF 0HHWLQJ 9DQFRXYHU %& &DQDGD 2FWREHU 
       KRXUV RI $0$ &DWHJRU\  FUHGLWV

           6SRWOLJKW RQ SDWLHQW VDIHW\ SUHYHQWLQJ PHGLFDO HUURUV 0HGLFDO 5LVN
     0DQDJHPHQW ,QF ZHE FRXUVH )HEUXDU\    $0$ &DWHJRU\  FUHGLWV

            'LVFORVXUH RI PHGLFDO HUURUV 0HGLFDO 5LVN 0DQDJHPHQW ,QF ZHE
     FRXUVH 0DUFK    KRXUV RI $0$ &DWHJRU\  FUHGLWV

             1RUWK $PHULFDQ $VVRFLDWLRQ IRU WKH 6WXG\ RI 2EHVLW\ 7KH 2EHVLW\
     6RFLHW\  $QQXDO 6FLHQWLILF 0HHWLQJ %RVWRQ 0$ 2FWREHU   
     KRXUV RI $0$ 35$ &DWHJRU\ FUHGLWV

              WK 6FLHQWLILF 6HVVLRQV RI WKH $PHULFDQ 'LDEHWHV $VVRFLDWLRQ LQ
     &KLFDJR ,/ -XQH    KRXUV RI $0$ &DWHJRU\  FUHGLWV LQFOXGLQJ
     VDWHOOLWH V\PSRVLD

            1DWLRQDO .LGQH\ )RXQGDWLRQ  6SULQJ &OLQLFDO 0HHWLQJV LQ 'DOODV
     7; $SULO    KRXUV RI $0$ &DWHJRU\  FUHGLWV

            WK $QQXDO 0HHWLQJ RI 7KH (QGRFULQH 6RFLHW\ LQ 6DQ )UDQFLVFR &$
     -XQH    KRXUV RI $0$ &DWHJRU\  FUHGLWV

           7KH 2EHVLW\ 6RFLHW\  $QQXDO 6FLHQWLILF 0HHWLQJ DQG VDWHOOLWH
     V\PSRVLD 3KRHQL[ $= 2FWREHU    KRXUV RI $0$ &DWHJRU\ &UHGLWV

            WK $QQXDO 6FLHQWLILF 6HVVLRQV RI WKH $PHULFDQ 'LDEHWHV $VVRFLDWLRQ LQ
     1HZ 2UOHDQV /$ -XQH    KRXUV RI $0$ &DWHJRU\  FUHGLWV
     LQFOXGLQJ  VDWHOOLWH V\PSRVLD 

             'LDEHWHV 6\PSRVLXP IRU 3ULPDU\ &DUH 3URYLGHUV /DNH +HDOWK $SULO 
       &DWHJRU\  FUHGLWV

              VW 6FLHQWLILF 6HVVLRQV RI WKH $PHULFDQ 'LDEHWHV $VVRFLDWLRQ LQ 6DQ
     'LHJR &$ -XQH    KRXUV RI $0$ &DWHJRU\  FUHGLWV LQFOXGLQJ
     VDWHOOLWH V\PSRVLD

           5LVN 0DQDJHPHQW &RQVXOW IDLOXUH WR GLDJQRVH FDQFHU 0HGLFDO 5LVN
     0DQDJHPHQW RQOLQH FRXUVH $SULO    KRXUV RI $0$ &DWHJRU\  FUHGLWV


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             QG 6FLHQWLILF 6HVVLRQV RI WKH $PHULFDQ 'LDEHWHV $VVRFLDWLRQ LQ
     3KLODGHOSKLD 3$ -XQH    KRXUV RI $0$ &DWHJRU\  FUHGLWV

             WK $QQXDO 6FLHQWLILF 0HHWLQJ RI WKH RI 7KH 2EHVLW\ 6RFLHW\ LQ 6DQ
     $QWRQLR 7; 6HSWHPEHU    KRXUV RI $0$ &DWHJRU\  &UHGLWV
     LQFOXGLQJ VDWHOOLWH V\PSRVLD

             1DWLRQDO .LGQH\ )RXQGDWLRQ  6SULQJ &OLQLFDO 0HHWLQJV LQ 2UODQGR
     )/ $SULO    KRXUV RI $0$ &DWHJRU\  FUHGLWV

             2KLR 5LYHU 5HJLRQDO $$&( $QQXDO 0HHWLQJ LQ %HDFKZRRG 2+ $XJXVW
        KRXUV RI $0$ &DWHJRU\  FUHGLWV

             2EHVLW\ :HHN $60%6 WK $QQXDO 0HHWLQJ DQG WKH 2EHVLW\ 6RFLHW\
     VW $QQXDO 6FLHQWLILF 0HHWLQJ DQG VDWHOOLWH V\PSRVLD LQ $WODQWD *$ 1RYHPEHU
        KRXUV RI $0$ &DWHJRU\  FUHGLWV

             WK 6FLHQWLILF 6HVVLRQV RI WKH $PHULFDQ 'LDEHWHV $VVRFLDWLRQ LQ 6DQ
     )UDQFLVFR &$ -XQH    KRXUV RI $0$ &DWHJRU\  FUHGLWV

            ,QWHUQDWLRQDO /\PH DQG $VVRFLDWHG 'LVHDVH 6RFLHW\ $QQXDO 6FLHQWLILF
     &RQIHUHQFH :DVKLQJWRQ '& 2FWREHU    &DWHJRU\  FUHGLWV

            2EHVLW\ :HHN QG $QQXDO 6FLHQWLILF 0HHWLQJ RI WKH 2EHVLW\ 6RFLHW\
     %RVWRQ 0$ 1RYHPEHU    &DWHJRU\  FUHGLWV

            $SSO\LQJ IXQFWLRQDO PHGLFLQH LQ FOLQLFDO SUDFWLFH 0DUFK  
     7XFVRQ $=  &DWHJRU\  FUHGLWV

            5LVN PDQDJHPHQW FRQVXOW UHSDLULQJ GLIILFXOW SDWLHQW UHODWLRQVKLSV
     0HGLFDO 5LVN 0DQDJHPHQW ,QF RQOLQH FRXUVH $SULO    &DWHJRU\  FUHGLWV

              'UH[HO 8QLYHUVLW\ ,/$'6 &RQIHUHQFH WLFN ERUQH DQG RWKHU FKURQLF
     LQIHFWLRQV UHVHDUFK DQG SUDFWLFH $SULO   3KLODGHOSKLD 3$ 
     &DWHJRU\  FUHGLWV

             ,QVWLWXWH IRU )XQFWLRQDO 0HGLFLQH  $QQXDO ,QWHUQDWLRQDO
     &RQIHUHQFH 7KH ¨2PLFV© 5HYROXWLRQ 1DWXUH DQG 1XUWXUH 0D\  
     $XVWLQ 7[  &DWHJRU\  FUHGLWV


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            WK 6FLHQWLILF 6HVVLRQV RI WKH $PHULFDQ 'LDEHWHV $VVRFLDWLRQ %RVWRQ
     0$ -XQH    &DWHJRU\  FUHGLWV

            QG $QQXDO 0HHWLQJ RI WKH $PHULFDQ $VVRFLDWLRQ RI 3K\VLFLDQV DQG
     6XUJHRQV 6W /RXLV 02 2FWREHU    &DWHJRU\  FUHGLWV

            WK 6FLHQWLILF 6HVVLRQV RI WKH $PHULFDQ 'LDEHWHV $VVRFLDWLRQ 1HZ
     2UOHDQV /$ -XQH    &DWHJRU\  FUHGLWV

              ,QWHUQDWLRQDO /\PH DQG $VVRFLDWHG 'LVHDVH 6RFLHW\ $QQXDO
     6FLHQWLILF &RQIHUHQFH 1RYHPEHU   3KLODGHOSKLD 3$  &DWHJRU\ 
     FUHGLWV

             WK 6FLHQWLILF VHVVLRQV RI WKH $PHULFDQ 'LDEHWHV $VVRFLDWLRQ 6DQ
     'LHJR &$ -XQH    &DWHJRU\  FUHGLWV

             WK 6FLHQWLILF VHVVLRQV RI WKH $PHULFDQ 'LDEHWHV $VVRFLDWLRQ 2UODQGR
     )/ -XQH    &DWHJRU\  FUHGLWV

             &,7, SURJUDP *RRG &OLQLFDO 3UDFWLFH IRU FOLQLFDO WULDOV ZLWK
     LQYHVWLJDWLRQDO GUXJV DQG PHGLFDO GHYLFHV 86 )'$ IRFXV  &DWHJRU\  FUHGLWV
     1RYHPEHU  

             2KLR 6WDWH &RURQHUV $VVRFLDWLRQ 'HDWK &HUWLILFDWH 7UDLQLQJ  &DWHJRU\
      FUHGLWV $0$  'HFHPEHU  

           /RQJ WHUP FRPSOLFDWLRQV RI EDULDWULF VXUJHU\  &DWHJRU\  FUHGLWV
     $0$  -DQXDU\  

              $QQDOV RI ,QWHUQDO 0HGLFLQH UHYLHZ  &DWHJRU\  FUHGLWV 0D\ 




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             'DWH              $ZDUG
                            7HDFKHU RI WKH <HDU E\ 6HQLRU 0HGLFDO 6WXGHQWV
                                8QLYHUVLW\ RI ,RZD &ROOHJH RI 0HGLFLQH

                            7RS 'RFWRUV RI &OHYHODQG (QGRFULQRORJLVWV 
                                &OHYHODQG 0DJD]LQH

                            3K\VLFLDQ V 5HFRJQLWLRQ $ZDUG IRU
                                &RQWLQXLQJ 0HGLFDO (GXFDWLRQ $PHULFDQ 0HGLFDO
                                $VVRFLDWLRQ

                             3K\VLFLDQ V 5HFRJQLWLRQ $ZDUG IRU &RQWLQXLQJ
             0HGLFDO (GXFDWLRQ $PHULFDQ 0HGLFDO $VVRFLDWLRQ

                           )HOORZVKLS VWDWXV LQ WKH $PHULFDQ &ROOHJH RI
                                3K\VLFLDQV

                            $PHULFDQ 'LDEHWHV $VVRFLDWLRQ &LUFOH RI +RVSLWDOV
                                $ZDUG

                            &OHYHODQG 6XSHU 'RFWRUV




     ,; 6SHFLDO 5ROHV
                           3DUWLFLSDQW LQ $PHULFDQ %RDUG RI ,QWHUQDO 0HGLFLQH
                                UHFHUWLILFDWLRQ SURJUDP

                          5HOHYDQFH UHYLHZHU IRU FHUWLILFDWLRQ DQG
                           UHFHUWLILFDWLRQ H[DP LQ (QGRFULQRORJ\ 'LDEHWHV DQG
                                0HWDEROLVP $PHULFDQ %RDUG RI ,QWHUQDO 0HGLFLQH

              WR      3K\VLFLDQ UHSUHVHQWDWLYH 4XDOLW\ 0DQDJHPHQW
                                &RPPLWWHH &LJQD +HDOWK &DUH RI 2KLR




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              WR SUHVHQW    0DQXVFULSW UHYLHZHU IRU &OHYHODQG &OLQLF -RXUQDO RI
                                0HGLFLQH

                       0DQXVFULSW UHYLHZHU IRU (QGRFULQH 3UDFWLFH


              WR        'LDEHWHV &DUH &RPPLWWHH /DNH+HDOWK
                                3ULQFLSDO DXWKRU LQSDWLHQW VXEFXWDQHRXV LQVXOLQ
                                RUGHU VHW GLDEHWLF NHWRDFLGRVLV RUGHU VHW

              WR 
              WR    0HPEHU 3KDUPDF\ DQG 7KHUDSHXWLFV VXEFRPPLWWHH
             %XFNH\H &RPPXQLW\ +HDOWK 3ODQ

              WR    0HPEHU 0HGLFDO 0DQDJHPHQW VXEFRPPLWWHH
                                %XFNH\H &RPPXQLW\ +HDOWK 3ODQ 5HVLJQHG

                       0DQXVFULSW UHYLHZHU IRU (QGRFULQH +XPDQD 3UHVV

              WR          0HPEHU 1XWULWLRQ &RPPLWWHH RI WKH $PHULFDQ
             $VVRFLDWLRQ RI &OLQLFDO (QGRFULQRORJLVWV

              WR SUHVHQW    0DQXVFULSW UHYLHZHU IRU $PHULFDQ -RXUQDO RI
                                3K\VLRORJ\ +HDUW DQG &LUFXODWRU\ 3K\VLRORJ\

                            ,WHP ZULWHU IRU 2EHVLW\ 0HGLFLQH 3K\VLFLDQ
                                &HUWLILFDWLRQ ([DPLQDWLRQ

                       &HUWLILHG 2EHVLW\ 0HGLFLQH 3K\VLFLDQ ([DPLQDWLRQ
                                ZRUNVKRS FRQWULEXWRU DQG DWWHQGHH

              WR        3HHU UHYLHZHU LQ HQGRFULQRORJ\ IRU .HSUR .H\VWRQH
                                3HHU 5HYLHZ 2UJDQL]DWLRQ

              WR        %RDUG RI 'LUHFWRUV $PHULFDQ %RDUG RI 2EHVLW\
                                0HGLFLQH

              WR        0HPEHU 3URJUDP &RPPLWWHH 'LDEHWHV 3DUWQHUVKLS
                                RI &OHYHODQG


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              WR            0HPEHU ,WHP ZULWLQJ FRPPLWWHH $PHULFDQ %RDUG RI
                                    2EHVLW\ 0HGLFLQH H[DPLQDWLRQ

             SUHVHQW           0DQXVFULSW UHYLHZHU $QQDOV RI ,QWHUQDO 0HGLFLQH




     ; +263,7$/ 67$)) 35,9,/(*(6

     +RVSLWDO                                                'HSDUWPHQW

     )RUPHU EHFDXVH RI UHORFDWLRQ RU UHVLJQDWLRQ
             8QLYHUVLW\ RI ,RZD +RVSLWDOV DQG &OLQLFV         ,QWHUQDO 0HGLFLQH
             ,RZD &LW\ ,RZD


             8QLYHUVLW\ +RVSLWDOV RI &OHYHODQG                ,QWHUQDO 0HGLFLQH
             &OHYHODQG 2KLR                                  (QGRFULQRORJ\
                                                              3DUWWLPH

             +LOOFUHVW +RVSLWDO
             &OHYHODQG &OLQLF +HDOWK 6\VWHP                   ,QWHUQDO 0HGLFLQH



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             0D\ILHOG +HLJKWV 2KLR                         (QGRFULQRORJ\
                                                            &RQVXOWLQJ




             /DNH +HDOWK QRZ SDUW RI 8QLYHUVLW\ +RVSLWDOV            ,QWHUQDO 0HGLFLQH
             :LOORXJKE\ 2KLR                                         (QGRFULQRORJ\
                                                                      &RQVXOWLQJ


     3UHVHQW

             6W *HRUJH 5HJLRQDO +RVSLWDO                   (QGRFULQRORJ\
             ,QWHUPRXQWDLQ +HDOWK &DUH
             6W *HRUJH 87




     ;, &855(17 352)(66,21$/ $)),/,$7,216

             SUHVHQW        'RFWRUV IRU 'LVDVWHU 3UHSDUHGQHVV

             SUHVHQW        $PHULFDQ 'LDEHWHV $VVRFLDWLRQ 3URIHVVLRQDO
                                 6HFWLRQ

                        'LDEHWHV $VVRFLDWLRQ RI *UHDWHU &OHYHODQG 'LDEHWHV
                                 3DUWQHUVKLS RI &OHYHODQG

             SUHVHQW        $VVRFLDWLRQ RI $PHULFDQ 3K\VLFLDQV DQG 6XUJHRQV

                        ,QWHUQDWLRQDO 'LDEHWHV )HGHUDWLRQ

                        $PHULFDQ $VVRFLDWLRQ RI 'LDEHWHV (GXFDWRUV

                        $PHULFDQ 6RFLHW\ IRU %RQH DQG 0LQHUDO 5HVHDUFK


                        7KH (QGRFULQH 6RFLHW\


              SUHVHQW       $PHULFDQ $VVRFLDWLRQ RI &OLQLFDO (QGRFULQRORJLVWV



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                      $PHULFDQ &ROOHJH RI 3K\VLFLDQV )HOORZ


             SUHVHQW     $PHULFDQ +HDUW $VVRFLDWLRQ 3UHPLXP 3URIHVVLRQDO
                                                     *ROG +HDUW 0HPEHU


                      2KLR 6WDWH 0HGLFDO $VVRFLDWLRQ


                      $PHULFDQ 6RFLHW\ RI +\SHUWHQVLRQ


                    $PHULFDQ 0HGLFDO $VVRFLDWLRQ


                    1RUWK $PHULFDQ $VVRFLDWLRQ IRU WKH 6WXG\ RI 2EHVLW\
                                                      7KH 2EHVLW\ 6RFLHW\


                    $FDGHP\ RI 3K\VLFLDQV LQ &OLQLFDO 5HVHDUFK

                    $PHULFDQ &KHPLFDO 6RFLHW\

                    'RFV  3DWLHQW &DUH

             SUHVHQW    $PHULFDQ 6RFLHW\ RI 1XWULWLRQ

             SUHVHQW    $PHULFDQ $VVRFLDWLRQ IRU WKH $GYDQFHPHQW RI
                             6FLHQFH

                    $FDGHP\ RI 1XWULWLRQ DQG 'LHWHWLFV

                    $PHULFDQ &ROOHJHV RI 6SRUWV 0HGLFLQH

             SUHVHQW    %RQH +HDOWK DQG 2VWHRSRURVLV )RXQGDWLRQ

                    ,QWHUQDWLRQDO 6RFLHW\ RI &OLQLFDO 'HQVLWRPHWU\

              ¦      1DWLRQDO /LSLG $VVRFLDWLRQ PHPEHU




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    Daniel Weiss MD




     ;,, %,%/,2*5$3+<

             $ 3XEOLVKHG RU LQ 3UHVV RU LQ 3UHSDUDWLRQ
              :HLVV ' +XPDQ ,QVXOLQ 'UXJ 7KHUDS\ 5HYLHZ ,RZD 0HGLFLQH
             -RXUQDO RI WKH ,RZD 0HGLFDO 6RFLHW\  

              :HLVV ' %DU 56 :HLGQHU 1 :HQHU 0 /HH ) 2QFRJHQLF
             2VWHRPDODFLD 6WUDQJH 7XPRUV LQ 6WUDQJH 3ODFHV 3RVWJUDGXDWH 0HGLFDO
             -RXUQDO   

              :HLGQHU 1 %DU 56 :HLVV ' 6WURWWPDQQ 03 1HRSODVWLF
             3DWKRORJ\ RI 2QFRJHQLF 2VWHRPDODFLD5LFNHWV &DQFHU   
             

              :HLVV ' %DU 56 :HLGQHU 1 2QFRJHQLF 2VWHRPDODFLD $QQDOV
             RI ,QWHUQDO 0HGLFLQH   

              :HLVV ' +\SHUJO\FHPLD 'XULQJ 3K\VLFDO 6WUHVV $PHU - 0HG 
              

              +\SHUKRPRF\VWHLQHPLD LQ +\SRWK\URLGLVP $QQDOV RI ,QWHUQDO 0HG
               




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    Daniel Weiss MD

              :HLVV ' +RZ WR +HOS <RXU 3DWLHQWV /RVH :HLJKW &XUUHQW 7KHUDS\ IRU
             2EHVLW\ &OHYHODQG &OLQLF - 0HG   

              :HLVV ' $FDUERVH IRU WKH SUHYHQWLRQ RI GLDEHWHV &OHYHODQG &OLQLF - 0HG
               

              :HLVV ' 0DQDJHPHQW RI GLDEHWHV VKRXOG EH D WHDP DSSURDFK
             $PHULFDQ )DPLO\ 3K\VLFLDQ   

              :HLVV ' FRDXWKRU (YROXWLRQ RI WKH OLSLG WULDO SURWRFRO RI WKH $FWLRQ
             WR &RQWURO &DUGLRYDVFXODU 5LVN LQ 'LDEHWHV $&&25' WULDO $P - &DUGLRO
               $  LL

              :HLVV ' FRDXWKRU (IIHFW RI LQWHQVLYH WUHDWPHQW RI K\SHUJO\FHPLD RQ
             PLFURYDVFXODU RXWFRPHV LQ W\SH  GLDEHWHV DQ DQDO\VLV RI WKH $&&25'
             UDQGRPL]HG WULDO /DQFHW   

              :HLVV ' 0HFKDQLFN - 'LHWDU\ 6XSSOHPHQWV 1XWUDFHXWLFDOV DQG
             )XQFWLRQDO )RRGV FKDSWHU RI WKH 1XWULWLRQ VHFWLRQ RI WKH  HGLWLRQ RI
             WKH $PHULFDQ &ROOHJH RI (QGRFULQRORJ\ 6HOI $VVHVVPHQW 3URJUDP $6$3 

              :HLVV ' %DULDWULF VXUJHU\ YLWDPLQ & DQG NLGQH\ VWRQHV &OHYHODQG
             &OLQLF - 0HG   

              (PSW\ VHOOD FRDXWKRUHG FKDSWHU LQ  0LQXWH &OLQLFDO &RQVXOW 

              :HLVV ' ¨UHYLHZHU© LQYROYHG LQ ZULWLQJ SURFHVV IRU $PHULFDQ
             $VVRFLDWLRQ RI &OLQLFDO (QGRFULQRORJLVWV« SRVLWLRQ VWDWHPHQW RQ FOLQLFDO
             QXWULWLRQ DQG KHDOWK SURPRWLRQ LQ HQGRFULQRORJ\
             (QGRFULQH 3UDFWLFH   

              :HLVV ' )XQFWLRQDO IRRGV GLHWDU\ VXSSOHPHQWV DQG QXWUDFHXWLFDOV
             &KDSWHU RI WKH 1XWULWLRQ 6HFWLRQ RI WKH  HGLWLRQ RI WKH $PHULFDQ
             &ROOHJH RI (QGRFULQRORJ\ 6HOI $VVHVVPHQW 3URJUDP $6$3

              :HLVV ' FRDXWKRU 3DUDGR[LFDO UHGXFWLRQ LQ +'/& ZLWK IHQRILEUDWH
             DQG WKLD]ROLGLQHGLRQH WKHUDS\ LQ 7\SH  'LDEHWHV WKH $&&25' /LSLG
             WULDO 'LDEHWHV &DUH   




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              :HLVV ' 'LDEHWHV WKHUDS\ DQG FDQFHU ULVN &OHYH &OLQLF - 0HG 
              

              :HLVV ' 6WDUWLQJ LQVXOLQ WKHUDS\ &OHYH &OLQLF - 0HG  

              :HLVV ' FRDXWKRU 5DQGRPL]HG FRQWUROOHG WULDO RI D QDWLRQDOO\
             DYDLODEOH ZHLJKW FRQWURO SURJUDP WDLORUHG IRU DGXOWV ZLWK 7\SH  'LDEHWHV
             2EHVLW\   

              :HLVV ' :HLVV 0) /\PH GLVHDVH $QQ ,QWHUQ 0HG   
             


           22. :HLVV ' FRDXWKRU ,PSDFW RQ SV\FKRVRFLDO RXWFRPHV RI D QDWLRQDOO\
           DYDLODEOH ZHLJKW PDQDJHPHQW SURJUDP WDLORUHG IRU LQGLYLGXDOV ZLWK 7\SH 
     'LDEHWHV UHVXOWV RI D UDQGRPL]HG FRQWUROOHG WULDO - 'LDEHWHV DQG LWV
     &RPSOLFDWLRQV KWWSG[GRLRUJMMGLDFRPS



              :HLVV ' FRDXWKRU $VVRFLDWLRQ RI IHQRILEUDWH WKHUDS\ ZLWK ORQJWHUP
             FDUGLRYDVFXODU ULVN LQ VWDWLQWUHDWHG SDWLHQWV ZLWK 7\SH  GLDEHWHV
              -$0$ &DUGLRORJ\  

              :HLVV ' FRDXWKRU &KDQJHV LQ ZHLJKW FRQWURO EHKDYLRUV DQG KHGRQLF
             KXQJHU LQ D FRPPHUFLDO ZHLJKW PDQDJHPHQW SURJUDP DGDSWHG IRU
             LQGLYLGXDOV ZLWK W\SH  GLDEHWHV  ,QWHUQDWLRQDO -RXUQDO RI 2EHVLW\ 
             

              :HLVV ' FRDXWKRU 8QGHUVWDQGLQJ LQKDOHG 7HFKQRVSKHUH ,QVXOLQ
             UHVXOWV RI DQ HDUO\ UDQGRPL]HG WULDO LQ 7\SH  'LDEHWHV  - 'LDEHWHV
             


              :HLVV ' /RQJ WHUP FRPSOLFDWLRQV RI EDULDWULF VXUJHU\ 
             -$0$   




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    Daniel Weiss MD




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             :HLVV 0) :HLVV ' ,V RVWHRSRURVLV D YHFWRUERUQH LQIHFWLRQ RU D
     FRPSOLFDWLRQ RI WUHDWPHQW"  ,QWHUQDWLRQDO /\PH DQG DVVRFLDWHG GLVHDVHV
     VRFLHW\ DQQXDO VFLHQWLILF FRQIHUHQFH 3KLODGHOSKLD 3$ 1RYHPEHU  




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    Daniel Weiss MD




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              $QWLFRDJXODWLRQ ZLWK +HSDULQ (IILFDF\ 0RQLWRULQJ DQG $GYHUVH
             (IIHFWV &OLQLFDO 3KDUPDFRORJ\ 6HPLQDU 8 RI ,RZD  0DUFK  


              6QDNH 9HQRP 3RLVRQLQJ LQ WKH 8QLWHG 6WDWHV
             ,QWHUQDO 0HGLFLQH *UDQG 5RXQGV 8 RI ,RZD $XJXVW  


              &U\SWRFRFFDO 0HQLQJLWLV
             ,QIHFWLRXV 'LVHDVH *UDQG 5RXQGV 8 RI ,RZD 1RYHPEHU 
             5KHXPDWRORJ\,PPXQRORJ\ *UDQG 5RXQGV 8 RI ,RZD -DQXDU\

              7HWDQXV ,QWHUQDO 0HGLFLQH *UDQG 5RXQGV 8 RI ,RZD -DQXDU\  

              3ULPDU\ +\SHUSDUDWK\URLGLVP
             ,QWHUQDO 0HGLFLQH 5HVLGHQWV &RQIHUHQFH 8 RI ,RZD $SULO  

               $OGRVWHURQH DQG ,WV 'HILFLHQF\ 6WDWHV
             (QGRFULQRORJ\0HWDEROLVP &RQIHUHQFH 8 RI ,RZD 2FWREHU  

               +\SHUSURODFWLQHPLD DQG (UHFWLOH '\VIXQFWLRQ
             (QGRFULQRORJ\0HWDEROLVP &RQIHUHQFH 8 RI ,RZD )HEUXDU\  

              7KH (IIHFW RI 1RQ6\VWHPLF *OXFRFRUWLFRLGV RQ WKH +\SRWKDODPLF
             3LWXLWDU\ $GUHQDO $[LV (QGRFULQRORJ\0HWDEROLVP &RQIHUHQFH
             8 RI ,RZD $XJXVW  

               )DPLOLDO (XWK\URLG +\SHUWK\UR[LQHPLD
             (QGRFULQRORJ\0HWDEROLVP &RQIHUHQFH 8 RI ,RZD 2FWREHU 




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    Daniel Weiss MD

              &HQWUDO 'LDEHWHV ,QVLSLGXV
             *HQHUDO 0HGLFLQH &RQIHUHQFH 8 RI ,RZD 0DUFK  O

              (QGRFULQH '\VIXQFWLRQ LQ 6DUFRLGRVLV
             (QGRFULQRORJ\0HWDEROLVP &RQIHUHQFH 8 RI ,RZD 0D\  O

              7K\URLG +RUPRQH 5HVLVWDQFH
             (QGRFULQRORJ\0HWDEROLVP &RQIHUHQFH 8 RI ,RZD -XO\  

              +XPRUDO +\SHUFDOFHPLD RI 0DOLJQDQF\ 'RHV (FWRSLF
             +\SHUSDUDWK\URLGLVP ([LVW"
             &OLQLFDO (QGRFULQRORJ\ &RQIHUHQFH 8 RI ,RZD $XJXVW  

            7K\URLG +RUPRQH 7KHUDS\ $GYHUVH &DUGLRYDVFXODU (IIHFWV DQG WKH
     3UREOHP RI 0\[HGHPD &RPD *HQHUDO 0HGLFLQH &RQIHUHQFH 8 RI ,RZD
     'HFHPEHU  

              7KH 7K\URLG 6WDWH RI WKH $UW /HFWXUH 6HULHV
             'HSDUWPHQW RI ,QWHUQDO 0HGLFLQH 8 RI ,RZD 'HFHPEHU  


              'LDEHWHV 0HOOLWXV 8SGDWH
             )DPLO\ 3UDFWLFH &RQIHUHQFH 6W /XNH«V 'DYHQSRUW ,RZD )DPLO\
             3UDFWLFH 5HVLGHQFH 3URJUDP -DQXDU\  


              'LVRUGHUV RI &DOFLXP 0HWDEROLVP
             (QGRFULQH VHFWLRQ VHFRQG \HDU PHGLFDO VWXGHQW FRXUVH 8 RI ,RZD
             0DUFK  

              &OLQLFDO $SSURDFK WR 'LVRUGHUV RI &DOFLXP 3KRVSKRUXV DQG
             0DJQHVLXP 0W 6LQDL 0HGLFDO &HQWHU &OHYHODQG 2KLR
             'HSDUWPHQW RI (PHUJHQF\ 0HGLFLQH -XO\  
             'HSDUWPHQW RI ,QWHUQDO 0HGLFLQH$XJXVW  

              +RUPRQH 5HVLVWDQW 6WDWHV
             0W 6LQDL 0HGLFDO &HQWHU &OHYHODQG 2KLR
             0HGLFDO 5HVLGHQW V -RXUQDO &OXE  $XJXVW  

              'LDEHWHV 0HOOLWXV &OLQLFDO 8SGDWH


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    Daniel Weiss MD

           %UHQWZRRG +RVSLWDO :DUUHQVYLOOH +HLJKWV 2KLR                  5HVLGHQWV
     DQG 6WDII &RQIHUHQFH  6HSWHPEHU  

              0HWDEROLF %RQH 'LVHDVH ZLWK D )RFXV RQ 2QFRJHQLF 2VWHRPDODFLD
             0W 6LQDL 0HGLFDO &HQWHU &OHYHODQG 2KLR
             2UWKRSHGLF 6XUJHU\ *UDQG 5RXQGV  2FWREHU  

              'LDEHWLF .HWRDFLGRVLV
             0W 6LQDL 0HGLFDO &HQWHU &OHYHODQG 2KLR
             'HSDUWPHQW RI (PHUJHQF\ 0HGLFLQH 'HFHPEHU  

              8QGHUVWDQGLQJ 7K\URLG )XQFWLRQ 7HVWV
             0W 6LQDL 0HGLFDO &HQWHU &OHYHODQG 2KLR
             'HSDUWPHQW RI ,QWHUQDO 0HGLFLQH (QGRFULQH OHFWXUH VHULHV
             -DQXDU\  

              3HULSDUWXP 7K\URLG 'LVHDVH
             0W 6LQDL 0HGLFDO &HQWHU &OHYHODQG 2KLR
             2EVWHWULFV DQG *\QHFRORJ\ *UDQG 5RXQGV  -DQXDU\  

              7KH 'LDJQRVLV RI +\SR DQG +\SHUWK\URLGLVP 5HFRJQLWLRQ RI
             &RQIXVLQJ 3UHVHQWDWLRQV 0W 6LQDL 0HGLFDO &HQWHU &OHYHODQG 2KLR
             ,QWHUQDO 0HGLFLQH *UDQG 5RXQGV )HEUXDU\  

              'LDEHWHV 0HOOLWXV &OLQLFDO 8SGDWH
             <RXQJVWRZQ 2VWHRSDWKLF +RVSLWDO <RXQJVWRZQ 2KLR
             )HEUXDU\  

              'LDEHWHV 0HOOLWXV &OLQLFDO 8SGDWH ZLWK D )RFXV RQ 7\SH ,, 'LDEHWHV
             :DGVZRUWK5LWWPDQ +RVSLWDO :DGVZRUWK 2KLR
             ,QWHUQDO 0HGLFLQH *UDQG 5RXQGV  0DUFK  

              7KH 'LDJQRVLV RI +\SR DQG +\SHUWK\URLGLVP 5HFRJQLWLRQ RI
             &RQIXVLQJ 3UHVHQWDWLRQV
             +LOOFUHVW +RVSLWDO 0HGLFDO 5RXQGV 6HSWHPEHU  

              'UXJ (IIHFWV RQ 7K\URLG +RUPRQH +RPHRVWDVLV
             *UHDWHU &OHYHODQG $FDGHP\ RI 3KDUPDF\  6HSWHPEHU  

              7KH 6ROLWDU\ 7K\URLG 1RGXOH


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    Daniel Weiss MD

             :DUUHQ &OLQLF :DUUHQ 2KLR  2FWREHU  

              7K\URLG +RUPRQH 5HVLVWDQFH
             &OHYHODQG &OLQLF )RXQGDWLRQ &OHYHODQG 2KLR
             (QGRFULQRORJ\ *UDQG 5RXQGV  $SULO  

              'LDJQRVLQJ +\SHUWK\URLGLVP DQG +\SRWK\URLGLVP 5HFRJQL]LQJ
             &RQIXVLQJ 3UHVHQWDWLRQV
             (XFOLG *HQHUDO +RVSLWDO *UDQG 5RXQGV 0D\  

              (YDOXDWLRQ RI WKH (QODUJHG 7K\URLG
             0W 6LQDL 0HGLFDO &HQWHU &OHYHODQG 2KLR
             'HSDUWPHQW RI ,QWHUQDO 0HGLFLQH 1RRQ OHFWXUH VHULHV -XQH  

              'LDEHWHV 8SGDWH 3DWLHQW (GXFDWLRQ 3URJUDPV :KDW *RRG $UH 7KH\"
             $QG +XPDQ ,QVXOLQ ,QGLFDWLRQV DQG 8VH 0HGQHW 'HSDUWPHQW RI ,QWHUQDO
             0HGLFLQH 1RYHPEHU 

              &OLQLFDO $SSURDFK WR 7K\URLG 'LVHDVH
             0W 6LQDL ,QWHUQDO 0HGLFLQH 5HVLGHQWV 1RRQ &RQIHUHQFH 0D\ 

              &OLQLFDO $VSHFWV RI 7K\URLG 'LVHDVH 0W 6LQDL ,QWHUQDO 0HGLFLQH
             5HVLGHQWV 1RRQ &RQIHUHQFH )HEUXDU\  

              0DQDJLQJ 'LDEHWHV LQ WKH  V $VKWDEXOD &RXQW\ 0HGLFDO &HQWHU
             0D\  

              &OLQLFDO $VSHFWV RI %ORRG /LSLGV 8QLYHUVLW\ 0HGQHW 'HSDUWPHQW RI
             ,QWHUQDO 0HGLFLQH -XO\  

              &OLQLFDO $VSHFWV RI %ORRG /LSLGV 8QLYHUVLW\ 0HGQHW 'HSDUWPHQW RI
             ,QWHUQDO 0HGLFLQH 'HFHPEHU  

              &OLQLFDO $VSHFWV RI %ORRG /LSLGV 3DUW  8QLYHUVLW\ 0HGQHW
             'HSDUWPHQW RI ,QWHUQDO 0HGLFLQH DQG )DPLO\ 3UDFWLFH 0D\  

              &OLQLFDO $VSHFWV RI %ORRG /LSLGV 3DUW  8QLYHUVLW\ 0HGQHW
             'HSDUWPHQW RI ,QWHUQDO 0HGLFLQH DQG )DPLO\ 3UDFWLFH -XQH  




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    Daniel Weiss MD

             &OLQLFDO $VSHFWV RI %ORRG /LSLGV 3DUW  8QLYHUVLW\ 0HGQHW
            'HSDUWPHQW RI ,QWHUQDO 0HGLFLQH DQG )DPLO\ 3UDFWLFH            6HSWHPEHU
      

              2QFRJHQLF 2VWHRPDODFLD 7UDFNLQJ WKH 6RXUFH RI WKH (YLO +XPRU
             &DVH :HVWHUQ 5HVHUYH 8QLYHUVLW\ 6FKRRO RI 0HGLFLQH
             (QGRFULQH *UDQG 5RXQGV 0DUFK  

              3UDFWLFDO 7LSV LQ WKH 0DQDJHPHQW RI 'LDEHWHV 0HOOLWXV 3DUW 
             8QLYHUVLW\ 0HGQHW 3K\VLFLDQV $SULO   

              3UDFWLFDO 7LSV LQ WKH 0DQDJHPHQW RI 'LDEHWHV 0HOOLWXV 3DUW 
             8QLYHUVLW\ 0HGQHW 3K\VLFLDQV 0D\  

              7UHDWPHQW $SSURDFKHV LQ 3DWLHQWV ZLWK 7\SH ,, 'LDEHWHV 0HOOLWXV
             ,QWHUQDO 0HGLFLQH)DPLO\ 3UDFWLWLRQHUV &DQWRQ 2KLR 0D\  

             1R1RQVHQVH 'LDEHWHV 0DQDJHPHQW $ 6\PSRVLXP IRU 3ULPDU\ &DUH
     3K\VLFLDQV 7KHUDSHXWLF 2SWLRQV7\SH ,, ,QVXOLQ 2UDO $JHQWV 
            &OHYHODQG +LOWRQ 6RXWK -XQH  

            'LDEHWHV PHOOLWXV 8QLYHUVLW\ 0HGQHW 1XUVLQJ 6WDII %HDFKZRRG 2KLR
     6HSWHPEHU  

              'LDEHWHV (VVHQWLDOV RI *RRG &DUH ,QWHUQLVWV DQG )DPLO\
             3UDFWLWLRQHUV 3HSSHU 3LNH 2KLR 6HSWHPEHU  

              'LDEHWHV PHOOLWXV )RFXV RQ 7\SH ,, )DPLO\ SUDFWLWLRQHUV
             2FWREHU  

              'LDEHWHV PHOOLWXV (VVHQWLDOV RI *RRG &DUH ,QWHUQLVWV DQG )DPLO\
             3UDFWLWLRQHUV $NURQ 2KLR 2FWREHU  

              7K\URWDON 8QLYHUVLW\ 0HGQHW LQWHUQLVWV %HDFKZRRG 2KLR
             1RYHPEHU  

              7UHDWPHQW RI '\VOLSLGHPLD &OHYHODQG 6RFLHW\ RI +RVSLWDO
             3KDUPDFLVWV ,QGHSHQGHQFH 2KLR 1RYHPEHU  




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    Daniel Weiss MD

              'LDEHWHV PHOOLWXV )RFXV RQ WUHDWPHQW RI 7\SH ,, SDWLHQWV &DQWRQ
             9HWHUDQV $GPLQLVWUDWLRQ 2XWSDWLHQW &OLQLF )HEUXDU\  

              2QFRJHQLF RVWHRPDODFLD +DGDVVDK 0HGLFDO &HQWHU  (LQ .HUHP
             'HSDUWPHQW RI (QGRFULQRORJ\ -HUXVDOHP ,VUDHO -XQH  

              &OLQLFDO 0DQDJHPHQW RI '\VOLSLGHPLD )DPLO\ SUDFWLWLRQHUV
             0HQWRU 2KLR -XO\  

              7KH 0DQDJHPHQW RI 'LDEHWHV WK $QQXDO :HVWVLGH 6HPLQDU RI WKH
             &OHYHODQG $FDGHP\ RI 2VWHRSDWKLF 0HGLFLQH 6HSWHPEHU  

              +\SR DQG +\SHUWK\URLGLVP $VKWDEXOD DUHD SUDFWLWLRQHUV
             $VKWDEXOD 2KLR 2FWREHU  

              'LDEHWHV 8SGDWH )RFXV RQ WKH '&&7 8QLYHUVLW\ 0HGQHW 3K\VLFLDQV
             DQG 1XUVHV %HDFKZRRG 2KLR -DQXDU\  

              'LDEHWHV 8SGDWH )RFXV RQ WKH '&&7 8QLYHUVLW\ 0HGQHW 3K\VLFLDQV
             DQG 1XUVHV %HGIRUG 2KLR )HEUXDU\  

              7K\URLG 'LVRUGHUV DQG /DERUDWRU\ $VVHVVPHQW 8QLYHUVLW\ 0HGQHW
             /DERUDWRU\ 6WDII (XFOLG 2KLR -XO\  

              'LDEHWHV 8SGDWH $PHULFDQ 3KLOLSSLQH 3K\VLFLDQV 2UJDQL]DWLRQ
             &OHYHODQG 2KLR $XJXVW  

              +\SHUFKROHVWHUROHPLD DQG LWV 0DQDJHPHQW ,QWHUQDO 0HGLFLQH
             3K\VLFLDQV %HDFKZRRG 2KLR 6HSWHPEHU  

              'LDEHWHV 8SGDWH )RFXV RQ WKH '&&7 8QLYHUVLW\ 0HGQHW 3K\VLFLDQV
             DQG 1XUVHV 0HQWRU  2KLR 2FWREHU  

              'H 4XHUYDLQ V 6XEDFXWH 7K\URLGLWLV 8QLYHUVLW\ +RVSLWDOV RI
             &OHYHODQG (QGRFULQRORJ\ *UDQG 5RXQGV 1RYHPEHU  

              ,PSRUWDQW 'HYHORSPHQWV LQ 'LDEHWHV 0HOOLWXV 0HGLFDO VWDII RI
             %HGIRUG +RVSLWDO 2UDQJH 2KLR 1RYHPEHU  




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    Daniel Weiss MD

              'LDEHWHV :KDW (YHU\ 1XUVH 6KRXOG .QRZ /LFHQVHG 3UDFWLFDO 1XUVH
             $VVRFLDWLRQ RI 2KLR 1RUWKHDVW 2KLR $QQXDO 0HHWLQJ 0HQWRU 2KLR 0DUFK
              

              'HSUHVVLRQ LQ WKH 0HGLFDO 6HWWLQJ /LFHQVHG 3UDFWLFDO 1XUVH
             $VVRFLDWLRQ RI 2KLR 1RUWKHDVW 2KLR $QQXDO 0HHWLQJ
             0HQWRU 2KLR 0DUFK  

            'LDEHWHV 0HOOLWXV ([FLWLQJ &OLQLFDO 3URJUHVV /DNH (ULH &ROOHJH RI
           2VWHRSDWKLF 0HGLFLQH 3ULPDU\ &DUH  V\PSRVLXP &O\PHU 1HZ <RUN
     0DUFK  

              'LDEHWHV 7UHDWPHQW 8SGDWH )3 DQG ,QWHUQLVWV %HDFKZRRG 2KLR
             0D\  

              &XUUHQW &RQFHSWV DQG 7KHUDS\ LQ WKH 0DQDJHPHQW RI
             +\SHUFKROHVWHUROHPLD )3 DQG ,QWHUQLVWV &OHYHODQG 2KLR
             $XJXVW  

              1HZ 7KHUDSHXWLF 6WUDWHJLHV LQ WKH 7UHDWPHQW RI 7\SH ,, 'LDEHWHV
             0HOOLWXV *UDFH +RVSLWDO &OHYHODQG 2KLR $XJXVW  

              'LDEHWHV :KDW (YHU\ 7UHDWLQJ 3K\VLFLDQ 0XVW .QRZ 8QLYHUVLW\
             0HGQHW 0HQWRU &OLQLF 6HSWHPEHU  

              0DQDJLQJ +\SHUOLSLGHPLD )3 DQG ,QWHUQLVWV &OHYHODQG 2KLR
             2FWREHU  

              1HZ $VSHFWV LQ 'LDEHWHV 0HOOLWXV 3UHVHQWHG DW WKH  ,QWHUQDO
             0HGLFLQH $QQXDO )DOO 6HPLQDU RI 0HULGLD 6RXWK 3RLQWH +RVSLWDO
             'HSW RI ,QWHUQDO 0HGLFLQH 6DJDPRUH +LOOV 2KLR 2FWREHU  

              +\SHUFKROHVWHUROHPLD )3 DQG ,QWHUQLVWV &DQWRQ 2KLR
             1RYHPEHU  

              2VWHRSRURVLV (WLRORJ\ 3DWKRSK\VLRORJ\ DQG &XUUHQW 0HGLFDO
             0DQDJHPHQW ,QWHUQLVWV 0RUHODQG +LOOV 2KLR 'HFHPEHU  

              8SGDWH RQ +\SHUOLSLGHPLD $PHULFDQ 3KLOLSSLQH 3K\VLFLDQV
             2UJDQL]DWLRQ &OHYHODQG 2KLR -DQXDU\  


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    Daniel Weiss MD



              2VWHRSRURVLV 5HFRJQLWLRQ DQG 7UHDWPHQW &X\DKRJD )DOOV +RVSLWDO
             *UDQG 5RXQGV &X\DKRJD )DOOV 2KLR -DQXDU\  

             3KDUPDFRWKHUDS\ RI 7\SH ,, 'LDEHWHV 0D[LPL]LQJ 'LDEHWHV
            7UHDWPHQW D 'LDEHWHV $VVRFLDWLRQ RI *UHDWHU &OHYHODQG $OOLHG +HDOWK
     3URIHVVLRQDOV 6\PSRVLXP /DQGHUKDYHQ 3HSSHU 3LNH 2KLR 0DUFK  

              2VWHRSRURVLV &RPHV RI $JH 0HQWRU 2KLR $SULO  

              'LDEHWHV 1HZ &RQFHSWV LQ 0DQDJHPHQW 0HULGLD 6RXWK 3RLQWH
             +RVSLWDO 3ULPDU\ &DUH 3URYLGHU 6HPLQDU /DQGHUKDYHQ 3HSSHU
             3LNH 2KLR 0D\  

              2VWHRSRURVLV )LQGLQJ 3DWLHQWV DW 5LVN 8QLYHUVLW\ 0HGQHW
             SK\VLFLDQV DQG QXUVHV :LOORXJKE\ 2KLR -XQH  

              8SGDWH RQ WKH 0DQDJHPHQW RI /LSLG 'LVRUGHUV 3ULPDU\ FDUH
             SURYLGHUV &OHYHODQG 2KLR -XQH  

              1HZ 2SWLRQV LQ WKH 7UHDWPHQW RI 7\SH ,, 'LDEHWHV %HDFKZRRG 2KLR
             -XO\  

              +\SR DQG +\SHUWK\URLGLVP /DNH +RVSLWDO :LOORXJKE\ 2KLR
             -XO\  

              +\SR DQG +\SHUWK\URLGLVP /DNH +RVSLWDO 3DLQHVYLOOH 2KLR
             -XO\  

              +\SHUFKROHVWHUROHPLD 3ULPDU\ FDUH SURYLGHUV 0RUHODQG +LOOV       2KLR
             $XJXVW  

              'LDEHWHV 0HOOLWXV &DUH DW WKH 7XUQ RI WKH &HQWXU\ 0HQWRU 2KLR
             6HSWHPEHU  

              'HSUHVVLRQ LQ 3ULPDU\ &DUH 0HQWRU 2KLR 6HSWHPEHU  

              3KDUPDFRWKHUDS\ RI 2EHVLW\ 7UHDWLQJ WKH 8QGHUO\LQJ 'LVHDVH
             3ULPDU\ FDUH SURYLGHUV %UDWHQDKO 2KLR 6HSWHPEHU  




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    Daniel Weiss MD

              0DQDJHPHQW RI '\VOLSLGHPLD 8QLYHUVLW\ +RVSLWDO ,QWHUQDO
             0HGLFLQH 5HVLGHQWV &OHYHODQG 2KLR 2FWREHU  

              1HZ 2SWLRQV IRU WKH 7UHDWPHQW RI 'LDEHWHV 0HOOLWXV )LIWK $QQXDO
             3UDFWLFDO ,VVXHV LQ ,QWHUQDO 0HGLFLQH IRU WKH *HQHUDO 3UDFWLWLRQHU $ )RFXV
             RQ 7\SH ,, 'LDEHWHV 8QLYHUVLW\ +RVSLWDOV +HDOWK 6\VWHP %HGIRUG 0HGLFDO
             &HQWHU /DQGHUKDYHQ 3HSSHU 3LNH 2KLR 2FWREHU  

              +\SHUFKROHVWHUROHPLD ,QWHUQDO 0HGLFLQH UHVLGHQWV &OHYHODQG
             9HWHUDQV $GPLQLVWUDWLRQ +RVSLWDO &OHYHODQG 2KLR
             2FWREHU  

              $Q 8SGDWH RQ 7UHDWPHQW RI +\SHUOLSLGHPLD $GYDQFHG 3UDFWLFH
             1XUVLQJ &RQWLQXLQJ (GXFDWLRQ 6HULHV &OHYHODQG 9$ 0HGLFDO
             &HQWHU &OHYHODQG 2KLR 1RYHPEHU  

              2VWHRSRURVLV &RPHV RI $JH 5HFRJQLWLRQ DQG 7UHDWPHQW 0RUHODQG
             +LOOV 2KLR 'HFHPEHU  

              7UHDWLQJ +\SHUFKROHVWHUROHPLD &OHYHODQG 2KLR -DQXDU\  

              3KDUPDFRWKHUDS\ RI 2EHVLW\ 7UHDWLQJ WKH 8QGHUO\LQJ 'LVHDVH
             %HDFKZRRG 2KLR )HEUXDU\  


              <RX :RQ W )LQG ,W 7KDW :D\ 'LDJQRVLQJ DQG 7UHDWLQJ 'HSUHVVLRQ
             $ 6XEVSHFLDOLVW V 3HUVSHFWLYH 0RUHODQG +LOOV 2KLR $SULO  


              2EHVLW\ LQ WKH 3DWLHQW ZLWK 7\SH ,, 'LDEHWHV 5RFKHVWHU 1HZ <RUN
             $SULO  

              1HZ DSSURDFKHV IRU WKH HDUO\ GHWHFWLRQ RI SRVWPHQRSDXVDO
             RVWHRSRURVLV 8QLYHUVLW\ 0HGQHW %HDFKZRRG %HGIRUG DQG 0HQWRU VLWHV
             0D\  0D\  DQG -XQH   UHVSHFWLYHO\

              7KH XVH RI DQRUHFWLF DJHQWV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV
             +XGVRQ 2KLR -XQH 




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    Daniel Weiss MD

              7UHDWLQJ +\SHUFKROHVWHUROHPLD GRHV LW PDWWHU ZKLFK DJHQW \RX
             XVH 0RUHODQG +LOOV 2KLR -XQH  

              7\SH  'LDEHWHV &XUUHQW RSWLRQV IRU WUHDWPHQW DQG WKH UROH RI
             WURJOLWD]RQH 0RUHODQG +LOOV 2KLR -XO\  

              7\SH  'LDEHWHV 1HZ RSWLRQV IRU WUHDWPHQW 0HQWRU 2KLR
             $XJXVW  

             'LDEHWHV DQG REHVLW\ LQ PLQRULW\ SRSXODWLRQV WHDP WDFWLFV IRU D
            WRXJK SUREOHP 'LDEHWHV $VVRFLDWLRQ RI *UHDWHU &OHYHODQG $OOLHG       +HDOWK
     3URIHVVLRQDO 6\PSRVLXP 3HSSHU 3LNH /DQGHUKDYHQ  2KLR 6HSWHPEHU 
     

              3UHYHQWLRQ RI 0, $Q HYLGHQFHEDVHG DSSURDFK %RDUGPDQ 2KLR
             6HSWHPEHU  

              /RZHULQJ FKROHVWHURO WR UHGXFH FDUGLRYDVFXODU HYHQWV 2EHUOLQ 2KLR
             6HSWHPEHU  

              3UHYHQWLRQ RI P\RFDUGLDO LQIDUFWLRQ VXUSULVLQJ QHZ ILQGLQJV WKDW
             PD\ DOWHU \RXU DSSURDFK 7ROHGR 2KLR 2FWREHU  

              3UHYHQWLRQ RI P\RFDUGLDO LQIDUFWLRQ VXUSULVLQJ QHZ ILQGLQJV WKDW
             PD\ DOWHU \RXU DSSURDFK 6W &ODLUVYLOOH 2KLR %HOPRQW &RXQW\
             0HGLFDO 6RFLHW\ 2FWREHU  

              3UHYHQWLRQ RI P\RFDUGLDO LQIDUFWLRQ VXUSULVLQJ QHZ ILQGLQJV WKDW
             PD\ DOWHU \RXU DSSURDFK <RXQJVWRZQ 2KLR 2FWREHU  

              3UHYHQWLRQ RI P\RFDUGLDO LQIDUFWLRQ VXUSULVLQJ QHZ ILQGLQJV WKDW
             PD\ DOWHU \RXU DSSURDFK 0LGGOHEXUJ +HLJKWV 2KLR 2FWREHU  

              7\SH  'LDEHWHV DQG XSGDWH RQ WURJOLWD]RQH &OHYHODQG 2KLR
             'HFHPEHU  

             7UHDWPHQW 7\SH  'LDEHWHV 1HZ RSWLRQV DQG LVVXHV 0RUHODQG +LOOV
     2KLR 'HFHPEHU  




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    Daniel Weiss MD

              7\SH  'LDEHWHV QHZ JXLGHOLQHV QHZ RSWLRQV &OHYHODQG $FDGHP\
             RI 2VWHRSDWKLF 3K\VLFLDQV %HDFKZRRG 2KLR -DQXDU\  

              'LDEHWHV 'LVHDVH 0DQDJHPHQW 0HQWRU 2KLR -DQXDU\  

              7\SH  'LDEHWHV 7KH UROH RI WURJOLWD]RQH &OHYHODQG 0DUFK  

              7DLORULQJ WUHDWPHQW IRU SDWLHQWV ZLWK 7\SH  'LDEHWHV &OHYHODQG
             0DUFK  

              1HZ RSWLRQV IRU WUHDWLQJ 7\SH  'LDEHWHV %UDWHQDKO 2KLR 0DUFK
              

              7UHDWLQJ K\SHUFKROHVWHUROHPLD DQ HYLGHQFHEDVHG DSSURDFK
             %HDFKZRRG 2KLR 0D\  

              &OLQLFDO DVSHFWV RI G\VOLSLGHPLD 3HSSHU 3LNH 2KLR 0D\  

              7DLORULQJ WUHDWPHQW IRU 7\SH  'LDEHWHV 7KH UROH RI 3UDQGLQ
             0RUHODQG +LOO 2KLR -XQH  

              7DLORULQJ WKHUDS\ IRU 7\SH  'LDEHWHV $XURUD 2KLR -XO\  

              1HZ VWUDWHJLHV IRU DFKLHYLQJ PHWDEROLF FRQWURO LQ 7\SH  'LDEHWHV
             3HSSHU 3LNH 2KLR $XJXVW  

              2SWLPL]LQJ JO\FHPLF FRQWURO LQ 7\SH  'LDEHWHV &RQFRUG 2KLR
             $XJXVW  

              'LDEHWHV 'LVHDVH 0DQDJHPHQW &OHYHODQG $XJXVW  
             0RGHUDWRU

              (YLVWD DQG 2VWHRSRURVLV $ VOLGH OHFWXUH SURJUDP $VKWDEXOD 2KLR
             $XJXVW  

              7\SH  'LDEHWHV 8SGDWH RQ 5H]XOLQ &OHYHODQG 6HSWHPEHU  

              7DLORULQJ WUHDWPHQW IRU SDWLHQWV ZLWK 7\SH  'LDEHWHV &OHYHODQG
             6HSWHPEHU  




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    Daniel Weiss MD

              8SGDWH RQ RVWHRSRURVLV %HGIRUG 2KLR 2FWREHU  

              7DLORULQJ WUHDWPHQW IRU SDWLHQWV ZLWK 7\SH  'LDEHWHV &OHYHODQG
             2FWREHU  

            'LDEHWLF G\VOLSLGHPLD D UHDVRQHG DSSURDFK WR D GLIILFXOW SUREOHP
           3UHVHQWHG DW ¨&RQTXHULQJ 'LDEHWLF &RPSOLFDWLRQV© $ PXOWLGLVFLSOLQDU\
           V\PSRVLXP VSRQVRUHG E\ 8QLYHUVLW\ +RVSLWDOV RI &OHYHODQG &OHYHODQG
     2FWREHU  

              7DLORULQJ WKHUDS\ LQ 7\SH  'LDEHWHV DQG WKH UROH RI 3UDQGLQ
             &OHYHODQG 1RYHPEHU  

              &XUUHQW LVVXHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV ZLWK D IRFXV
             RQ WURJOLWD]RQH 5LFKPRQG +HLJKWV 2KLR 1RYHPEHU  

              2SWLPL]LQJ JO\FHPLF FRQWURO LQ 7\SH  'LDEHWHV 1LOHV 2KLR
             1RYHPEHU  

              7\SH  'LDEHWHV DQG WKH SODFH IRU WURJOLWD]RQH LQ WUHDWPHQW
             :LOORXJKE\ 2KLR 1RYHPEHU  

             (YLVWD $ VOLGH OHFWXUH SURJUDP $NURQ 2KLR 1RYHPEHU 

              8SGDWH RQ WKH 3KDUPDFRWKHUDS\ RI 7\SH  'LDEHWHV DQG WKH UROH RI
             3UDQGLQ %RDUGPDQ 2KLR 'HFHPEHU  

              :KDW«V QHZ IRU 7\SH  'LDEHWHV 0D\ILHOG +HLJKWV 2KLR 'HFHPEHU
              

              'LDEHWLF G\VOLSLGHPLD 0D\ILHOG +HLJKWV 2KLR )HEUXDU\  

              ,QVXOLQ UHVLVWDQFH DQG 7\SH  'LDEHWHV ,PSOLFDWLRQV IRU WUHDWPHQW
             0RUHODQG +LOOV 2KLR )HEUXDU\  

              7UHDWLQJ G\VOLSLGHPLD 2KLR $VVRFLDWLRQ RI 3K\VLFLDQ $VVLVWDQWV QG
             $QQXDO :LQWHU &RQIHUHQFH 1HZEXU\ 2KLR )HEUXDU\  

              7UHDWLQJ GLDEHWHV $ FRQWLQXXP RI FDUH 0RUHODQG +LOOV 2KLR $SULO 
             


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              7\SH  'LDEHWHV 3HSSHU 3LNH 2KLR $SULO  

              7UHDWLQJ 7\SH  'LDEHWHV 2SWLPL]LQJ JO\FHPLF FRQWURO 3LWWVEXUJK 3$
             $SULO  

              7UHDWLQJ 'LDEHWLF G\VOLSLGHPLD 8QLRQ +RVSLWDO 'RYHU 2KLR $SULO 
             

              7URJOLWD]RQH XSGDWH LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV /DNH &RXQW\
             0HGLFDO 6RFLHW\ :LOORXJKE\ 2KLR $SULO  

              7DLORULQJ WUHDWLQJ IRU G\VOLSLGHPLD 3DLQHVYLOOH 2KLR 0D\  

              7UHDWLQJ GHSUHVVLRQ $ QRQSV\FKLDWULVW V YLHZ &OHYHODQG 2KLR 0D\
              

              ,QVXOLQ UHVLVWDQFH DQG 7\SH  'LDEHWHV &OHYHODQG 2KLR -XQH  

              5RVLJOLWD]RQH $ QHZ RSWLRQ IRU WUHDWLQJ 7\SH  'LDEHWHV 3HSSHU 3LNH
             2+ -XQH  

              ;HQLFDO $ QHZ DOWHUQDWLYH LQ ZHLJKW PDQDJHPHQW $XURUD 2+
             -XO\  

              7\SH  'LDEHWHV 2SWLPL]LQJ RXWFRPHV 8++6 %HGIRUG 0HGLFDO
             &HQWHU %HGIRUG 2+ $XJXVW  

              7UHDWLQJ REHVLW\ WKH UROH RI RUOLVWDW :RRGPHUH 9LOODJH 2KLR $XJXVW
              

              1HZ DGYDQFHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV $VKWDEXOD 2+
             6HSWHPEHU  

              3LRJOLWD]RQH LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV $NURQ 2+
             6HSWHPEHU  

              0DQDJHPHQW RI REHVLW\ ,Q 3UHVFULELQJ &RQWUROOHG 'UXJV 6WUDWHJLHV
             IRU &OLQLFDO 3UDFWLFH &:58 6FKRRO RI 0HGLFLQH &OHYHODQG 2+ 6HSWHPEHU
               


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              1HZ DGYDQFHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV 0RUHODQG +LOOV
             2+ 6HSWHPEHU  

              7UHDWLQJ '\VOLSLGHPLD &OHYHODQG 2+ 1RYHPEHU  

              1HZ DGYDQFHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV (ONWRQ 2+
             1RYHPEHU  

              2SWLRQV IRU WKH WUHDWPHQW RI 7\SH  'LDEHWHV 1HZ DQG 2OG 6LPSOH
             DQG &RPSOH[ &KDUGRQ 2+ 1RYHPEHU  

              8SGDWH RQ 7\SH  'LDEHWHV &X\DKRJD )DOOV 2+ 'HFHPEHU  

              1HZ DGYDQFHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV <RXQJVWRZQ 2+
             'HFHPEHU  

              1HZ DGYDQFHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV &OHYHODQG 2+
             'HFHPEHU  
              ,QVXOLQ UHVLVWDQFH DQG 7\SH  'LDEHWHV &DQWRQ 2+ 'HFHPEHU 
             

              $Q $OJRULWKP IRU WKH WUHDWPHQW RI 7\SH  'LDEHWHV (XFOLG 2+
             -DQXDU\  

              1HZ RSWLRQV IRU WKH WUHDWPHQW RI 7\SH  'LDEHWHV $NURQ 2+
             )HEUXDU\  

              1HZ RSWLRQV IRU WKH WUHDWPHQW RI 7\SH  'LDEHWHV $OOLDQFH 2+
             )HEUXDU\  

              $Q $OJRULWKP IRU WKH WUHDWPHQW RI 7\SH  'LDEHWHV (DVWODNH 2+
             )HEUXDU\  

               ,QVXOLQ UHVLVWDQFH DQG LWV UROH LQ 7\SH  'LDEHWHV &OHYHODQG 2+
             0DUFK  

              0XOWLIDFWRULDO LQWHUYHQWLRQ LQ WKH SDWLHQW ZLWK 'LDEHWHV :RRGPHUH
             9LOODJH 2+ 0DUFK  




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              /LSLGV DQG FDUGLRYDVFXODU HYHQW UHGXFWLRQ 0HQWRU 2+ 0DUFK 
             

              $Q LQWURGXFWLRQ WR +XPDORJ 0L[  DQG D UHYLHZ RI +XPDORJ
             ,QVXOLQ $VKWDEXOD 2+ $SULO  

              7UHDWLQJ REHVLW\ $Q XSGDWH :LOORXJKE\ 2+ $SULO  

              7UHDWLQJ K\SHUFKROHVWHUROHPLD 0HQWRU 2+ $SULO  

              $Q LQWURGXFWLRQ WR +XPDORJ 0L[  DQG D UHYLHZ RI +XPDORJ
             ,QVXOLQ .DODPD]RR 0, $SULO  

              7UHDWLQJ REHVLW\ $Q XSGDWH 3UHVHQWHG DW WKH WK $QQXDO 8SGDWH LQ
             ,QWHUQDO 0HGLFLQH VSRQVRUHG E\ WKH 1RUWKHDVWHUQ 2KLR 8QLYHUVLWLHV
             &ROOHJH RI 0HGLFLQH &X\DKRJD )DOOV 2+ 0D\  

              8SGDWH RQ G\VOLSLGHPLD 0HQWRU 2+ 0D\  

              &DVH VWXGLHV LQ RVWHRSRURVLV 0HQWRU 2+ 0D\  

              $ QHZ LQVXOLQ IRU WKH QHZ PLOOHQQLXP +XPDORJ 0L[  &OHYHODQG
             2+ 0D\  

              7KH UROH RI WKLD]ROLGLQHGLRQHV LQ WKH PDQDJHPHQW RI 7\SH  'LDEHWHV
             0DULRQ 2+ 0D\  

              $Q LQWURGXFWLRQ WR +XPDORJ 0L[  DQG D UHYLHZ RI +XPDORJ
             ,QVXOLQ &OHYHODQG 2+ 0D\  

              7KH UROH RI WKLD]ROLGLQHGLRQHV LQ WKH PDQDJHPHQW RI 7\SH  'LDEHWHV
             0DQVILHOG 2+ 0D\  

              7UHDWLQJ REHVLW\ DQG WKH XVH RI RUOLVWDW &OHYHODQG 2+ 0D\  

              :HLJKW PDQDJHPHQW LQ SDWLHQWV ZLWK FRPRUELG GLVHDVHV &OHYHODQG
             2+ -XQH  




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              0DQDJHPHQW RI REHVLW\ 3UHVHQWHG DV SDUW RI WKH HGXFDWLRQ OXQFKWLPH
             &0( VHULHV RI /DNH +RVSLWDO 6\VWHP (ULHVLGH &OLQLF :LOORXJKE\ 2+ -XQH
              

              7UHDWLQJ LQVXOLQ UHVLVWDQFH LQ 7\SH  'LDEHWHV &OHYHODQG 2+ -XO\ 
             

              1HZ DGYDQFHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV 6DQGXVN\ 2+
             -XO\  

              7UHDWLQJ LQVXOLQ UHVLVWDQFH LQ SDWLHQWV ZLWK 7\SH  'LDEHWHV 0DVVLORQ
             2+ -XO\  

              1HZ DGYDQFHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV 1LOHV 2+ -XO\ 
             

              &XUUHQW FRQFHSWV LQ WKH WUHDWPHQW DQG GLDJQRVLV RI WK\URLG GLVRUGHUV
             )DPLO\ 0HGLFLQH *UDQG 5RXQGV 6W (OL]DEHWK +HDOWK &HQWHU <RXQJVWRZQ
             2+ -XO\  

              2SWLPL]LQJ RXWFRPHV LQ 7\SH  'LDEHWHV 0HQWRU 2+ $XJXVW 
             

              7\SH  'LDEHWHV WUHDWLQJ WKH GXDO GHIHFWV &X\DKRJD )DOOV 2+
             $XJXVW  

              7UHDWLQJ REHVLW\ $NURQ 2+ $XJXVW  

              1HZ $GYDQFHV LQ WKH 7UHDWPHQW RI 7\SH  'LDEHWHV &ROXPEXV 2+
             $XJXVW  

              $ QHZ RSWLRQ IRU RUDO WKHUDS\ RI 7\SH  'LDEHWHV 6HSWHPEHU  

              ,QVXOLQ WKHUDS\ IRU 7\SH  'LDEHWHV $NURQ 2+ 6HSWHPEHU  

              ,QVXOLQ WKHUDS\ IRU 7\SH  'LDEHWHV $VKWDEXOD 2+ 6HSWHPEHU 
             

              3KDUPDFRWKHUDS\ IRU 7\SH  'LDEHWHV &OHYHODQG 2+ 6HSWHPEHU 
             


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              ,QVXOLQ DGMXVWPHQW DQG SDWWHUQ PDQDJHPHQW IRU LQWHQVLYH JO\FHPLF
             FRQWURO 1RUWKHDVWHUQ 2KLR FKDSWHU RI WKH $PHULFDQ $VVRFLDWLRQ RI
             'LDEHWHV (GXFDWRUV &OHYHODQG 2+ 2FWREHU  

              $ 5HYLHZ RI +XPDORJ DQG LQWURGXFWLRQ WR +XPDORJ 0L[ 
             0HQWRU 2+ 2FWREHU  

              7K\URLG GLVRUGHUV DQ RYHUYLHZ 3UHVHQWHG DV SDUW RI WKH HGXFDWLRQ
             OXQFKWLPH &0( VHULHV RI /DNH +RVSLWDO 6\VWHP (ULHVLGH &OLQLF :LOORXJKE\
             2+ 2FWREHU 

              1HZ GLPHQVLRQV LQ WKH WUHDWPHQW RI K\SHUOLSLGHPLD %HDFKZRRG 2+
             2FWREHU  

              $ 5HYLHZ RI +XPDORJ DQG LQWURGXFWLRQ WR +XPDORJ 0L[ 
             0RUHODQG +LOOV 2+ 2FWREHU  

              $ QHZ QRQV\VWHPLF DSSURDFK WR /'/ FKROHVWHURO UHGXFWLRQ
             &OHYHODQG 2+ 2FWREHU  

              $ 5HYLHZ RI +XPDORJ DQG LQWURGXFWLRQ WR +XPDORJ 0L[ 
             <RXQJVWRZQ 2+ 1RYHPEHU  

              &OLQLFDO XSGDWH RQ 7\SH  'LDEHWHV 0DGLVRQ ,1 1RYHPEHU  

              0DQDJHPHQW RI G\VOLSLGHPLD 0HQWRU 2+ 1RYHPEHU  

              7UHDWLQJ LQVXOLQ UHVLVWDQFH LQ 7\SH  'LDEHWHV 0D\ILHOG +HLJKWV 2+
             1RYHPEHU  

              ,QVXOLQ UHVLVWDQFH DQG 7\SH  'LDEHWHV $NURQ 2+ 'HFHPEHU  

              ,QVXOLQ UHVLVWDQFH DQG 7\SH  'LDEHWHV :RRGPHUH 9LOODJH 2+
             'HFHPEHU  

              ,QVXOLQ DQG SRVWSUDQGLDO JO\FHPLF FRQWURO &OHYHODQG 2+ )HEUXDU\
              




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              $Q DOJRULWKP IRU LQLWLDO WUHDWPHQW RI 7\SH  'LDEHWHV (XFOLG 2+
             )HEUXDU\  

              3RVWSUDQGLDO JO\FHPLF FRQWURO DQG D QHZ RUDO DJHQW IRU 7\SH 
             'LDEHWHV 0RUHODQG +LOO 2+ )HEUXDU\  

              2SWLPL]LQJ RXWFRPHV LQ 7\SH  'LDEHWHV $NURQ 2+ )HEUXDU\ 
             

              2SWLPL]LQJ RXWFRPHV LQ 7\SH  'LDEHWHV :RRGPHUH 9LOODJH 2+
             )HEUXDU\  

              $ QHZ QRQV\VWHPLF DSSURDFK WR /'/FKROHVWHURO ORZHULQJ
             ,QGHSHQGHQFH 2+ 0DUFK  

              $ QHZ QRQV\VWHPLF DSSURDFK WR /'/FKROHVWHURO ORZHULQJ 1LOHV 2+
             0DUFK  

              $ QHZ QRQV\VWHPLF DSSURDFK WR /'/FKROHVWHURO ORZHULQJ &X\DKRJD
             )DOOV 2+ 0DUFK  

              $ QRYHO DSSURDFK WR WKH WUHDWPHQW RI 7\SH  'LDEHWHV 0RUHODQG +LOOV
             2+ 0DUFK  

              $ QHZ QRQV\VWHPLF DSSURDFK WR /'/ FKROHVWHURO ORZHULQJ $VKWDEXOD
             2+ $SULO  

              2EHVLW\ DQG LWV WUHDWPHQW ZLWK RUOLVWDW (DVWODNH 2+ $SULO  

              7UHDWLQJ 7\SH  'LDEHWHV E\ WDUJHWLQJ WKH GXDO GHIHFWV 0DQVILHOG
             2+ $SULO  

              ,QVXOLQ WKHUDS\ LQ 'LDEHWHV 1LOHV 2+ $SULO  

              ,QVXOLQ UHVLVWDQFH LQ 7\SH  'LDEHWHV &OHYHODQG 2+ $SULO  

              '\VOLSLGHPLD LQ 'LDEHWHV 7KH GDWD RQ VWDWLQV (XFOLG 2+ $SULO 
             




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              2SWLPL]LQJ RXWFRPHV LQ 7\SH  'LDEHWHV $VVRFLDWLRQ RI 3KLOLSSLQH
             3K\VLFLDQV LQ 2KLR &OHYHODQG 2+ 0D\  

              &RPELQDWLRQ WKHUDS\ IRU JO\FHPLF FRQWURO LQ 7\SH  'LDEHWHV 0HQWRU
             2+ 0D\  

              )DFXOW\ SUHVHQWHU DW 1DWLRQDO :HO&KRO 6SHDNHUV« 7UDLQLQJ 0HHWLQJ
             /DNH *HQHYD :LVFRQVLQ -XQH  

              &RPELQDWLRQ WKHUDS\ IRU JO\FHPLF FRQWURO LQ 7\SH  'LDEHWHV
             0RUHODQG +LOOV 2+ -XQH  

              &KDOOHQJHV LQ WKH WUHDWPHQW RI G\VOLSLGHPLD &RQFRUG 2+ -XQH 
             

              8SGDWH RQ WKH WUHDWPHQW RI K\SHUFKROHVWHUROHPLD &RQFRUG 2+ -XQH
              

              ,QVXOLQ UHVLVWDQFH DQG WKH XVH RI WKLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW
             RI 7\SH  'LDEHWHV 0HQWRU 2+ -XQH  

              ,QVXOLQ WKHUDS\ LQ 7\SH  'LDEHWHV 7KH EHQHILWV RI ,QVXOLQ *ODUJLQH
              /DQWXV  :DUUHQVYLOOH +HLJKWV 2+ -XQH  

              ,QVXOLQ XVH LQ 7\SH  'LDEHWHV DQG WKH XVH RI QHZ WUXH EDVDO LQVXOLQ
             0HQWRU 2+ -XO\  

              ,QVXOLQ UHVLVWDQFH LQ 7\SH  'LDEHWHV QHZ SHUVSHFWLYHV RQ WKH
             WKLD]ROLGLQHGLRQHV 0RUHODQG +LOO 2+ -XO\  

              ,QVXOLQ XVH LQ 7\SH  'LDEHWHV DQG WKH XVH RI QHZ WUXH EDVDO LQVXOLQ
             $VKWDEXOD 2+ -XO\  

              ,QVXOLQ UHVLVWDQFH LQ 7\SH  'LDEHWHV QHZ SHUVSHFWLYHV RQ WKH
             WKLD]ROLGLQHGLRQHV $VKWDEXOD 2+ -XO\  

              3RVWSUDQGLDO JOXFRVH 1HZ RSWLRQV WR LPSURYH RXWFRPHV 0RUHODQG
             +LOO 2+ -XO\  




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              'LDEHWHV &RQVXOWDQWV 0HHWLQJ SUHVHQWHU PRGHUDWRU %HDFKZRRG 2+
             $XJXVW  

              7UHDWPHQW RI REHVLW\ ZLWK D IRFXV RQ SKDUPDFRWKHUDS\ 0HQWRU 2+
             6HSWHPEHU  

              ,QVXOLQ UHVLVWDQFH 1HZ SHUVSHFWLYHV RQ WKH WKLD]ROLGLQHGLRQHV 3HSSHU
             3LNH 2+ 6HSWHPEHU  

              ,QVXOLQ UHVLVWDQFH DQG LQVXOLQ GHILFLHQF\ WUHDWLQJ GXDO GHIHFWV WR
             RSWLPL]H RXWFRPHV LQ 7\SH  'LDEHWHV 0HGLQD 2+ 6HSWHPEHU  

              7UHDWLQJ REHVLW\ :HLJKLQJ LQ RQ RUOLVWDW &KDJULQ )DOOV 2+
             6HSWHPEHU  

              ,QVXOLQ UHVLVWDQFH QHZ SHUVSHFWLYHV RQ WKH WKLD]ROLGLQHGLRQHV
             +XGVRQ 2+ 2FWREHU  

              ,QVXOLQ XVH LQ 7\SH  'LDEHWHV DQG WKH XVH RI QHZ WUXH EDVDO LQVXOLQ
             0HQWRU 2+ 2FWREHU  

              $ QHZ WUXH EDVDO LQVXOLQ IRU 7\SH  DQG 7\SH  'LDEHWHV 0HQWRU 2+
             2FWREHU  

              ,QVXOLQ UHVLVWDQFH QHZ SHUVSHFWLYHV RQ WKH WKLD]ROLGLQHGLRQHV %DWK
             2+ 2FWREHU  

              ,PSURYLQJ JO\FHPLF FRQWURO LQ 7\SH  DQG 7\SH  'LDEHWHV RU KRZ WR
             WUHDW LQVXOLQ GHILFLHQF\ ZKLOH SUHVHUYLQJ OLIHVW\OH 3HSSHU 3LNH 2+ DQG
             QRUWKHDVWHUQ 2KLR WHOHFRQIHUHQFH VLWHV 2FWREHU  

              2SWLPL]LQJ RXWFRPHV LQ 7\SH  'LDEHWHV WK $QQXDO )DPLO\ 3UDFWLFH
             :HHNHQG +XQWLQJWRQ :9 1RYHPEHU  

              7UHDWLQJ REHVLW\ LQ DGXOWV 'HSDUWPHQW RI ,QWHUQDO 0HGLFLQH 7UXPEXOO
             &RXQW\ 0HPRULDO +RVSLWDO :DUUHQ 2+ 1RYHPEHU  

              8QPHW 1HHGV LQ WUHDWLQJ 'LDEHWHV 5RXQGWDEOH $GYLVRU\ 0HHWLQJ IRU
             3UDPOLQWLGH &OHYHODQG 2+ 1RYHPEHU  




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              ,QVXOLQ WKHUDS\ DQG WKH XVH RI LQVXOLQ JODUJLQH &OHYHODQG 2+
             1RYHPEHU  

              ,PSURYLQJ JO\FHPLF FRQWURO LQ 7\SH  DQG 7\SH  'LDEHWHV RU KRZ WR
             WUHDW LQVXOLQ GHILFLHQF\ ZKLOH SUHVHUYLQJ OLIHVW\OH 3RUW &OLQWRQ 2+
             1RYHPEHU  

              ,QVXOLQ UHVLVWDQFH QHZ SHUVSHFWLYHV RQ WKH WKLD]ROLGLQHGLRQHV
             %HDFKZRRG 2+ 'HFHPEHU  

              ,QVXOLQ DQDORJXH XVH WR RSWLPL]H JO\FHPLD LQ SDWLHQWV ZLWK GLDEHWHV
             1RUWKHDVWHUQ 2KLR &KDSWHU RI WKH $PHULFDQ $VVRFLDWLRQ RI 'LDEHWHV
             (GXFDWRUV ,QGHSHQGHQFH 2+ 'HFHPEHU  

              ,QVXOLQ UHVLVWDQFH 1HZ SHUVSHFWLYHV RQ WKH WKLD]ROLGLQHGLRQHV
             0HQWRU 2+ 'HFHPEHU  

              /RRNLQJ EDFN JODQFLQJ IRUZDUG 1HZ DSSURDFKHV WR G\VOLSLGHPLD
             %HDFKZRRG 2+ 'HFHPEHU  

              ,QVLJKWV LQWR WKH WUHDWPHQW RI 7\SH  'LDEHWHV %HDFKZRRG 2+
             -DQXDU\  

              ,PSURYLQJ JO\FHPLF FRQWURO LQ 7\SH  'LDEHWHV &OHYHODQG $FDGHP\ RI
             2VWHRSDWKLF 3K\VLFLDQV %HDFKZRRG 2+ -DQXDU\  

              8VLQJ LQVXOLQ WR RSWLPL]H JO\FHPLF FRQWURO &OHYHODQG 2+ -DQXDU\ 
             

              $ PLQLLQVXOLQ WXWRULDO 0HQWRU 2+ -DQXDU\  

              ,QVXOLQ UHVLVWDQFH 1HZ SHUVSHFWLYHV RQ WKH WKLD]ROLGLQHGLRQHV
                  &OHYHODQG 2+ -DQXDU\  

              7\SH  'LDEHWHV 1HZ DSSURDFKHV WR WUHDWPHQW 3LWWVEXUJK 3$
                  )HEUXDU\  

              7KH (YROXWLRQ LQ WKH WUHDWPHQW RI G\VOLSLGHPLD 0HQWRU 2+ )HEUXDU\
                   




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              7\SH  'LDEHWHV 1HZ SHUVSHFWLYHV RQ WKH WKLD]ROLGLQHGLRQHV
                  :HVWODNH 2+ )HEUXDU\  

              2SWLPL]LQJ RXWFRPHV LQ 7\SH  'LDEHWHV 6HOHFWHG WRSLFV
                  8QLYHUVLW\0HGQHW ,QWHUQDO 0HGLFLQH 'HSDUWPHQW 5LFKPRQG +HLJKWV
                  2+ )HEUXDU\  

              7UHDWPHQW RI REHVLW\ LQ DGXOWV WKH ORZGRZQ RQ RUOLVWDW &KDJULQ )DOOV
                  2+ )HEUXDU\  

              2VWHRSRURVLV DQG WKH UROH RI ULVHGURQDWH LQ WKHUDS\ 0RUHODQG +LOOV
                  2+ )HEUXDU\  

              5HGLVFRYHULQJ LQVXOLQ WKHUDS\ IRU 7\SH  DQG 7\SH  'LDEHWHV /LFNLQJ
                  0HPRULDO +RVSLWDO *UDQG 5RXQGV 1HZDUN 2+ 0DUFK  

              5HGLVFRYHULQJ LQVXOLQ WKHUDS\ IRU 7\SH  DQG 7\SH  'LDEHWHV
                  1HZFRPHUVWRZQ 2+ 0DUFK  

              5HGLVFRYHULQJ LQVXOLQ WKHUDS\ IRU 7\SH  DQG 7\SH  'LDEHWHV
                  *HQHVLV +HDOWK &DUH 6\VWHP %HWKHVGD +RVSLWDO *UDQG 5RXQGV
                  =DQHVYLOOH 2+ 0DUFK  

              2VWHRSRURVLV DQG WKH UROH RI ULVHGURQDWH LQ WKHUDS\ &OHYHODQG 2+
                  0DUFK  

              5HGLVFRYHULQJ LQVXOLQ WKHUDS\ IRU 7\SH  DQG 7\SH  'LDEHWHV
                 $NURQ 2+ 0DUFK  

              2VWHRSRURVLV DQG WKH XVH RI ULVHGURQDWH &DQWRQ 2+
                 0DUFK  

              5HGXFLQJ FDUGLRYDVFXODU HYHQWV ZLWK UDPLSULO WKH +23( WULDO   $NURQ
             2+ 0DUFK  

              5HGXFLQJ FDUGLRYDVFXODU HYHQWV ZLWK UDPLSULO WKH +23( WULDO 0HQWRU
             2+ 0DUFK  




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               ,PSURYLQJ JO\FHPLF FRQWURO LQ 7\SH  DQG 7\SH  'LDEHWHV RU KRZ
             WR WUHDW LQVXOLQ GHILFLHQF\ ZKLOH SUHVHUYLQJ OLIHVW\OH 7ROHGR 2+ $SULO 
             

              7KH FKDOOHQJH RI REHVLW\ 3UHVHQWHG DW WKH (QGRFULQRORJ\ 8SGDWH RI
             /DNH +RVSLWDO 6\VWHP D FRQWLQXLQJ PHGLFDO HGXFDWLRQ SURJUDP (DVWODNH
             2+ $SULO  

              5HGLVFRYHULQJ LQVXOLQ WKHUDS\ IRU 7\SH  DQG 7\SH  'LDEHWHV
             &OHYHODQG 2+ $SULO  

              &ROHVHYHODP LQ WKH WUHDWPHQW RI K\SHUFKROHVWHUROHPLD /\QGKXUVW 2+
             0D\  

              5HGXFLQJ FDUGLRYDVFXODU HYHQWV EH\RQG FRQYHQWLRQDO DSSURDFKHV
             %HGIRUG 2+ 0D\  

              ,QVXOLQ WKHUDS\ DQDORJXHV IRU VXSHULRU JO\FHPLF FRQWURO $VVRFLDWLRQ
             RI 3KLOLSSLQH 3K\VLFLDQV LQ 2KLR &OHYHODQG 2+ 0D\  

              6HOHFWHG WRSLFV LQ WUHDWLQJ G\VOLSLGHPLD 0HQWRU 2+ 0D\  

              5HGLVFRYHULQJ LQVXOLQ WKHUDS\ IRU 7\SH  DQG 7\SH  'LDEHWHV
             +XGVRQ 2+ 0D\  

              7UHDWLQJ 7\SH  'LDEHWHV WKH UROH RI WKLD]ROLGLQHGLRQHV 0D\ILHOG
             +HLJKWV 2+ 0D\  

              &ROHVHYHODP LQ WKH WUHDWPHQW RI K\SHUFKROHVWHUROHPLD 5RFN\ 5LYHU
             2+ 0D\  

              8SGDWH RQ WUHDWPHQW RI K\SHUFKROHVWHUROHPLD *HQHYD 2+ -XQH 
             

              ,PSURYLQJ JO\FHPLF FRQWURO LQ 7\SH  'LDEHWHV NQRZ WKH RSWLRQV
             FRQVLGHU WKH SDWLHQW 0HQWRU 2+ -XQH  

              5HGLVFRYHULQJ LQVXOLQ IRU 7\SH  DQG 7\SH  'LDEHWHV 6RORQ 2+
             -XQH  




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              7UHDWLQJ RVWHRSRURVLV DQG WKH XVH RI ULVHGURQDWH 0HQWRU 2+ -XQH
              

              7UHDWLQJ 7\SH  'LDEHWHV 1HZ SHUVSHFWLYHV RQ WKH WKLD]ROLGLQHGLRQHV
             $NURQ 2+ -XO\  

              7UHDWPHQW RI 7\SH  'LDEHWHV DQG WKH FHQWUDO UROH RI LQVXOLQ
             UHVLVWDQFH %HGIRUG 2+ $XJXVW  

              5HGXFLQJ FDUGLRYDVFXODU HYHQWV D QRQWUDGLWLRQDO DSSURDFK
             %HDFKZRRG 2+ 6HSWHPEHU  

              5HGXFLQJ FDUGLRYDVFXODU HYHQWV D QRQWUDGLWLRQDO DSSURDFK 0HQWRU
             2+ 6HSWHPEHU  

              2SWLPL]LQJ JO\FHPLF FRQWURO LQ 7\SH  'LDEHWHV XVH RI RUDO DJHQWV
             )DPLO\ 3UDFWLFH 5HVLGHQWV 8QLYHUVLW\ +RVSLWDOV RI &OHYHODQG 2FWREHU 
             

              7UHDWLQJ 7\SH  'LDEHWHV QRYHO SKDUPDFRWKHUDSHXWLF DSSURDFKHV
             $OOLDQFH 2+ 2FWREHU  

              ,PSURYLQJ FDUGLRYDVFXODU RXWFRPHV WZR VDIH HIIHFWLYH PRGDOLWLHV
             :HO&KRO DQG %HQLFDU (ULH 3$ 2FWREHU  

              ,PSURYLQJ FDUGLRYDVFXODU RXWFRPHV WZR VDIH HIIHFWLYH PRGDOLWLHV
             :HO&KRO DQG %HQLFDU %HDFKZRRG 2+ 2FWREHU  


              ,QVLJKWV LQWR WKH WUHDWPHQW RI 7\SH  'LDEHWHV 0RUHODQG +LOO 2+
             2FWREHU  

              ,QVLJKWV LQWR WKH WUHDWPHQW RI 7\SH  'LDEHWHV 1RUWK &DQWRQ 2+
             2FWREHU  

              ,PSURYLQJ FDUGLRYDVFXODU RXWFRPHV WZR VDIH HIIHFWLYH PRGDOLWLHV
             :HO&KRO DQG %HQLFDU $NURQ 2+ 1RYHPEHU  

              8VLQJ LQVXOLQ IRU 7\SH  'LDEHWHV )DPLO\ 3UDFWLFH 5HVLGHQWV 8QLYHUVLW\
             +RVSLWDOV RI &OHYHODQG 1RYHPEHU  


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               ,PSURYLQJ FDUGLRYDVFXODU RXWFRPHV WZR VDIH HIIHFWLYH PRGDOLWLHV
             :HO&KRO DQG %HQLFDU ,QGHSHQGHQFH 2+ 1RYHPEHU  

              ,QVLJKWV LQWR WKH WUHDWPHQW RI 7\SH  'LDEHWHV :DUUHQ 2+
             1RYHPEHU  

              2SWLPL]LQJ JO\FHPLF FRQWURO LQ 7\SH  'LDEHWHV &OHYHODQG 0HGLFDO
             5HDGLQJ &OXE &OHYHODQG 2+ 'HFHPEHU  

              7\SH  'LDEHWHV %H\RQG JXLGHOLQHV WR HYLGHQFHEDVHG WDUJHWV
             &KDJULQ )DOOV 2+ 'HFHPEHU  

              &DVH VWXGLHV LQ G\VOLSLGHPLD %HDFKZRRG 2+ )HEUXDU\  

              5HGXFLQJ FDUGLRYDVFXODU HYHQWV WKURXJK D QRQFRQYHQWLRQDO
             DSSURDFK &KDUGRQ 2+ 0DUFK  

              *HWWLQJ WR JRDO LQ 7\SH  'LDEHWHV 0RUHODQG +LOOV 2+ 0DUFK 
             

              'LDEHWHV WUHDWPHQW XSGDWH 8++6 *HDXJD +RVSLWDO &KDUGRQ 2+
             0DUFK  

              *HWWLQJ WR JRDO LQ 7\SH  'LDEHWHV 0DQVILHOG 2+ 0DUFK  

              5HGXFLQJ FDUGLRYDVFXODU HYHQWV WKURXJK D QRQFRQYHQWLRQDO
             DSSURDFK 0HQWRU 2+ 0DUFK  

              5HGXFLQJ FDUGLRYDVFXODU HYHQWV WKURXJK D QRQFRQYHQWLRQDO
             DSSURDFK (DVWODNH 2+ $SULO  

              8VLQJ 7=' WKHUDS\ WR RSWLPL]H FRQWURO LQ 7\SH  'LDEHWHV $NURQ 2+
             $SULO  

              5DWLRQDO XVH RI LQVXOLQ LQ 7\SH  'LDEHWHV &OHYHODQG 2+ $SULO 
             

              7\SH  'LDEHWHV 2KLR &ROOHJH RI 3RGLDWULF 0HGLFLQH VWXGHQWV $SULO
              


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              7\SH  'LDEHWHV 2KLR &ROOHJH RI 3RGLDWULF 0HGLFLQH VWXGHQWV $SULO
              

              7KH +HDUW 3URWHFWLRQ 6WXG\ :HVWODNH 2+ 0D\  

              (DUO\ XVH RI WKLD]ROLGLQHGLRQHV %HDFKZRRG 2+ 0D\  

              (DUO\ XVH RI WKLD]ROLGLQHGLRQHV 3HSSHU 3LNH 2+ 0D\  

              7KLD]ROLGLQHGLRQHV LQ 7\SH  'LDEHWHV $NURQ 2+ 0D\  

              5DWLRQDO XVH RI LQVXOLQ LQ 7\SH  'LDEHWHV 6RXWKZHVW *HQHUDO
             +RVSLWDO ,QWHUQDO 0HGLFLQH *UDQG 5RXQGV 0D\  

              2EHVLW\ (YDOXDWLRQ DQG 0DQDJHPHQW 5RELQVRQ 0HPRULDO +RVSLWDO
             *UDQG 5RXQGV 5DYHQQD 2+ -XQH  

              7KH +HDUW 3URWHFWLRQ 6WXG\ 2QWDULR 2+ -XQH  

              7KH +HDUW 3URWHFWLRQ 6WXG\ %HDFKZRRG 2+ -XQH 

              $Q XSGDWH RQ RVWHRSRURVLV WUHDWPHQW &RQFRUG 2+ -XO\  

              5DWLRQDO XVH RI LQVXOLQ LQ 7\SH  'LDEHWHV +XURQ 5RDG +RVSLWDO
             ,QWHUQDO 0HGLFLQH *UDQG 5RXQGV &OHYHODQG 2+ -XO\  

              7KH +23( WULDO 0HQWRU 2+ -XO\  

              7KH UROH RI WKLD]ROLGLQHGLRQHV LQ 7\SH  'LDEHWHV *HQHYD 2+ -XO\
              

              7KH +HDUW 3URWHFWLRQ 6WXG\ &DQWRQ 2+ $XJXVW  

              7KH +23( WULDO 0HQWRU 2+ $XJXVW  

              2QH 6WHS $KHDG RI WKH *XLGHOLQHV 7KH +HDUW 3URWHFWLRQ 6WXG\
             <RXQJVWRZQ 2+ 6HSWHPEHU  




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              2QH 6WHS $KHDG RI WKH *XLGHOLQHV 7KH +HDUW 3URWHFWLRQ 6WXG\
             /DNHZRRG 2+ 6HSWHPEHU  

              8SGDWH RQ /LSLG 7KHUDS\ 0HQWRU 2+ 6HSWHPEHU  

              5RVLJOLWD]RQH XSGDWH (XFOLG +RVSLWDO &OHYHODQG &OLQLF +HDOWK 6\VWHP
             (XFOLG 2+ 6HSWHPEHU  

              7KH 'LDEHWHV PD]H .QRZLQJ ZKHUH \RX«UH JRLQJ DQG KRZ WR JHW
             WKHUH %DWK 2+ 6HSWHPEHU  

              5DWLRQDO XVH RI LQVXOLQ IRU WKH HOGHUO\ ZLWK 7\SH  'LDEHWHV /RXLV
             6WRNHV 9$ 0HGLFDO &HQWHU &OHYHODQG 2+ 6HSWHPEHU  

              7\SH  'LDEHWHV DQG WKH XVH RI WKLD]ROLGLQHGLRQHV 8++6 5LFKPRQG
             +HLJKWV +RVSLWDO *UDQG 5RXQGV 5LFKPRQG +HLJKWV 2+ 2FWREHU 
             

              &OLQLFDO DQG UHJXODWRU\ XSGDWH RQ WKH PDQDJHPHQW RI
             K\SRWK\URLGLVP 1DWLRQZLGH WHOHFRQIHUHQFHV RQ 2FWREHU  1RYHPEHU
               'HFHPEHU  DOO LQ 

              8SGDWH RQ WUHDWPHQW RI G\VOLSLGHPLD 3HSSHU 3LNH 2+ 2FWREHU 
             

              ,QVXOLQ SXPS WKHUDS\ 8++6 *HXDJD +RVSLWDO &KDUGRQ 2+
             1RYHPEHU  

              8SGDWH RQ WUHDWPHQW RI G\VOLSLGHPLD $VKWDEXOD &RXQW\ 0HGLFDO
             6RFLHW\ $VKWDEXOD 2+ 1RYHPEHU  

              7KH 0HWDEROLF 6\QGURPH (XFOLG +RVSLWDO *UDQG 5RXQGV (XFOLG 2+
             1RYHPEHU  

              8SGDWH RQ G\VOLSLGHPLD %UDWHQDKO 2+ 1RYHPEHU  

              8SGDWH RQ K\SHUFKROHVWHUROHPLD 0HQWRU 2+ 1RYHPEHU  

              7UHDWPHQW RI 7\SH  'LDEHWHV )RFXV RQ 7KLD]ROLGLQHGLRQHV
             0DQVILHOG 2+ 1RYHPEHU  


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              7KH +HDUW 3URWHFWLRQ 6WXG\ $XVWLQWRZQ 2+ 'HFHPEHU  

              ,QVXOLQ UHVLVWDQFH DQG XVH RI 7KLD]ROLGLQHGLRQHV 1RUWKILHOG 2+
             'HFHPEHU  

              8SGDWH RQ G\VOLSLGHPLD )LUVW 5XVVLDQ$PHULFDQ 3K\VLFLDQV 0HHWLQJ
             :LOORXJKE\ 2+ 'HFHPEHU  

              5HGXFLQJ FDUGLRYDVFXODU HYHQWV DQG WKH +23( WULDO %HDFKZRRG 2+
              'HFHPEHU  

              7UHDWPHQW RI G\VOLSLGHPLD DQ XSGDWH 0D\ILHOG +HLJKWV 2+ -DQXDU\
              

              5RVXYDVWDWLQ D SDQHO SUHVHQWDWLRQ %HDFKZRRG 2+ -DQXDU\  

              &OLQLFDO DQG UHJXODWRU\ XSGDWH RQ WKH PDQDJHPHQW RI
             K\SRWK\URLGLVP 1DWLRQZLGH WHOHFRQIHUHQFHV RQ )HEUXDU\   0DUFK  
              0D\ 

              8SGDWH RQ 7\SH  'LDEHWHV 2KLR &ROOHJH RI 3RGLDWULF 0HGLFLQH
             &OHYHODQG 2+ )HEUXDU\  

              ,QWHQVLYH JO\FHPLF FRQWURO IRU 7\SH  'LDEHWHV D IRFXV RQ LQVXOLQ
             &X\DKRJD )DOOV *HQHUDO +RVSLWDO &X\DKRJD )DOOV 2+ )HEUXDU\  

              7UHDWPHQW RI 7\SH  'LDEHWHV )RFXV RQ 7KLD]ROLGLQHGLRQHV
             %HDFKZRRG 2+ )HEUXDU\  

              ,QVXOLQ DQG LWV XVH D ZRUNVKRS /DNH +RVSLWDO :LOORXJKE\ 2+ 0DUFK
              

              8VLQJ LQVXOLQ WR RSWLPL]H JO\FHPLD 7HOHFRQIHUHQFH GHOLYHUHG RQ $SULO
              $SULO  0D\  -XQH 

              7\SH  'LDEHWHV 0XOWLSOH FRQVLGHUDWLRQV IRU RSWLPDO RXWFRPHV
             )DLUYLHZ +RVSLWDO &OHYHODQG 2+ $SULO  

              2VWHRSRURVLV $Q XSGDWH %HDFKZRRG 2+ $SULO  


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              7UHDWPHQW RI 7\SH  'LDEHWHV )RFXV RQ 7KLD]ROLGLQHGLRQHV 3HSSHU
             3LNH 2+ -XQH  

              7\SH  'LDEHWHV 8QLYHUVLW\ +RVSLWDOV RI &OHYHODQG )DPLO\ 3UDFWLFH
             5HVLGHQWV -XQH  

              7UHDWPHQW RI 7\SH  'LDEHWHV )RFXV RQ 7KLD]ROLGLQHGLRQHV 3HSSHU
             3LNH 2+ -XQH  

              *HWWLQJ WR JRDO LQ 7\SH  'LDEHWHV LW PDWWHUV KRZ \RX JHW WKHUH
             3DLQHVYLOOH 2+  -XO\  

              /LSLG XSGDWH %HDFKZRRG 2+ -XO\  

              8VLQJ LQVXOLQ WR RSWLPL]H JO\FHPLF FRQWURO LQ 7\SH  'LDEHWHV
             &OHYHODQG 2+ $XJXVW  

              6WULNH (DUO\ WR 2EWDLQ DQG 6XVWDLQ $F *RDO :HVWODNH 2+ $XJXVW 
             

              6WULNH (DUO\ WR 2EWDLQ DQG 6XVWDLQ $F *RDO %OXHILHOG :HVW 9LUJLQLD
             6HSWHPEHU  

              7\SH  'LDEHWHV DQG WKH XVH RI WKLD]ROLGLQHGLRQHV 0HHWLQJ RI WKH
             2KLR $VVRFLDWLRQ RI $GYDQFHG 3UDFWLFH 1XUVHV LQ :DUUHQ 2+ 6HSWHPEHU
              

              8VLQJ LQVXOLQ JODUJLQH DORQH RU LQ FRPELQDWLRQ ZLWK RUDO DJHQWV IRU
             7\SH  'LDEHWHV 7HOHFRQIHUHQFH GHOLYHUHG RQ 6HSW  2FWREHU  2FWREHU
             

              7UHDWLQJ K\SHUFKROHVWHUROHPLD (XFOLG 2+ 2FWREHU  

              ,QVXOLQ XVH IRU 7\SH  'LDEHWHV EDODQFLQJ VLPSOLFLW\ ZLWK FRQWURO
             0HQWRU 2+ 2FWREHU  

              6WULNH (DUO\ WR 2EWDLQ DQG 6XVWDLQ $F *RDO :RRGPHUH 9LOODJH 2+
             2FWREHU  




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              7KLD]ROLGLQHGLRQH XVH IRU 7\SH  'LDEHWHV 0DGLVRQ 2+ 2FWREHU 
             

              6WULNH (DUO\ WR 2EWDLQ DQG 6XVWDLQ $F *RDO +XGVRQ 2+ 1RYHPEHU
              

              8VLQJ LQVXOLQ WR RSWLPL]H JO\FHPLF FRQWURO &OHYHODQG 2+ 1RYHPEHU
              

              8VLQJ VWDWLQV WR UHGXFH FDUGLRYDVFXODU HYHQWV LQ 7\SH  'LDEHWHV
             )DLUYLHZ +RVSLWDO &OHYHODQG 2+ 1RYHPEHU  

              7KLD]ROLGLQHGLRQH XVH IRU 7\SH  'LDEHWHV $YRQ 2+ 1RYHPEHU 
             

              $Q LQVXOLQ SUDFWLFXP /\QGKXUVW 2+ 'HFHPEHU  

              7\SH  'LDEHWHV DQG WKH XVH RI WKLD]ROLGLQHGLRQHV 0HHWLQJ RI WKH
             1RUWKHDVW 2KLR $VVRFLDWLRQ RI 'LDEHWHV (GXFDWRUV ,QGHSHQGHQFH 2+
             'HFHPEHU  

              6WDWLQV DQ XSGDWH 0HQWRU 2+ -DQXDU\  

              3UHVFULELQJ LQVXOLQ IRU WKRVH ZLWK 7\SH  'LDEHWHV :HVWODNH 2+
             -DQXDU\  

              2SWPL]LQJ JO\FHPLF FRQWURO ZLWK LQVXOLQ +XURQ +RVSLWDO 0HGLFDO
             *UDQG 5RXQGV -DQXDU\  

              3UHVFULELQJ LQVXOLQ IRU WKRVH ZLWK 7\SH  'LDEHWHV 6D\EURRN 2+
             )HEUXDU\  

              7KLD]ROLGLQHGLRQH XVH IRU 7\SH  'LDEHWHV 1RUWK 5R\DOWRQ 2+
             )HEUXDU\  

              'LDEHWHV DQ XSGDWH DQG RYHUYLHZ *UHDWHU &OHYHODQG 3HUL$QHVWKHVLD
             1XUVHV $VVRFLDWLRQ ;, %HGIRUG 2+ )HEUXDU\  

              ,QVLJKWV LQWR LQVXOLQ WKHUDS\ 0HQWRU 2+ 0DUFK  




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              7KLD]ROLGLQHGLRQH XVH IRU 7\SH  'LDEHWHV ,QGHSHQGHQFH 2+ 0DUFK
              

              7KLD]ROLGLQHGLRQH XVH IRU 7\SH  'LDEHWHV 2UDQJH 9LOODJH 2+ 0DUFK
              

              7KLD]ROLGLQHGLRQH XVH IRU 7\SH  'LDEHWHV 2UDQJH 9LOODJH 2+ $SULO
              

              8VLQJ ,QVXOLQ *ODUJLQH IRU 7\SH  'LDEHWHV 7HOHFRQIHUHQFH 0D\ 
             

              7UHDWLQJ 7\SH  'LDEHWHV 1HLJKERUKRRG )DPLO\ 3UDFWLFH &OHYHODQG
             2+ 0D\  

              7KLD]ROLGLQHGLRQH XVH IRU 7\SH  'LDEHWHV &RQFRUG 2+ 0D\ 
             

              7UHDWLQJ K\SHUWHQVLRQ DQG K\SHUFKROHVWHUROHPLD UHFHQW GDWD ZLWK D
             IRFXV RQ 7\SH  'LDEHWHV 0HQWRU 2+ 0D\  

              6WDWLQV DQ XSGDWH RQ URVXYDVWDWLQ 0HQWRU 2+ 0D\  

              ,QWHQVLYH LQVXOLQ WKHUDS\ DQG LQVXOLQ JOXOLVLQH &LQFLQQDWL 2+ 0D\ 
             

              &RPSOLFDWLRQV RI 'LDEHWHV &DQ WKH\ EH SUHYHQWHG " -HZLVK +RVSLWDO
             *UDQG 5RXQGV &LQFLQQDWL 2+ 0D\  

              ,QVXOLQ *OXOLVLQH QDWLRQDO WHOHFRQIHUHQFH 0D\  

              2QFH PRQWKO\ LEDQGURQDWH IRU RVWHRSRURVLV /DNHZRRG 2+ -XQH 
             

              2QFH PRQWKO\ LEDQGURQDWH IRU RVWHRSRURVLV :LOORXJKE\ 2+ -XQH 
             

              2QFH PRQWKO\ LEDQGURQDWH IRU RVWHRSRURVLV &OHYHODQG 2+ -XQH 
             




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              %\HWWD 7KH )LUVW ,QFUHWLQ 0LPHWLF /RFDO PRGHUDWRU IRU D QDWLRQDO
             SURJUDP SUHVHQWHG E\ VDWHOOLWH &X\DKRJD )DOOV 2+ -XQH  

              ,QVXOLQ LQLWLDWLRQ $ &DVH VWXG\ DSSURDFK $ WHOHFRQIHUHQFH KHOG RQ
             -XQH  

              8VLQJ LQVXOLQ LQ 7\SH  'LDEHWHV $ -RVOLQ 'LDEHWHV &HQWHU SURJUDP
             0RGHUDWRU &OHYHODQG 2+ -XQH  

              2QFH PRQWKO\ LEDQGURQDWH IRU RVWHRSRURVLV 3HSSHU 3LNH 2+ -XQH
              

            7KLD]ROLGLQHGLRQH XVH IRU 7\SH  'LDEHWHV %URDGYLHZ +HLJKWV 2+
     -XQH  

              2QFH PRQWKO\ LEDQGURQDWH IRU RVWHRSRURVLV 0HQWRU 2+ -XO\ 
             

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF :LOORXJKE\ 2+ -XO\
              

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF &OHYHODQG 2+
             -XO\  

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF :HVWODNH 2+
             -XO\  
              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF 0HQWRU 2+ -XO\
              

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF =DQHVYLOOH 2+
             -XO\  

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF :HVWODNH 2+ -XO\
              

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF +XGVRQ 2+ -XO\
              

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF &DQWRQ 2+ -XO\
              


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              'LDEHWLF 0LFURYDVFXODU &RPSOLFDWLRQV $ -RVOLQ 'LDEHWHV &HQWHU
             SURJUDP 0RGHUDWRU &OHYHODQG 2+ $XJXVW  

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF &OHYHODQG 2+
             $XJXVW  

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF 0LODQ 2+
             $XJXVW  

              7DUJHWLQJ OLSLGV WR UHGXFH FDUGLRYDVFXODU HYHQWV UHFHQW FOLQLFDO WULDOV
             %HDFKZRRG 2+ $XJXVW  

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF (ULH 3$
             $XJXVW  

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF &RVKRFWRQ 2+
             $XJXVW  

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF $ WHOHFRQIHUHQFH
             $XJXVW  

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF $ WHOHFRQIHUHQFH
             $XJXVW  

              7KLD]ROLGLQHGLRQH XVH IRU 7\SH  'LDEHWHV /DNHZRRG 2+ $XJXVW
              

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF &RQFRUG 2+
             $XJXVW  

              5RVXYDVWDWLQ LQ WUHDWLQJ K\SHUFKROHVWHUROHPLD 0HQWRU 2+
             6HSWHPEHU  

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF *UDQG 5DSLGV 0,
             6HSWHPEHU  

              ,Q+RVSLWDO JOXFRVH FRQWURO %HDFKZRRG 2+ 6HSWHPEHU  




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              7KLD]ROLGLQHGLRQH XVH IRU 7\SH  'LDEHWHV :DUUHQ 2+ 6HSWHPEHU
              

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF 6FKHUHUYLOOH ,1
             2FWREHU  

              7KLD]ROLGLQHGLRQH XVH IRU 7\SH  'LDEHWHV %HDFKZRRG 2+ 2FWREHU
              

              &ROODERUDWLRQ DQG &ODULW\ LQ 'LDEHWHV &DUH 3'0 +HDOWKFDUH ([SR
             &OHYHODQG 2+ 2FWREHU  

              /DNH +RVSLWDO 6\VWHP 'LDEHWHV 6\PSRVLXP 1HZ WKHUDSLHV IRU 
             'LDEHWHV WKH LQFUHWLQ SDWKZD\ $1' 3UDFWLFDO DSSOLFDWLRQV RI WKHUDS\ IRU
             7\SH  'LDEHWHV FDVH GLVFXVVLRQV LQ FRQMXQFWLRQ ZLWK 'U 0DUWLQ 0DQGHO
             (DVWODNH 2+ 2FWREHU  

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF %HDFKZRRG 2+
             2FWREHU  
              6LQJOH DJHQW HIILFDF\ LQ WUHDWLQJ K\SHUFKROHVWHUROHPLD +XURQ
             +RVSLWDO ,QWHUQDO 0HGLFLQH 5HVLGHQWV &OHYHODQG 2+ 2FWREHU  

              7KLD]ROLGLQHGLRQHV &OHYHODQG 2+ 1RYHPEHU  

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF 9HUPLOLRQ 2+
             1RYHPEHU  

              'LDEHWHV PDQDJHPHQW $ FDVH IURP WKH -RVOLQ 'LDEHWHV &HQWHU
             $IILOLDWH 6W 9LQFHQW &KDULW\ +RVSLWDO 1RRQ 5HVLGHQWV &RQIHUHQFH
             &OHYHODQG 2+ 1RYHPEHU  

              7DUJHWLQJ WKH LQFUHWLQ SDWKZD\ LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV
             *HQHVLV +HDOWKFDUH 6\VWHP %HWKHVGD +RVSLWDO *UDQG 5RXQGV =DQHVYLOOH
             2+ 1RYHPEHU  

              7KLD]ROLGLQHGLRQHV &OHYHODQG 2+ 1RYHPEHU  

              7\SH  'LDEHWHV 7KLD]ROLGLQHGLRQHV DQG RWKHU WUHDWPHQW RSWLRQV D
             URXQGWDEOH GLVFXVVLRQ ,QGHSHQGHQFH 2+ 1RYHPEHU  




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              ,PSURYLQJ FDUGLRYDVFXODU RXWFRPHV /'/ DQG EH\RQG $ -RVOLQ
             'LDEHWHV &HQWHU SURJUDP 0RGHUDWRU &OHYHODQG 2+ 1RYHPEHU  

              'LDEHWHV PDQDJHPHQW 6W 9LQFHQW &KDULW\ +RVSLWDO 1RRQ 5HVLGHQWV
             &RQIHUHQFH &OHYHODQG 2+ 1RYHPEHU  

              'LDEHWHV JO\FHPLD DQG QHZ KRUPRQDO SDUDGLJPV $ -RVOLQ 'LDEHWHV
             &HQWHU SURJUDP 0RGHUDWRU &OHYHODQG 2+ 'HFHPEHU  

              6LQJOH DJHQW HIILFDF\ RI URVXYDVWDWLQ LQ WUHDWLQJ K\SHUFKROHVWHUROHPLD
             %HDFKZRRG 2+ 'HFHPEHU  

              6LQJOH DJHQW HIILFDF\ RI URVXYDVWDWLQ LQ WUHDWLQJ K\SHUFKROHVWHUROHPLD
             %HDFKZRRG 2+ 'HFHPEHU  

              6LQJOH DJHQW HIILFDF\ RI URVXYDVWDWLQ LQ WUHDWLQJ K\SHUFKROHVWHUROHPLD
             5LFKPRQG +HLJKWV +RVSLWDO 5LFKPRQG +HLJKWV  2+ 'HFHPEHU  

              ,QSDWLHQW JO\FHPLF FRQWURO $ WHOHFRQIHUHQFH 'HFHPEHU  

              6HOIUHJXODWLRQ RI JO\FHPLF FRQWURO 8QGHUVWDQGLQJ %\HWWD $
             WHOHFRQIHUHQFH )HEUXDU\  

              1HZ LQVLJKWV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV 6RXWKZHVW *HQHUDO
             +HDOWK &HQWHU *UDQG 5RXQGV )HEUXDU\  

              7\SH  'LDEHWHV 7KLD]ROLGLQHGLRQHV DQG RWKHU WUHDWPHQW RSWLRQV D
             URXQGWDEOH SURJUDP 0DGLVRQ 2+ )HEUXDU\  

              %\HWWD 7KH )LUVW )'$DSSURYHG ,QFUHWLQ 0LPHWLF 0HQWRU 2+
             )HEUXDU\  

              7KLD]ROLGLQHGLRQHV DQG RWKHU WUHDWPHQW RSWLRQV ,QGHSHQGHQFH 2+
             )HEUXDU\  

              6LQJOH DJHQW HIILFDF\ RI URVXYDVWDWLQ LQ WUHDWLQJ K\SHUFKROHVWHUROHPLD
             3HSSHU 3LNH 2+ )HEUXDU\  

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV +XGVRQ 2+
             )HEUXDU\  


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              2QFH PRQWKO\ LEDQGURQDWH IRU RVWHRSRURVLV 0HQWRU 2+ )HEUXDU\
              


              5HGXFLQJ LQVXOLQ UHVLVWDQFH DQG FDUGLRYDVFXODU ULVN $ -RVOLQ 'LDEHWHV
             &HQWHU SURJUDP 0RGHUDWRU &OHYHODQG 2+ )HEUXDU\  

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV
             ,QGHSHQGHQFH 2+ 0DUFK  

              1HZ ,QVLJKWV LQWR ,QLWLDWLQJ ,QVXOLQ WKHUDS\ :LOORXJKE\ 2+ 0DUFK 
             

              7\SH  'LDEHWHV 7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH 
             'LDEHWHV 6KDNHU +HLJKWV 2+ 0DUFK  

              ,QSDWLHQW JOXFRVH FRQWURO &OHYHODQG 2+ 0DUFK  

              6LQJOH DJHQW HIILFDF\ RI URVXYDVWDWLQ LQ WUHDWLQJ K\SHUFKROHVWHUROHPLD
             0HQWRU 2+ $SULO  

              8VH RI 6\POLQ IRU ,QVXOLQ 8VLQJ 3DWLHQWV ZLWK 'LDEHWHV &OHYHODQG 2+
             $SULO  

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV :DUUHQ 2+
             $SULO  

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV 8++6
             5LFKPRQG +RVSLWDO 5HVLGHQWV 5LFKPRQG +WV 2+ 0D\  

              5DWLRQDO XVH RI LQVXOLQ 0DULRQ 2+ 0D\  

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV %HDFKZRRG
             2+ 0D\  

              5DWLRQDO XVH RI LQVXOLQ +XGVRQ 2+ 0D\  

              5DWLRQDO XVH RI LQVXOLQ &DQWRQ 2+ 0D\  




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              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV 3HSSHU 3LNH
             2+ 0D\  

              5DWLRQDO XVH RI LQVXOLQ +XGVRQ 2+ -XQH  

              5DWLRQDO XVH RI LQVXOLQ :DUUHQ 2+ -XQH  

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV &OHYHODQG
             2+ -XQH  

              ,QVXOLQ WUHDWPHQW LQ 7\SH  'LDEHWHV $ -RVOLQ 'LDEHWHV &HQWHU
             SURJUDP 0RGHUDWRU &OHYHODQG 2+ -XQH  

              3UHVHQWHU DW WKH $PHULFDQ $FDGHP\ RI 1XUVH 3UDFWLWLRQHUV« $QQXDO
             0HHWLQJ 'LDJQRVWLF &KDOOHQJHV LQ 'LDEHWHV ,QWHQVLYH ,QVXOLQ 7KHUDS\
             &RPELQDWLRQ 7KHUDS\ WR 2SWLPL]H *O\FHPLF &RQWURO RQ -XQH  DQG 
              *UDSHYLQH 7H[DV

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV 0DGLVRQ 2+
             -XQH  

              8VLQJ LQVXOLQ UDWLRQDOO\ 6W 9LQFHQW &KDULW\ +RVSLWDO ,QWHUQDO 0HGLFLQH
             UHVLGHQWV SURJUDP -XO\  

              $SLGUD DQG UDWLRQDO XVH RI LQVXOLQ $OOHQWRZQ 3$ -XO\  

              8VLQJ LQVXOLQ UDWLRQDOO\ WKH LQSDWLHQW VHWWLQJ 6W 9LQFHQW &KDULW\
             +RVSLWDO ,QWHUQDO 0HGLFLQH UHVLGHQWV SURJUDP -XO\  

              &KDQJLQJ WKH SDUDGLJP IRU LQVXOLQ GHOLYHU\ $ -RVOLQ 'LDEHWHV &HQWHU
             SURJUDP 0RGHUDWRU &OHYHODQG 2+ -XO\  
              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV 1RUWK
             5LGJHYLOOH 2+ -XO\  

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV (O\ULD 2+
             $XJXVW  

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV $PKHUVW 2+
             $XJXVW  




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              +XPDORJ DQG +XPDORJ 0L[ UHJLPHQV LQ LQVXOLQ WKHUDS\ $
             WHOHFRQIHUHQFH $XJXVW  

              $SLGUD DQG UDWLRQDO XVH RI LQVXOLQ (O\ULD 2+ 6HSWHPEHU  

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV 7ZLQVEXUJ
             2+ 6HSWHPEHU  

              'LDEHWHV JDVWURLQWHVWLQDO KRUPRQHV DQG LQFUHWLQV FOLQLFDO
             LPSOLFDWLRQV $ -RVOLQ 'LDEHWHV &HQWHU SURJUDP 0RGHUDWRU &OHYHODQG 2+
             6HSWHPEHU  

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV 0HQWRU 2+
             6HSWHPEHU  

              7KLD]ROLGLQHGLRQHV DQG &DUGLRYDVFXODU GLVHDVH LQ 7\SH  'LDEHWHV
             0RGHUDWRU &OHYHODQG 2+ 2FWREHU  

              %\HWWD DQG 6\POLQ DJHQWV LQ WKH WUHDWPHQW RI GLDEHWHV
             ,QGHSHQGHQFH 2+ 2FWREHU  

              $ QRYHO DSSURDFK WR FDUGLRPHWDEROLF ULVN UHGXFWLRQ WKH
             HQGRFDQQDELQRLG V\VWHP $OOLDQFH &RPPXQLW\ +RVSLWDO $OOLDQFH 2+
             2FWREHU  

              %\HWWD  ZKHUH LW ILWV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV 0DGLVRQ
             2+ 2FWREHU  

              ([XEHUD :RRGPHUH 9LOODJH 2+ 2FWREHU  

              %\HWWD $ WHOHFRQIHUHQFH 2FWREHU  

              $ QRYHO DSSURDFK WR FDUGLRPHWDEROLF ULVN UHGXFWLRQ WKH
             HQGRFDQQDELQRLG V\VWHP *HQHVLV +HDOWK &DUH 6\VWHP =DQHVYLOOH 2+
             1RYHPEHU  

              -DQXYLD DQG RUDO '33  LQKLELWLRQ &ROXPEXV 2+ 1RYHPEHU  

              -DQXYLD DQG RUDO '33  LQKLELWLRQ 1HZ &DVWOH 3$ 1RYHPEHU  




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              $ QRYHO DSSURDFK WR FDUGLRPHWDEROLF ULVN UHGXFWLRQ WKH
             HQGRFDQQDELQRLG V\VWHP 7UXPEXOO 0HPRULDO +RVSLWDO :DUUHQ 2+
             1RYHPEHU  

              $SLGUD DQG UDWLRQDO XVH RI LQVXOLQ 1LOHV 2+ 1RYHPEHU  

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV $NURQ 2+
             1RYHPEHU  

              7UHDWLQJ 7\SH  'LDEHWHV :RRGPHUH 9LOODJH 2+ 1RYHPEHU 
             

              ([XEHUD DW WKH ¨6WHSV WR +HDOWKLHU &OHYHODQG© V\PSRVLXP &OHYHODQG
             2+ 1RYHPEHU  

              (WKQLFLW\ 'LDEHWHV DQG &DUGLRYDVFXODU 'LVHDVH $ -RVOLQ 'LDEHWHV
             &HQWHU SURJUDP 0RGHUDWRU &OHYHODQG 2+ 1RYHPEHU  

              -DQXYLD DQG RUDO '33  LQKLELWLRQ ,QGHSHQGHQFH 2+ 1RYHPEHU 
             

              7UHDWLQJ 7\SH  'LDEHWHV :LOORXJKE\ 2+ 1RYHPEHU  
              -DQXYLD DQG RUDO '33  LQKLELWLRQ &DQWRQ 2+ 1RYHPEHU  

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV :LOORXJKE\
             2+ 1RYHPEHU  

              8VLQJ 6\POLQ LQ WKH WUHDWPHQW RI GLDEHWHV 7ROHGR 2+ 1RYHPEHU 
             

              -DQXYLD DQG RUDO '33  LQKLELWLRQ %RDUGPDQ 2+ 'HFHPEHU  

              -DQXYLD DQG RUDO '33  LQKLELWLRQ 3LWWVEXUJK 2+ 'HFHPEHU  

              $SLGUD DQG UDWLRQDO XVH RI LQVXOLQ &OHYHODQG 2+ 'HFHPEHU  

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV %HDFKZRRG
             2+ 'HFHPEHU  

              -DQXYLD DQG RUDO '33  LQKLELWLRQ &OHYHODQG 2+ -DQXDU\  


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              -DQXYLD DQG RUDO '33  LQKLELWLRQ $NURQ 2+ -DQXDU\  

              2SWLRQV IRU LQVXOLQ WKHUDS\ 0DGLVRQ 2+ -DQXDU\  

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV
             ,QGHSHQGHQFH 2+ -DQXDU\  

              2SWLRQV IRU LQVXOLQ WKHUDS\ 3DLQHVYLOOH 2+ -DQXDU\  

              -DQXYLD DQG RUDO '33  LQKLELWLRQ %HDFKZRRG 2+ -DQXDU\  

              ([HQDWLGH DQG 3UDPOLQWLGH &OHYHODQG 2+ -DQXDU\  

              -DQXYLD DQG RUDO '33  LQKLELWLRQ 9LHQQD :9 -DQXDU\  

              -DQXYLD DQG RUDO '33  LQKLELWLRQ &KDUOHVWRQ :9 )HEUXDU\  

              ([HQDWLGH LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV 0HQWRU 2+ )HEUXDU\

                       
              $SLGUD DQG UDWLRQDO XVH RI LQVXOLQ 9LHQQD 2+ )HEUXDU\  

              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV 6KDNHU
                      +HLJKWV 2+ )HEUXDU\  

              -DQXYLD DQG RUDO '33  LQKLELWLRQ 'D\WRQ 2+ )HEUXDU\  
              7KLD]ROLGLQHGLRQHV LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV %HDFKZRRG

                      2+ )HEUXDU\  
              ,QVXOLQ WKHUDS\ DQG WKH XVH RI ([XEHUD :DUUHQ 2+ 0DUFK  

              7KLD]ROLGLQHGLRQHV DQG 7\SH  'LDEHWHV &OHYHODQG 2+ 0DUFK 
                      

              %\HWWD :KHHOLQJ :9 0DUFK  
              7\SH  'LDEHWHV &ODULI\LQJ WUHDWPHQW RSWLRQV 'LDEHWHV $VVRFLDWLRQ RI

                      *UHDWHU &OHYHODQG $OOLHG +HDOWK 3URIHVVLRQDOV 6\PSRVLXP :HVWODNH
                      2+ 0DUFK  


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              7KLD]ROLGLQHGLRQHV DQG 7\SH  'LDEHWHV 0HQWRU 2+ 0DUFK 

                      
              %\HWWD DQG 6\POLQ /RXLVYLOOH .< 0DUFK  

              '33 LQKLELWLRQ LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV %HDFKZRRG
                      2+ 0DUFK  

              7\SH  'LDEHWHV &ODULI\LQJ WUHDWPHQW RSWLRQV 8++6 *HDXJD +RVSLWDO
                      *UDQG 5RXQGV &KDUGRQ 2+ 0DUFK  

              6LPSOH )OH[LEOH ,QVXOLQ 7KHUDS\ 7HOHFRQIHUHQFH 0DUFK  
              5RVXYDVWDWLQ IRU WUHDWPHQW RI K\SHUFKROHVWHUROHPLD %HDFKZRRG 2+

                      $SULO  
              2SWLPL]LQJ JOXFRVH FRQWURO LQ 7\SH  'LDEHWHV DJHQW VHOHFWLRQ DQG

                      XVLQJ QHZHU DJHQWV 6W 9LQFHQW &KDULW\ +RVSLWDO 0HGLFDO *UDQG
                      5RXQGV &OHYHODQG 2+ $SULO  

              %\HWWD 0RUJDQWRZQ .< $SULO  
              %\HWWD /HZLVEXUJ .< $SULO  

              %\HWWD DQG 6\POLQ %RZOLQJ *UHHQ .< $SULO  
              '33 LQKLELWLRQ LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV &UDQEHUU\

                      7RZQVKLS 3$ $SULO  
              6LPSOH )OH[LEOH ,QVXOLQ 7KHUDS\ 7HOHFRQIHUHQFH $SULO  

              '33 LQKLELWLRQ LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV &OHYHODQG 2+
                      $SULO  

              8VLQJ LQVXOLQ WR RSWLPL]H JOXFRVH FRQWURO LQ WKH RXWSDWLHQW DQG
                      LQSDWLHQW VHWWLQJ (XFOLG +RVSLWDO *UDQG 5RXQGV (XFOLG 2+ 0D\ 

                      
              ,QVXOLQ WKHUDS\ DQG WKH EHQHILWV RI D EDVDOEROXV DSSURDFK &OHYHODQG

                      2+ 0D\  




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           1HZ GHOLYHU\ GHYLFHV IRU LQVXOLQ DGPLQLVWUDWLRQ :LOORXJKE\ 2+ 0D\

                    
           6\POLQ IRU SDWLHQWV RQ PHDOWLPH LQVXOLQ 9HUPLOLRQ 2+ 0D\  

           6LQJOH DJHQW HIILFDF\ IRU G\VOLSLGHPLD :DUUHQ 2+ -XQH  
           6\POLQ IRU SDWLHQWV RQ PHDOWLPH LQVXOLQ %HDFKZRRG 2+ -XQH 

                   
           21/< 352*5$06 )25 :+,&+ &0( &5(',7 :$6 2))(5(' $5(

                   6+2:1 $)7(5 7+( $%29( '$7(
           'LDEHWHV DQG +HDUW )DLOXUH &DVH :HVWHUQ 5HVHUYH 8QLYHUVLW\ 6FKRRO

                   RI 0HGLFLQH -XQH  
           5DWLRQDO XVH RI LQVXOLQ 8++6 5LFKPRQG +RVSLWDO 6HSWHPEHU  

           3UHYHQWLRQ RI 'LDEHWLF &RPSOLFDWLRQV :KHQ LV 'LDEHWHV 'LDJQRVHG
                   /DNH+HDOWK 'LDEHWHV 6\PSRVLXP $SULO  

           *O\FHPLF FRQWURO IRU LQSDWLHQWV (XFOLG +RVSLWDO &OLQLFDO &RQIHUHQFH
                   /HFWXUH (XFOLG 2+ 2FWREHU  

           ,QVXOLQ LQLWLDWLRQ DQG LQWHQVLILFDWLRQ DW 'LDEHWHV 'D\ IRU 3ULPDU\ &DUH
                   3K\VLFLDQV FRVSRQVRUHG E\ $PHULFDQ $VVRFLDWLRQ RI &OLQLFDO
                   (QGRFULQRORJLVWV &OHYHODQG 2+ 1RYHPEHU  
           +RZ WR XVH LQVXOLQ 8++6 5LFKPRQG 0HGLFDO &HQWHU *UDGXDWH

                   0HGLFDO (GXFDWLRQ SURJUDP 'HFHPEHU  
           7KH (QGRFULQRORJ\ &OXE 8SGDWH RI WKH $&&25' 7ULDO &OLQLFDO

                   LPSOLFDWLRQV RI WKH $&&25' WULDO WR WKH PDQDJHPHQW RI 7\SH 
                   'LDEHWHV 2QH RI VHYHUDO SUHVHQWHUV 0DUFK   %HDFKZRRG 2+

           *UHDWHU 1RUWKZHVW 2KLR 'LDEHWHV 6\PSRVLXP ,QVXOLQ LQLWLDWLRQ DQG
                   LQWHQVLILFDWLRQ )LQGOD\ 2+ 6HSWHPEHU  

           $NURQ *HQHUDO 0HGLFDO &HQWHU (QGRFULQH *UDQG 5RXQGV (QOLJKWHQHG
                   ,QVXOLQ 3UHVFULELQJ $NURQ 2+ 0DUFK  


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           8QPHW 1HHGV LQ 7UHDWLQJ '\VOLSLGHPLD :RRGPHUH 2+ 2FWREHU 

                   
           3KDUPDFRWKHUDS\ IRU ZHLJKW ORVV 2EHVLW\ 8SGDWH  V\PSRVLXP

                   (DVWODNH 2+ /DNH+HDOWK $SULO  
           ¨'LDEHWHV DQG ERG\ ZHLJKW© SUHVHQWHG GXULQJ 2KLR $$'( 'LDEHWHV

                   (GXFDWLRQ 'D\ RQ -XQH   ,QGHSHQGHQFH 2+
           'LDEHWHV ZKDW«V QHZ WR NQRZ IRU WKH RXWSDWLHQW DQG LQSDWLHQW

                   /DNH+HDOWK 6\PSRVLXP RQ -DQXDU\  
          (DVWODNH 2+

           $NURQ *HQHUDO 0HGLFDO &HQWHU (QGRFULQH *UDQG 5RXQGV
                   $GGUHVVLQJ WKH WULSOH FKDOOHQJH RI K\SRJO\FHPLD ZHLJKW DQG

                   JOXFRVH FRQWURO $NURQ 2+ )HEUXDU\  
           'LDEHWHV 6\PSRVLXP /DNH+HDOWK 6HUYHG DV PRGHUDWRU IRU WKLV

                   SURJUDP ZLWK  &DWHJRU\  FUHGLWV DQG SUHVHQWHU RI
                   7\SH  'LDEHWHV DQG FDUGLRYDVFXODU RXWFRPH WULDOV ZKLFK DJHQWV

                   KDYH VKRZQ EHQHILW"
                   $1' ,QVXOLQ LQ 7\SH  'LDEHWHV ZKDW WR GR DQG ZKDW«V QHZ"

                   (DVWODNH 2+ -DQXDU\  
           7UHDWLQJ 7\SH  'LDEHWHV :KDW \RX PLJKW QRW KDYH FRQVLGHUHG

                   JO\FHPLF DQG QRQJO\FHPLF IDFWRUV DW WKH &OHYHODQG $FDGHP\ RI
                   2VWHRSDWKLF 0HGLFLQH«V WK $QQXDO -DQXDU\ 6HPLQDU &OHYHODQG 2+
                   -DQXDU\  
           'LDEHWHV 7UHDWPHQW 2YHUYLHZ 8++6 )DPLO\

                   0HGLFLQH GLGDFWLFV WR UHVLGHQWV  2FWREHU  
           'LDEHWHV 7UHDWPHQW 2YHUYLHZ 8++6 )DPLO\

                   0HGLFLQH GLGDFWLFV WR UHVLGHQWV  1RYHPEHU  




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  1RWH 'U :HLVV FRQWLQXHV WR EH DQ VSHDNHU SUHVHQWLQJ DW SURJUDPV DFURVV WKH
  8QLWHG 6WDWHV +RZHYHU DV RI -XQH  RQO\ SURJUDPV WKDW ZHUH QRQ
  SURPRWLRQDO LQ QDWXUH DUH OLVWHG DERYH




  ;,9 2XWSDWLHQW 7HDFKLQJ RI +HDOWK 3URIHVVLRQDOV LQ 7UDLQLQJ

       ,QVWUXFWLRQ RI LQWHUQDO PHGLFLQH UHVLGHQWV  KDOI GD\V D ZHHN LQ WKH
  PRQWKV RI -XQH DQG -XO\  IURP 8QLYHUVLW\ +RVSLWDOV RI &OHYHODQG

         7HDFKLQJ RI UG \HDU )DPLO\ 3UDFWLFH 5HVLGHQW IURP WKH 8QLYHUVLW\ +RVSLWDOV
  RI &OHYHODQG SURJUDP )HEUXDU\ 

        7HDFKLQJ RI UG \HDU ,QWHUQDO 0HGLFLQH 5HVLGHQW IURP WKH 8QLYHUVLW\
  +RVSLWDOV RI &OHYHODQG SURJUDP 'HFHPEHU  )HEUXDU\ 

         7HDFKLQJ RI ,QWHUQDO 0HGLFLQH DQG )DPLO\ 3UDFWLFH 5HVLGHQWV IURP WKH
  RVWHRSDWKLF PHGLFLQH SURJUDPV RI 8++65LFKPRQG +HLJKWV +RVSLWDO DQG
  0LOOFUHHN &RPPXQLW\ +RVSLWDO (ULH 3$  1RYHPEHU  0DUFK  0D\ 
  6HSWHPEHU  2FWREHU  0D\  -DQXDU\  $XJXVW  'HFHPEHU
   -DQXDU\  )HEUXDU\  0DUFK  -XQH  1RYHPEHU 
  $XJXVW'HFHPEHU  -DQXDU\  -XQH  WKHQ XQWLO 

         7HDFKLQJ RI PHGLFDO VWXGHQWV $SULO  0D\  )HEUXDU\  
   




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          7HDFKLQJ RI QXUVH SUDFWLWLRQHU VWXGHQWV -XO\  $XJXVW  -XO\
           -XO\     


  /HFWXUHU RQ 'LDEHWHV PHOOLWXV IRU WKH 2KLR &ROOHJH RI 3RGLDWULF 0HGLFLQH
               
              
              
              




  ;9 ,QSDWLHQW 7HDFKLQJ 6HUYLFH
         ,QWHUQDO 0HGLFLQH 5HVLGHQWV DW +LOOFUHVW +RVSLWDO
                             6HSWHPEHU 
                             0D\ 
                             'HFHPEHU 
                             -XO\ 
                             $XJXVW 


  ;9, /HJDO H[SHULHQFH

          ([SHUW ZLWQHVV ZRUN
   86 $LU )OLJKW  LQ ZKLFK SODLQWLII FODLPHG GLDEHWHV ZDV WKH UHVXOW RI
  WKH DLU FUDVK

   LQ ZKLFK WKH SODLQWLII FODLPHG WKDW D PRWRU YHKLFOH DFFLGHQW ZDV WKH UHVXOW RI
  WKH SHUVRQ«V XQFRQWUROOHG GLDEHWHV




  ;9,, 3DUWLFLSDWLRQ LQ &OLQLFDO 7ULDOV




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          WR  ,QWUDQDVDO FDOFLWRQLQ IRU WKH SUHYHQWLRQ RI RVWHRSRURWLF
  YHUWHEUDO IUDFWXUHV 3522)  6WXG\  3ULQFLSDO LQYHVWLJDWRU VSRQVRU  6DQGR]
   1RYDUWLV

          WR  7KH HIILFDF\ RI IOXR[HWLQH LQ DGXOW VWXWWHULQJ 3ULQFLSDO
  LQYHVWLJDWRU RI WKLV LQYHVWLJDWRU LQLWLDWHG WULDO

        &RPSDUDWLYH RXWFRPHV VWXG\ RI PHWIRUPLQ YV FRQYHQWLRQDO
  DSSURDFK 3ULQFLSDO LQYHVWLJDWRU VSRQVRU %ULVWRO0\HUV 6TXLEE

          $ FRPSDULVRQ RI HFKRFDUGLRJUDSKLF ILQGLQJV LQ SDWLHQWV WUHDWHG ZLWK
  5HGX[ GH[IHQIOXUDPLQH +&/ YV PDWFKHG REHVH SDWLHQWV QRW WUHDWHG ZLWK
  DQRUH[LJHQV D PXOWLFHQWHU 8 6 VWXG\ 3ULQFLSDO LQYHVWLJDWRU VSRQVRU ,QWHUQHXURQ
  3KDUPDFHXWLFDOV )LQGLQJV SXEOLVKHG LQ &LUFXODWLRQ  

          7ULFRU 86 PXOWLFHQWHU SK\VLFLDQ H[SHULHQFH WULDO  3ULQFLSDO
  LQYHVWLJDWRU VSRQVRU$EERWW

         $Q HYDOXDWLRQ RI WKH 6HUHQH VXSSRUW SURJUDP LQ FRQMXQFWLRQ ZLWK
  6HU]RQH IRU WKH WUHDWPHQW RI GHSUHVVLRQ 3ULQFLSDO LQYHVWLJDWRU VSRQVRU%ULVWRO
  0\HUV 6TXLEE

        2PDSDWULODW &DUGLRYDVFXODU 7UHDWPHQW 9HUVXV (QDODSULO
  2&7$9( 3ULQFLSDO LQYHVWLJDWRU VSRQVRU %ULVWRO0\HUV 6TXLEE 

           $FWLRQ WR &RQWURO &DUGLRYDVFXODU 5LVN LQ 'LDEHWHV $&&25'
  7ULDO 3ULQFLSDO LQYHVWLJDWRU VSRQVRU 1DWLRQDO +HDUW /XQJ DQG %ORRG ,QVWLWXWH 

          $QWLK\SHUWHQVLYH (IILFDF\ RI $GGLQJ &DQGHVDUWDQ &LOH[HWLO WR
  /LVLQRSULO LQ &RPSDULVRQ WR 8SWLWUDWLRQ RI /LVLQRSULO 3ULQFLSDO LQYHVWLJDWRU
   VSRQVRU $VWUD=HQHFD 

           $ 5DQGRPL]HG 'RXEOH%OLQG 3ODFHER&RQWUROOHG
  0XOWLFHQWHU ZHHN 6WXG\ WR (YDOXDWH WKH 6DIHW\ DQG 7ROHUDELOLW\ RI 3\ULGRULQ
  S\ULGR[DPLQH GLK\GURFKORULGH LQ 3DWLHQWV ZLWK 'LDEHWLF 1HSKURSDWK\ $VVRFLDWHG
  ZLWK 7\SH  RU 7\SH  'LDEHWHV 6XE3ULQFLSDO LQYHVWLJDWRU VSRQVRU %LRVWUDWXP 

         $ 3KDVH  5DQGRPL]HG 7ULSOH%OLQG 3DUDOOHO*URXS /RQJ7HUP
  3ODFHER&RQWUROOHG 0XOWLFHQWHU 6WXG\ WR ([DPLQH WKH (IIHFW RQ *OXFRVH &RQWURO
   +E$F RI $& *LYHQ 7ZR 7LPHV D 'D\ LQ 6XEMHFWV :LWK 7\SH  'LDEHWHV


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  0HOOLWXV 7UHDWHG :LWK 0HWIRUPLQ $ORQH 3ULQFLSDO LQYHVWLJDWRU VSRQVRU $P\OLQ
  3KDUPDFHXWLFDOV

          $ 3KDVH  5DQGRPL]HG 7ULSOH%OLQG 3DUDOOHO*URXS /RQJ7HUP
  3ODFHER&RQWUROOHG 0XOWLFHQWHU 6WXG\ WR ([DPLQH WKH (IIHFW RQ *OXFRVH &RQWURO
   +E$F RI $& *LYHQ 7ZR 7LPHV D 'D\ LQ 6XEMHFWV :LWK 7\SH  'LDEHWHV
  0HOOLWXV 7UHDWHG :LWK D 6XOIRQ\OXUHD $ORQH 3ULQFLSDO LQYHVWLJDWRU    VSRQVRU
  $P\OLQ 3KDUPDFHXWLFDOV

          $ 3KDVH  5DQGRPL]HG 7ULSOH%OLQG 3DUDOOHO*URXS /RQJ7HUP
  3ODFHER&RQWUROOHG 0XOWLFHQWHU 6WXG\ WR ([DPLQH WKH (IIHFW RQ *OXFRVH &RQWURO
   +E$F RI $& *LYHQ 7ZR 7LPHV D 'D\ LQ 6XEMHFWV :LWK 7\SH  'LDEHWHV
  0HOOLWXV 7UHDWHG :LWK 0HWIRUPLQ DQG D 6XOIRQ\OXUHD 3ULQFLSDO LQYHVWLJDWRU
   VSRQVRU $P\OLQ 3KDUPDFHXWLFDOV

          $Q 2SHQ/DEHO ([WHQVLRQ 6WXG\ WR ([DPLQH WKH /RQJ7HUP
  (IIHFW RQ *OXFRVH &RQWURO +E$F DQG 6DIHW\ DQG 7ROHUDELOLW\ RI $& *LYHQ
  7ZR 7LPHV D 'D\ WR 6XEMHFWV 7UHDWHG :LWK 0HWIRUPLQ $ORQH 3ULQFLSDO
  LQYHVWLJDWRU VSRQVRU $P\OLQ 3KDUPDFHXWLFDOV

          $Q 2SHQ/DEHO ([WHQVLRQ 6WXG\ RI 3URWRFRO WR ([DPLQH WKH /RQJ
  7HUP (IIHFW RQ *OXFRVH &RQWURO +E$F DQG 6DIHW\ DQG 7ROHUDELOLW\ RI $&
  *LYHQ 7ZR 7LPHV D 'D\ WR 6XEMHFWV 7UHDWHG :LWK 6XOIRQ\OXUHD $ORQH 3ULQFLSDO
  LQYHVWLJDWRU VSRQVRU $P\OLQ 3KDUPDFHXWLFDOV

          $Q 2SHQ/DEHO ([WHQVLRQ 6WXG\ WR ([DPLQH WKH /RQJ7HUP (IIHFW RQ
  *OXFRVH &RQWURO +E$F DQG 6DIHW\ DQG 7ROHUDELOLW\ RI $& *LYHQ 7ZR 7LPHV
  D 'D\ WR 6XEMHFWV 7UHDWHG :LWK 0HWIRUPLQ DQG D 6XOIRQ\OXUHD 3ULQFLSDO
  LQYHVWLJDWRU VSRQVRU $P\OLQ 3KDUPDFHXWLFDOV

          (IILFLHQF\ DQG 6DIHW\ RI ,QKDOHG 7HFKQRVSKHUH,QVXOLQ
  &RPSDUHG WR 7HFKQRVSKHUH3ODFHER LQ 3DWLHQWV ZLWK 7\SH  'LDEHWHV 0HOOLWXV
  )ROORZLQJ 'LDEHWHV (GXFDWLRQ 3ULQFLSDO LQYHVWLJDWRU VSRQVRU 0DQQNLQG
  &RUSRUDWLRQ 

         $Q 2SHQ/DEHO 6WXG\ WR ([DPLQH WKH /RQJ7HUP (IIHFW RQ
  *OXFRVH &RQWURO +E$F DQG 6DIHW\ DQG 7ROHUDELOLW\ RI ([HQDWLGH *LYHQ 7ZR
  7LPHV D 'D\ WR 6XEMHFWV :LWK 7\SH  'LDEHWHV 0HOOLWXV 3ULQFLSDO LQYHVWLJDWRU
   VSRQVRU $P\OLQ 3KDUPDFHXWLFDOV




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          $ 0XOWLFHQWHU 5DQGRPL]HG 'RXEOH%OLQG 6WXG\ WR &RPSDUH
  WKH (IIHFW RI  :HHNV 7UHDWPHQW ZLWK YLOGDJOLSWLQ RU 3ODFHER LQ 'UXJ 1DwYH
  3DWLHQWV ZLWK 7\SH  'LDEHWHV 3ULQFLSDO LQYHVWLJDWRU VSRQVRU 1RYDUWLV
  3KDUPDFHXWLFDOV ,QF

           $SLGUD LQVXOLQ JOXOLVLQH $GPLQLVWHUHG LQ D )L[HG %ROXV 5HJLPH
  YV 9DULDEOH %ROXV 5HJLPH %DVHG RQ &DUERK\GUDWH &RXQWLQJ LQ $GXOW 6XEMHFWV
  ZLWK 7\SH  'LDEHWHV 5HFHLYLQJ /DQWXV LQVXOLQ JODUJLQH DV %DVDO ,QVXOLQ $
  0XOWLFHQWHU 5DQGRPL]HG 3DUDOOHO 2SHQ/DEHO &OLQLFDO 6WXG\ 3ULQFLSDO
  LQYHVWLJDWRU VSRQVRU 6DQRIL$YHQWLV 3KDUPDFHXWLFDOV,

           $ 7KUHH <HDU 6DIHW\ DQG 7ROHUDELOLW\ 2SHQ/DEHO )ROORZ2Q
  7ULDO (YDOXDWLQJ 7HFKQRVSKHUH,QVXOLQ LQ 6XEMHFWV ZLWK 7\SH  'LDEHWHV 0HOOLWXV
  3ULQFLSDO LQYHVWLJDWRU VSRQVRU 0DQQNLQG &RUSRUDWLRQ 

          $ 0XOWLFHQWHU 2SHQ/DEHO 3DUDOOHO  5DQGRPL]HG 7UHDW WR 7DUJHW
  7ULDO &RPSDULQJ (IILFLHQF\ DQG 6DIHW\ RI ,QVXOLQ 'HWHPLU 9HUVXV ,QVXOLQ *ODUJLQH
  8VLQJ D %DVDO%ROXV 5HJLPH ZLWK ,QVXOLQ $VSDUW DV 0HDOWLPH ,QVXOLQ LQ 6XEMHFWV
  ZLWK 7\SH  'LDEHWHV 3ULQFLSDO LQYHVWLJDWRU VSRQVRU 1RYR1RUGLVN 

          $ 0XOWLFHQWHU 5DQGRPL]HG 'RXEOH%OLQG 3DUDOOHO'HVLJQ 6WXG\ WR
  (YDOXDWH WKH /LSLG$OWHULQJ (IILFDF\ RI  )RUPXODWLRQV RI 0.$ 3ULQFLSDO
  LQYHVWLJDWRU VSRQVRU 0HUFN &R ,QF

           $ 0XOWLFHQWHU 5DQGRPL]HG 'RXEOH%OLQG 3ODFHER&RQWUROOHG 
  <HDU ([WHQVLRQ RI WKH 3KDVH OOD &OLQLFDO (IILFDF\ 6WXG\  WR $VVHVV WKH
  7ROHUDELOLW\ RI D &RPELQDWLRQ 7DEOHW 3ULQFLSDO LQYHVWLJDWRU VSRQVRU 0HUFN
  &R ,QF

          $ 0XOWLFHQWHU 5DQGRPL]HG 'RXEOH%OLQG 3DUDOOHO *URXS :HHN
  6WXG\ WR (YDOXDWH WKH (IILFDF\ DQG 6DIHW\ RI (]HWLPLEH6LPYDVWDWLQ &RPELQDWLRQ
  7DEOHW 9HUVXV $WRUYDVWDWLQ LQ 3DWLHQWV ZLWK 7\SH  'LDEHWHV 0HOOLWXV DQG
  +\SHUFKROHVWHUROHPLD 3ULQFLSDO LQYHVWLJDWRU VSRQVRU 0HUFN &R ,QF

         (IIHFW RI JO\FHPLF FRQWURO RI OLUDJOXWLGH YHUVXV JOLPHSLULGH LQ
  7\SH  'LDEHWHV 11 VSRQVRU 1RYR 1RUGLVN

         3XOPRQDU\ RXWFRPHV ZLWKLQ D  \HDU SHULRG LQ VXEMHFWV ZLWK
  GLDEHWHV PHOOLWXV WUHDWHG ZLWK VWXG\ GUXJ RU XVXDO DQWLGLDEHWLF WUHDWPHQW DQG LQ




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  VXEMHFWV ZLWKRXW DEQRUPDOLWLHV LQ JOXFRVH FRQWURO 0.&7, VSRQVRU
  0DQQNLQG

          $ ZHHN PXOWLFHQWHU UDQGRPL]HG RSHQODEHO VWXG\ RI
  VWXG\ GUXJ YHUVXV LQVXOLQ LQ SDWLHQWV ZLWK 7\SH  'LDEHWHV PHOOLWXV $&$
   VSRQVRU $P\OLQ 

         $ 0XOWLFHQWHU 5DQGRPL]HG 'RXEOH%OLQG $FWLYH&RQWUROOHG
  3KDVH  7ULDO WR (YDOXDWH WKH (IILFDF\ DQG 6DIHW\ RI 6D[DJOLSWLQ LQ &RPELQDWLRQ
  :LWK 0HWIRUPLQ ,5 DV ,QLWLDO 7KHUDS\ &RPSDUHG WR 6D[DJOLSWLQ 0RQRWKHUDS\ DQG
  WR 0HWIRUPLQ ,5 0RQRWKHUDS\ LQ 6XEMHFWV :LWK 7\SH  'LDEHWHV :KR +DYH
  ,QDGHTXDWH *O\FHPLF &RQWURO VSRQVRU %ULVWRO0\HUV 6TXLEE

         7KH &ROODERUDWLYH 6WXG\ *URXS 7ULDO 7KH (IIHFW RI 6XORGH[LGH
  LQ 2YHUW 7\SH  'LDEHWLF 1HSKURSDWK\ .5;  VSRQVRU .HU\[ 

           7KH &ROODERUDWLYH 6WXG\ *URXS 7ULDO 7KH (IIHFW RI 6XORGH[LGH
  LQ 3DWLHQWV :LWK 7\SH  'LDEHWHV DQG 0LFURDOEXPLQXULD .5;  VSRQVRU
  .HU\[ 

          $ UDQGRPL]HG VLQJOH DQG GRXEOHEOLQG WKUHH DUP SDUDOOHO
  JURXS SODFHER FRQWUROOHG WULDO LQ SDWLHQWV ZLWK 7\SH  'LDEHWHV XQFRQWUROOHG
  GHVSLWH KLJK GRVHV RI LQVXOLQ SOXV LQVXOLQ VHQVLWL]HUV VSRQVRU %ULVWRO0\HUV
  6TXLEE

          $ PXOWLFHQWHU VWXG\ WR HYDOXDWH WKH VDIHW\ WROHUDELOLW\ DQG
  HIILFDF\ RI ( LQ SDWLHQWV ZLWK SDLQIXO GLDEHWLF QHXURSDWK\ (*
   VSRQVRU (LVDL


         $ 0XOWLFHQWHU 5DQGRPL]HG 'RXEOH%OLQG 3ODFHER &RQWUROOHG
  6WXG\ &RPSDULQJ WKH 6DIHW\ DQG (IILFDF\ RI PXOWLSOH GRVHV RI VWXG\ GUXJ YHUVXV
  SODFHER LQ REHVH VXEMHFWV ZLWK 7\SH  'LDEHWHV 0HOOLWXV 1% VSRQVRU
  2UH[LJHQ

          $ 5DQGRPL]HG 'RXEOH%OLQG 3ODFHER &RQWUROOHG  ZHHN
  VWXG\ WR HYDOXDWH WKH HIILFDF\ DQG VDIHW\ RI VWXG\ GUXJ YHUVXV SLRJOLWD]RQH LQ
  VXEMHFWV ZLWK 7\SH  'LDEHWHV ,17 VSRQVRU ,QWHNULQ 7KHUDSHXWLFV




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          $ 5DQGRPL]HG 'RXEOH%OLQG $FWLYH&RQWUROOHG SDUDOOHO JURXS
  HIILFDF\ DQG VDIHW\ VWXG\ RI VWXG\ GUXJ FRPSDUHG WR JOLPHSLULGH RYHU WZR \HDUV LQ
  7\SH  GLDEHWLF SDWLHQWV ZLWK LQVXIILFLHQW JO\FHPLF FRQWURO GHVSLWH PHWIRUPLQ
  WKHUDS\ %,  VSRQVRU %RHKULQJHU ,QJHOKHLP 

          $ 5DQGRPL]HG 'RXEOH%OLQG 3ODFHER &RQWUROOHG SDUDOOHO
  JURXS HIILFDF\ DQG VDIHW\ VWXG\ RI %, RYHU  ZHHNV LQ 7\SH  GLDEHWLF
  SDWLHQWV ZLWK LQVXIILFLHQW JO\FHPLF FRQWURO GHVSLWH PHWIRUPLQ WKHUDS\ %, 
   VSRQVRU %RHKULQJHU ,QJHOKHLP 

           $ PXOWLFHQWHU UDQGRPL]HG SODFHER FRQWUROOHG ¨IDFWRULDO« GHVLJQ 
  PRQWK VWXG\ WR HYDOXDWH WKH HIILFDF\ DQG VDIHW\ RI $9( FRDGPLQLVWHUHG ZLWK
  DOO UHJLVWHUHG VWUHQJWKV RI DWRUYDVWDWLQ LQ SDWLHQWV ZLWK SULPDU\
  K\SHUFKROHVWHUROHPLD ()&  VSRQVRU 6DQRIL$YHQWLV 

          $ PXOWLFHQWHU UDQGRPL]HG SODFHER FRQWUROOHG WULDO RI VWXG\
  GUXJ LQ SDWLHQWV ZLWK 7\SH  GLDEHWHV XQFRQWUROOHG RQ SLRJOLWD]RQH ZLWK RU
  ZLWKRXW PHWIRUPLQ ()&  *(7 *2$/ 3 VSRQVRU 6DQRIL$YHQWLV

         (IIHFW RI JO\FHPLF FRQWURO RI VWXG\ GUXJ RU H[HQDWLGH DGGHG WR
  PHWIRUPLQ VXOSKRQ\OXUHD RU D FRPELQDWLRQ RI ERWK LQ VXEMHFWV ZLWK 7\SH 
  GLDEHWHV 11 VSRQVRU 1RYR 1RUGLVN 

          $ UDQGRPL]HG RSHQODEHO SDUDOOHOJURXS FRPSDUDWRU
  FRQWUROOHG PXOWLFHQWHU VWXG\ WR HYDOXDWH WKH JO\FHPLF HIIHFWV VDIHW\ DQG
  WROHUDELOLW\ RI ZHHNO\ VWXG\ GUXJ LQ VXEMHFWV ZLWK 7\SH  GLDEHWHV PHOOLWXV %&%
   VSRQVRU $P\OLQ

         7KH HIIHFW RI VWXG\ GUXJ FRPSDUHG WR VLWDJOLSWLQ ERWK LQ
  FRPELQDWLRQ ZLWK PHWIRUPLQ LQ VXEMHFWV ZLWK 7\SH  GLDEHWHV $  ZHHN
  UDQGRPL]HG RSHQ ODEHO DFWLYH FRPSDUDWRU WKUHH DUPHG SDUDOOHO JURXS PXOWLFHQWHU
  PXOWLQDWLRQDO WULDO ZLWK D  ZHHN H[WHQVLRQ 11 VSRQVRU 1RYR
  1RUGLVN 

          2EVHUYDWLRQDO 6WXG\ RI 6DIHW\ DQG 7ROHUDELOLW\ RI /HYHPLU
  )OH[3HQ ,QVXOLQ 'HWHPLU LQ WKH 7UHDWPHQW RI 7\SH  DQG 7\SH  'LDEHWHV
  0HOOLWXV




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         (IIHFW RI 7ZR 'LIIHUHQW )DVWLQJ %ORRG *OXFRVH 7DUJHWV RQ
  *OXFRVH &RQWURO LQ 3DWLHQWV :LWK 7\SH  'LDEHWHV 8VLQJ ,QVXOLQ 'HWHPLU 2QFH
  'DLO\ 7,75$7(  VSRQVRU 1RYR 1RUGLVN

         $ UDQGRPL]HG GRXEOHEOLQG SODFHERFRQWUROOHG PXOWLFHQWHU
  3KDVH E VWXG\ WR HYDOXDWH WKH VDIHW\ DQG HIILFDF\ RI VWXG\ GUXJ LQ SDWLHQWV ZLWK
  QHSKURSDWK\ GXH WR 7\SH  'LDEHWHV 3\U VSRQVRU 1HSKUR*HQH[ 

         (IILFDF\ 6DIHW\ DQG 3UHIHUHQFH 6WXG\ RI D &RPSDUDWRU ,QVXOLQ 3HQ
  3'6 YV D 1RYR 1RUGLVN 0DUNHWHG ,QVXOLQ 3HQ LQ 'LDEHWLFV VSRQVRU 1RYR
  1RUGLVN

          $ 3KDVH  5DQGRPL]HG GRXEOH EOLQG SODFHER DQG DFWLYH FRQWUROOHG
  PXOWLFHQWHU VWXG\ WR GHWHUPLQH WKH VDIHW\ DQG HIILFDF\ RI 7$. LQ VXEMHFWV
  ZLWK 7\SH  'LDEHWHV 7$. VSRQVRU 7DNHGD

          $ 3KDVH  PXOWLFHQWHU RSHQ ODEHO UDQGRPL]HG FOLQLFDO WULDO
  HYDOXDWLQJ HIILFDF\ DQG VDIHW\ RI VWXG\ GUXJ LQ FRPELQDWLRQ ZLWK /DQWXV YHUVXV
  +XPDORJ LQ FRPELQDWLRQ ZLWK /DQWXV LQ VXEMHFWV ZLWK 7\SH  'LDEHWHV PHOOLWXV
  RYHU D  ZHHN WUHDWPHQW SHULRG 0.&7, VSRQVRU 0DQQNLQG

          $  ZHHN GRXEOH EOLQG SODFHER FRQWUROOHG WULDO RI /<
  LQ SDWLHQWV ZLWK 7\SH  'LDEHWHV PHOOLWXV 0&*(&' D  VSRQVRU (OL /LOO\ 

          $ UDQGRPL]HG GRXEOH EOLQG SODFHER FRQWUROOHG VWXG\ WR
  DVVHVV VDIHW\ DQG HIILFDF\ RI ,6,6  DV DGGRQ WKHUDS\ LQ KLJK ULVN
  K\SHUFKROHVWHUROHPLF SDWLHQWV ,6,6 &6 VSRQVRU *HQ]\PH ,VLV

          $ 3KDVH  UDQGRPL]HG GRXEOH EOLQG SODFHER FRQWUROOHG
  SDUDOOHO JURXS VDIHW\ DQG HIILFDF\ VWXG\ RI %,  FRPSDUHG WR SODFHER DV DGG
  RQ WR SUHH[LVWLQJ DQWLGLDEHWLF WKHUDS\ RYHU  ZHHNV LQ 7\SH  GLDEHWLF SDWLHQWV
  ZLWK VHYHUH FKURQLF UHQDO LPSDLUPHQW %,  VSRQVRU %RHKULQJHU ,QJHOKHLP

          75; 7KHUDSHXWLF (YDOXDWLRQ RI 'LIIHUHQW 0XOWL'RVH 5HJLPHQV
  LQ 7\SH  'LDEHWHV 0HOOLWXV 77(''  VSRQVRU 7ROHU[ 

         '()(1' 'XUDEOH UHVSRQVH WKHUDS\ HYDOXDWLRQ IRU HDUO\ RU
  QHZ RQVHW 7\SH  'LDEHWHV 75;B'0BB1$ VSRQVRU 7ROHU[




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           $ PXOWLFHQWHU UDQGRPL]HG GRXEOHEOLQG SODFHER FRQWUROOHG
  VWXG\ WR HYDOXDWH WKH VDIHW\ DQG WROHUDELOLW\ RI RUDO VWXG\ GUXJ LQ VXEMHFWV ZLWK
  HXYROHPLF K\SRQDWUHPLD &./; ZLWK RSHQ ODEHO H[WHQVLRQ VSRQVRU
  &DUGLRNLQH

          $ UDQGRPL]HG SODFHER FRQWUROOHG  DUP SDUDOOHO JURXS
  PXOWLFHQWHU VWXG\ ZLWK D  ZHHN GRXEOH EOLQG WUHDWPHQW SHULRG DVVHVVLQJ WKH
  HIILFDF\ DQG VDIHW\ RI VWXG\ GUXJ LQ SDWLHQWV ZLWK 7\SH  'LDEHWHV LQVXIILFLHQWO\
  FRQWUROOHG ZLWK LQVXOLQ JODUJLQH DQG PHWIRUPLQ ()&  VSRQVRU 6DQRIL
  $YHQWLV

          $ WULDO FRPSDULQJ HIILFDF\ DQG VDIHW\ RI 11 DQG LQVXOLQ JODUJLQH
  LQ VXEMHFWV ZLWK 7\SH  'LDEHWHV 11 VSRQVRU 1RYR 1RUGLVN 

          $ UDQGRPL]HG SODFHER FRQWUROOHG FOLQLFDO WULDO WR HYDOXDWH
  FDUGLRYDVFXODU RXWFRPHV DIWHU WUHDWPHQW ZLWK RQFH ZHHNO\ VWXG\ GUXJ LQ SDWLHQWV
  7\SH  'LDEHWHV PHOOLWXV VSRQVRU $P\OLQ WKHQ $VWUD=HQHFD 

         '()(1' 'XUDEOH UHVSRQVH WKHUDS\ HYDOXDWLRQ IRU HDUO\ RU
  QHZ RQVHW 7\SH  'LDEHWHV VSRQVRU 7ROHU[ 

          $ 5DQGRPL]HG 0XOWLFHQWHU 'RXEOH%OLQG 3DUDOOHO 3ODFHER
  &RQWUROOHG 6WXG\ RI WKH (IIHFWV RI -1- RQ &DUGLRYDVFXODU 2XWFRPHV LQ
  $GXOW 6XEMHFWV :LWK 7\SH  'LDEHWHV 0HOOLWXV VSRQVRU -RKQVRQ DQG -RKQVRQ 

          $ 3KDVH  0XOWL&HQWHU 3ODFHER&RQWUROOHG 5DQGRPL]HG
  'RXEOH%OLQG :HHN 6WXG\ WR (YDOXDWH WKH (IIHFW RI 7ZR 'RVHV RI $05 RQ
  )DVWLQJ 6HUXP 7ULJO\FHULGH /HYHOV LQ 3DWLHQWV :LWK 3HUVLVWHQW +LJK 7ULJO\FHULGH
  /HYHOV ≥ PJG/ DQG  PJG/ 'HVSLWH 6WDWLQ 7KHUDS\ 7KH $05
  $1&+25 6WXG\ VSRQVRU $PDULQ

          $ 0XOWLFHQWHU 5DQGRPL]HG $FWLYH&RQWURO 3KDVH % 6WXG\ WR
  (YDOXDWH WKH &DUGLRYDVFXODU 6DIHW\ DQG (IILFDF\ RI VWXG\ GUXJ DQG $OORSXULQRO LQ
  6XEMHFWV :LWK &DUGLRYDVFXODU &RPRUELGLWLHV +\SHUXULFHPLD DQG *RXW VSRQVRU
  7DNHGD

           $Q RSHQ ODEHO UDQGRPL]HG PXOWLFHQWHU VWXG\ WR DVVHVV SDWLHQW
  SUHIHUHQFH IRU DQG HYDOXDWH FOLQLFDO EHQHILW RI LQVXOLQ JODUJLQH /DQWXV
  6ROR67$5 SHQ YHUVXV FRQYHQWLRQDO YLDOV\ULQJH PHWKRG RI LQVXOLQ JODUJLQH
   /DQWXV LQMHFWLRQ WKHUDS\ LQ SDWLHQWV ZLWK W\SH  GLDEHWHV PHOOLWXV 6WXG\ 


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  VSRQVRU 6DQRIL$YHQWLV 

          $ 3KDVH  PXOWLQDWLRQDO UDQGRPL]HG GRXEOHEOLQG SODFHER
  FRQWUROOHG SDUDOOHOJURXS VWXG\ WR LQYHVWLJDWH WKH FOLQLFDO HIILFDF\ DQG VDIHW\ RI
  'LD3HS LQ QHZO\ GLDJQRVHG 7\SH  GLDEHWHV VXEMHFWV VSRQVRU $QGURPHGD
  %LRWHFK 

          %DUGR[RORQH PHWK\O HYDOXDWLRQ LQ SDWLHQWV ZLWK FKURQLF NLGQH\
  GLVHDVH DQG 7\SH  GLDEHWHV WKH RFFXUUHQFH RI UHQDO HYHQWV
   %($&21  VSRQVRU 5HDWD 3KDUPDFHXWLFDOV 


          1DWXUDO +LVWRU\ 6WXG\ RI WKH 'HYHORSPHQW RI 7\SH  'LDEHWHV
  1,+ 7ULDO1HW

          $ 3KDVH E PXOWL&HQWHU GRXEOHEOLQG SODFHERFRQWUROOHG
  SDUDOOHO JURXS VWXG\ WR HYDOXDWH WKH HIIHFW RI 'DOFHWUDSLE  PJ RQ
  FDUGLRYDVFXODU HYHQWV LQ DGXOW SDWLHQWV ZLWK VWDEOH FRURQDU\ KHDUW GLVHDVH &+'
  ULVN HTXLYDOHQWV RU DW HOHYDWHG ULVN IRU FDUGLRYDVFXODU GLVHDVH  VSRQVRU 5RFKH 

           7KH LPSDFW RI /< YHUVXV ,QVXOLQ *ODUJLQH IRU SDWLHQWV
  ZLWK 7\SH  'LDEHWHV PHOOLWXV WUHDWHG ZLWK SUHSUDQGLDO LQVXOLQ /LVSUR D GRXEOH
  EOLQG UDQGRPL]HG  ZHHN VWXG\ 7KH ,PDJLQH  VWXG\ VSRQVRU /LOO\ 

           7KH LPSDFW RI /< YHUVXV ,QVXOLQ *ODUJLQH IRU SDWLHQWV
  ZLWK 7\SH  'LDEHWHV PHOOLWXV DGYDQFHG WR PXOWLSOH LQMHFWLRQ EROXV LQVXOLQ ZLWK
  LQVXOLQ /LVSUR D GRXEOH EOLQG UDQGRPL]HG  ZHHN VWXG\ 7KH ,PDJLQH  VWXG\
   VSRQVRU /LOO\ 


          0RQWK 0XOWLFHQWHU 5DQGRPL]HG 2SHQODEHO 3DUDOOHO
  JURXS 6WXG\ &RPSDULQJ WKH (IILFDF\ DQG 6DIHW\ RI D 1HZ )RUPXODWLRQ RI ,QVXOLQ
  *ODUJLQH DQG /DQWXV ERWK SOXV 0HDOWLPH ,QVXOLQ LQ 3DWLHQWV ZLWK 7\SH  'LDEHWHV
  0HOOLWXV ZLWK D 0RQWK 6DIHW\ ([WHQVLRQ 3HULRG ()&  VSRQVRU 6DQRIL
  $YHQWLV 

          $ PXOWLFHQWHU UDQGRPL]HG GRXEOHEOLQG SODFHERFRQWUROOHG
  VWXG\ DVVHVVLQJ WKH RFFXUUHQFH RI PDMRU DGYHUVH FDUGLRYDVFXODU HYHQWV LQ
  RYHUZHLJKW DQG REHVH VXEMHFWV ZLWK FDUGLRYDVFXODU ULVN IDFWRU UHFHLYLQJ
  QDOWUH[RQH 65EXSURSLRQ 65 VSRQVRU 2UH[LJHQ 7KHUDSHXWLFV


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        (IIHFWV RQ JO\FHPLF FRQWURO DQG ZHLJKW RI D PRGLILHG
  FRPPHUFLDO ZHLJKW FRQWURO SURJUDP IRU SHRSOH ZLWK 7\SH  'LDEHWHV VSRQVRU
  :HLJKW :DWFKHUV ,QWHUQDWLRQDO ,QF

          $ 0RQWK 0XOWLFHQWHU 5DQGRPL]HG 2SHQODEHO 3DUDOOHO
  JURXS 6WXG\ &RPSDULQJ WKH (IILFDF\ DQG 6DIHW\ RI D 1HZ )RUPXODWLRQ RI ,QVXOLQ
  *ODUJLQH DQG /DQWXV ,QMHFWHG LQ WKH 0RUQLQJ RU (YHQLQJ LQ 3DWLHQWV ZLWK 7\SH 
  'LDEHWHV 0HOOLWXV ZLWK D PRQWK 6DIHW\ ([WHQVLRQ 3HULRG VSRQVRU 6DQRIL
  $YHQWLV

          /RQJWHUP VDIHW\ DQG WROHUDELOLW\ RI 5(*16$5 LQ
  KLJK FDUGLRYDVFXODU ULVN SDWLHQWV ZLWK K\SHUFKROHVWHUROHPLD QRW DGHTXDWHO\
  FRQWUROOHG ZLWK WKHLU OLSLG PRGLI\LQJ WKHUDS\ D UDQGRPL]HG GRXEOHEOLQG
  SODFHERFRQWUROOHG VWXG\ VSRQVRU 6DQRIL$YHQWLV

         $ FRPSDULVRQ RI /< RQFH GDLO\ DW D IL[HG WLPH ZLWK
  /< YDULDEOH WLPH RI GRVLQJ LQ SDWLHQWV ZLWK W\SH  GLDEHWHV PHOOLWXV $Q
  RSHQ ODEHO UDQGRPL]HG FURVVRYHU VWXG\ VSRQVRU /LOO\

         (IILFDF\ DQG VDIHW\ RI ),$VS FRPSDUHG WR LQVXOLQ DVSDUW ERWK LQ
  FRPELQDWLRQ ZLWK LQVXOLQ GHWHPLU LQ DGXOWV ZLWK 7\SH  'LDEHWHV RQVHW 
   VSRQVRU 1RYR 1RUGLVN

          $ WULDO FRPSDULQJ FDUGLRYDVFXODU VDIHW\ RI LQVXOLQ GHJOXGHF
  YHUVXV LQVXOLQ JODUJLQH LQ VXEMHFWV ZLWK 7\SH  'LDEHWHV DW KLJK ULVN RI
  FDUGLRYDVFXODU HYHQWV 'HYRWH VSRQVRU 1RYR 1RUGLVN 

           7KH HIILFDF\ DQG VDIHW\ RI OLUDJOXWLGH DV DGMXQFW WKHUDS\ WR
  LQVXOLQ LQ WKH WUHDWPHQW RI 7\SH  'LDEHWHV $GMXQFW 2QH
   VSRQVRU 1RYR 1RUGLVN

           $ UDQGRPL]HG 3KDVH  GRXEOHEOLQG SODFHERFRQWUROOHG
  WUHDWWRWDUJHW SDUDOOHO JURXS DUP PXOWLFHQWHU VWXG\ WR DVVHVV WKH HIILFDF\ DQG
  VDIHW\ RI FDQDJOLIOR]LQ DV DGGRQ WKHUDS\ WR LQVXOLQ LQ WKH WUHDWPHQW RI VXEMHFWV
  ZLWK 7\SH  'LDEHWHV PHOOLWXV VSRQVRU -DQVVHQ

          $ SKDVH  GRXEOHEOLQG SODFHERFRQWUROOHG GRVHUDQJLQJ
  VWXG\ HYDOXDWLQJ WKH HIILFDF\ VDIHW\ DQG WROHUDELOLW\ RI *6 LQ VXEMHFWV ZLWK
  GLDEHWLF NLGQH\ GLVHDVH VSRQVRU *LOHDG 6FLHQFHV


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           $Q RSHQ ODEHO UDQGRPL]HG PXOWLFHQWHU SDUDOOHOJURXS FOLQLFDO
  WULDO FRPSDULQJ HIILFDF\ DQG VDIH\ RI 0\ODQ«V LQVXOLQ JODUJLQH ZLWK /DQWXV LQ 7\SH
   'LDEHWHV PHOOLWXV SDWLHQWV VSRQVRU 0\ODQ

          $ UDQGRPL]HG DFWLYHFRQWUROOHG SDUDOOHO JURXS  ZHHN
  RSHQ ODEHO VWXG\ FRPSDULQJ WKH HIILFDF\ DQG VDIHW\ RI WKH PRUQLQJ LQMHFWLRQ RI
  7RXMHR LQVXOLQ JODUJLQH 8 YHUVXV /DQWXV LQ SDWLHQWV ZLWK 7\SH  'LDEHWHV
  PHOOLWXV VSRQVRU 6DQRIL

           $  ZHHN UDQGRPL]HG RSHQODEHO DFWLYH FRQWUROOHG SDUDOOHO
  JURXS VWXG\ DVVHVVLQJ WKH HIILFDF\ DQG VDIHW\ RI WKH LQVXOLQ JODUJLQHOL[LVHQDWLGH
  IL[HG UDWLR FRPELQDWLRQ LQ DGXOWV ZLWK 7\SH  'LDEHWHV LQDGHTXDWHO\ FRQWUROOHG RQ
  */3 UHFHSWRU DJRQLVW DQG PHWIRUPLQ  SLRJOLWD]RQH IROORZHG E\ D IL[HG UDWLR
  FRPELQDWLRQ VLQJOHDUP  ZHHN H[WHQVLRQ SHULRG VSRQVRU 6DQRIL

         6LPSRQL WR DUUHVW %HWD FHOO ORVV LQ 7\SH  'LDEHWHV VSRQVRU
  -DQVVHQ 

         (IILFDF\ DQG VDIHW\ RI RUDO VHPDJOXWLGH XVLQJ D IOH[LEOH GRVH
  DGMXVWPHQW EDVHG RQ FOLQLFDO HYDOXDWLRQ YHUVXV VLWDJOLSWLQ LQ VXEMHFWV ZLWK 7\SH 
  'LDEHWHV PHOOLWXV VSRQVRU 1RYR 1RUGLVN


         (IILFDF\ DQG VDIHW\ RI IDVWDFWLQJ LQVXOLQ DVSDUW FRPSDUHG WR
  1RYR5DSLG ERWK LQ FRPELQDWLRQ ZLWK LQVXOLQ GHJOXGHF ZLWK RU
  ZLWKRXW PHWIRUPLQ LQ DGXOWV ZLWK 7\SH  'LDEHWHV RQVHW   VSRQVRU 1RYR
  1RUGLVN

          ,%0&,750 $ SURVSHFWLYH UDQGRPL]HG GRXEOHEOLQG
  FRPSDULVRQ RI /< WR ,QVXOLQ /LVSUR ZLWK DQ RSHQODEHO SRVWSUDQGLDO
  /< DUP LQ FRPELQDWLRQ ZLWK LQVXOLQ JODUJLQH RU LQVXOLQ GHJOXGHF LQ DGXOWV
  ZLWK 7\SH  'LDEHWHV 3521727' VSRQVRU /LOO\

          ()& $ UDQGRPL]HG GRXEOHEOLQG SODFHERFRQWUROOHG
  SDUDOOHOJURXS ZHHN PXOWLFHQWHU VWXG\ WR HYDOXDWH WKH HIILFDF\ DQG VDIHW\ RI
  VRWDJOLIOR]LQ LQ SDWLHQWV ZLWK 7\SH  'LDEHWHV ZKR KDYH LQDGHTXDWH JO\FHPLF
  FRQWURO RQ EDVDO LQVXOLQ DORQH RU LQ DGGLWLRQ WR RUDO DQWLGLDEHWHV GUXJV 2$'V 
   VSRQVRU 6DQRIL




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           ()& $ UDQGRPL]HG GRXEOHEOLQG SODFHER FRQWUROOHG
  SDUDOOHO JURXS PXOWLFHQWHU VWXG\ WR GHPRQVWUDWH WKH HIIHFWV RI VRWDJORIOR]LQ RQ
  FDUGLRYDVFXODU DQG UHQDO HYHQWV LQ SDWLHQWV ZLWK 7\SH  'LDEHWHV FDUGLRYDVFXODU
  ULVN IDFWRUV DQG PRGHUDWHO\ LPSDLUHG UHQDO IXQFWLRQ 7KH 6&25(' 7ULDO VSRQVRU
  6DQRIL

          /RQJ WHUP HIIHFWV RI VHPDJOXWLGH RQ GLDEHWLF UHWLQRSDWK\ LQ VXEMHFWV
  ZLWK 7\SH  'LDEHWHV 11 )2&86  VSRQVRU 1RYR 1RUGLVN

          &DUGLRYDVFXODU RXWFRPHV ZLWK RUDO VHPDJOXWLGH LQ VXEMHFWV
  ZLWK 7\SH  'LDEHWHV 11 628/  VSRQVRU 1RYR 1RUGLVN




  ;9,,, 6SHDNHUV %XUHDXV DQG $GYLVRU\ %RDUGV FXUUHQW
          /LOO\



  0D\  




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                                  CURRICULUM VITA

                               Daniel Weiss MD CDCES




  I. OFFICE ADDRESS

         St. George Endocrine and Diabetes Clinic
         1424 East Foremaster Drive, Suite 140
         St. George, UT 84790
         Telephone: 435-251-2888
         FAX: 435-251-2878




  II. PERSONAL DATA

         Birthplace                                 New York
         Citizenship:                               U.S.A.

  III. EDUCATION

         Year:               Degree:                Institution:
         1975                B.A.                   Columbia University
                             (major: chemistry)     New York, New York

         1979                M.D.                    University of Texas,
                                                    Southwestern Medical Center
                                                    Dallas, Texas




  IV. POST GRADUATE EDUCATION

         Year:               Position:              Institution:
         July 1979-June 1980 Intern, Internal       Upstate Medical Center
                             Medicine               Syracuse, New York
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 Daniel Weiss MD



          July 1980-July 1982 Resident, Internal     University of Iowa Hospitals
                              Medicine               Iowa City, Iowa

          July 1982-July 1984 Fellow-Associate       Division of Endocrinology-
                                                     Metabolism
                                                     University of Iowa Hospitals
                                                     Iowa City, Iowa


  V. APPOINTMENTS: ACADEMIC AND CLINICAL

          Year:              Position:               Institution:
          July 1984-June1986 Associate in            Division of Endocrinology-
                             Internal Medicine       Metabolism
                                                     University of Iowa Hospitals
                                                     Iowa City, Iowa

          July1986-June1993 Clinical Instructor     Case Western Reserve
                            University, School of Medicine, Cleveland, Ohio

          June1987-April 2003                          Endocrinologist
          UniversityMednet,
                                                     Cleveland, OH


          July1993- June 2010 Clinical Assistant Prof. Case Western Reserve
                                                       University, School of
                                                       Medicine, Cleveland, Ohio
                              (resigned after lengthy training was demanded for
                              new in-hospital computer software)


          July 1989-April 2003 Chief of              UniversityMednet,
                               Endocrinology         Diabetes Self-Management
                                                     Center, Cleveland, OH

          January 2005        Medical Director       Joslin Diabetes Center
          to June 2007                               Affiliate at St Vincent Charity
                                                     Hospital, Cleveland, Ohio


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          April 2003 to December 2019             Director/Your Diabetes Endocrine
                                                         Nutrition Group, Inc

          April 2003-April 2021             Research Director/Your Diabetes
                                                      Endocrine Nutrition Group, Inc.
  .

          January 2020 to 2022                Endocrinologist: Lake Health
                                                        Physician Group


          January 2023 to present             Endocrinologist:
                                                 St. George Endocrine and Diabetes
                      Clinic,                         St. George, UT




          2014-to 2022          Adjunct Clinical Faculty, Kent State University
                                                         College of Nursing




          2015 to 2022          Adjunct Clinical Assistant Professor,
                                Dept of Specialty Medicine
                                Ohio University Heritage College of Osteopathic
                                Medicine


  VI. CERTIFICATION AND LICENSURE

          A. Certification (all active and current)

          Board:                                            Date:         Number:


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 Daniel Weiss MD

          National Board of Medical Examiners              7-1980       218840
          American Board of Internal Medicine              9-1982       087265

          ABIM-Endocrinology/Metabolism                   11-1985     087265
          American Board of Physician Nutrition Specialists     12/2002-11/2012

          National Certification Board for Diabetes Educators 11/1987     0872-3550
          National Certification Board for Diabetes Educators 5/1992      0872-3550
          National Certification Board for Diabetes Educators 10/1997     0872-3550
          National Certification Board for Diabetes Educators 05/2002     0872-3550
          National Certification Board for Diabetes Educators 10/2007     0872-3550
          National Certification Board for Diabetes Educators 10/2012     0872-3550
          National Certification Board for Diabetes Educators 10/2017     0872-3550
          National Certification Board for Diabetes Educators 10/2022     0872-3550




          Diplomate, American Board of Obesity Medicine          1-2012 to present


          Other:
          Continuing Research Education Credit Program with Case Western Reserve
          University: certification through September 30, 2014.

          American Heart Association: Basic Life Support for Healthcare Providers

                                                       October 2008, December 2019

          American Heart Association Advanced Cardiac Life Support
                                                              November 2008

          Certified Principal Investigator: Association of Clinical Research
          Professionals and the Academy of Pharmaceutical Physicians and
          Investigators         First granted in April 2009
                                Renewed in 2011
                                Renewed in 2013
                                Renewed in 2015
                                Renewed in 2019 set to expire 2023


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  Fellow of the Academy of Physicians in Clinical Research:
                            2/2016 -05/2021


  B. Licensure

          State:             Date:                   Status:    Number:

          Iowa               8-1980                  inactive   22196
          Illinois           7-1981                  inactive   036-062386
          Ohio               4-1986                  active     35-053498
            Utah             05-2022                 active     12874686-1205




  VII. MAJOR COURSES AND MEETINGS ; CONTINUING MEDICAL EDUCATION

        1. "Review of Endocrinology" National Institutes of Health, Foundation for
  Advanced Education in the Sciences, Washington, D.C. October 10-14, 1985. 40
  hours of Category 1 credit.

         2. Medical Knowledge Self Assessment Program VII, completed fall 1986
  with full AMA Category 1 credit.

        3. Annual Endocrine Society and American Diabetes Association Meetings:
  June 1988, New Orleans, LA. 35 hours of AMA Category 1 credit.

        4. American College of Physicians Medical Knowledge Self-Assessment
  Program VIII, completed fall 1989. 153 hours of Category 1 credit.

        5. A Current Review of Pediatric Endocrinology-1989. Sponsored by the
  Lawson Wilkins Pediatric Endocrine Society and Serono Symposia, USA. April
  1989, Washington, D.C.. 25 hours of Category 1 credit.

       6. Annual Endocrine Society Meeting: June 1989, Seattle, WA. 30 hours of
  AMA Category 1 credit.


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        7. Clinical Management of Lipid Disorders, April 1991, at the Washington
  University School of Medicine, St Louis, Mo. 23 hours of Category 1 credit.

        8. 14th International Diabetes Federation Congress Scientific Sessions:
  June 1991, Washington, D.C. 24 hours of Category 1 credit.

         9. Clinical Management of Lipid Disorders Follow-up Course, September
  12, 1992 at the Washington University School of Medicine, St Louis, Mo. 5.75
  hours of Category 1 credit.

         10. 44th Postgraduate Assembly of The Endocrine Society, October 10-14,
  1992 in Boston, MA. 27.3 hours of Category 1 credit.

         11. 74th Annual Session of the American College of Physicians, April 1-4,
  1993 in Washington, D.C. 24 hours of Category 1 credit.

        12. Third International Symposium on Osteoporosis., March 2-5, 1994 in
  Washington, D.C.. 22 hours of Category 1 credit.

         13. Psychiatric Update. Cleveland Clinic Foundation. April 9, 1994, in
  Cleveland, OH. 6.5 Category 1 credits.

         14. New Developments in Obsessive Compulsive Disorders. University of
  Texas at San Antonio Teleconference. May 3, 1995. 1 Category 1 credit

         15. 55th Annual Meeting of the American Diabetes Association, June 10-
  13, 1995 in Atlanta, GA. 23. 5 hours of AMA Category 1 credit.

        16. American College of Physicians Medical Knowledge Self-Assessment
  Program X. 58 Category 1 credits. 1995.

        17. Recent Advances in Paget's Disease of Bone and Related Bone
  Diseases, March 9, 1996 in Bethesda, Maryland. 8 Category 1 credits.

        18. Tenth International Congress of Endocrinology and ancillary symposia,
  June 12-15, 1996 in San Francisco, California. 40.5 AMA Category 1 credits.

         19. 57th Annual Meeting of the American Diabetes Association, June 21-
  24, 1997 in Boston, MA. 27 hours of AMA Category 1 credit.


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         20. Sixth International Symposium on the Maillard Reaction. July 27-30,
  1997 in London, England. 15 Category1 credits.

         21. Treatment advances in post-partum (psychiatric) disorders. November
  7, 1997. Cleveland, Ohio. 5.5 Category 1 credits.

         22. Conquering Diabetic Complications. Cleveland, Ohio. 4 Category 1
  credits. 1998

         23. American Society of Bone and Mineral Research. Annual Meeting. San
  Francisco, CA. December 1-5, 1998. 24.5 AMA Category 1 credits

         24. 59th Annual Meeting of the American Diabetes Association, June 19-
  22, 1999 in San Diego, California. 33.5 hours of AMA Category 1 credits.

        25. 82nd Annual Meeting of the Endocrine Society, June 21-24, 2000 in
  Toronto, Canada. 37 hours of AMA Category 1 credits.

         26. 61st Annual Scientific Sessions of the American Diabetes Association,
  June 22-26, 2001 in Philadelphia, Pennsylvania. 32 hours of AMA Category 1
  credits.

         27. 84th Annual Meeting of the Endocrine Society, June 19-22, 2002 in San
  Francisco, California. 26 hours of AMA Category 1 credits.

         28. ACCORD Training Session presented by the National Heart Lung and
  Blood Institute. Charleston, South Carolina. January 14-17, 2003. 15 Category 1
  credits.

         29. American Society of Nephrology. November 14-17, 2003. San Diego,
  California. 30 hours of AMA Category 1credits.

         30. 64th Scientific Sessions of the American Diabetes Association, June 4-8,
  2004 in Orlando, Florida. 29 AMA Category1 credits.

         31. 65th Scientific Sessions of the American Diabetes Association, June 10-
  14, 2005 in San Diego, California. 29 hours of AMA Category 1 credits.




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         32. North American Association for the Study of Obesity. The Obesity
  Society. 2005 Annual Scientific Meeting. Vancouver, BC Canada. October 15-19.
  2005. 25 hours of AMA Category 1 credits.

       33. Spotlight on patient safety: preventing medical errors. Medical Risk
  Management, Inc. web course. February 19, 2006. 6 AMA Category 1 credits.

        34. Disclosure of medical errors. Medical Risk Management, Inc. web
  course. March 4, 2006. 4 hours of AMA Category 1 credits.

         35. North American Association for the Study of Obesity, The Obesity
  Society, 2006 Annual Scientific Meeting. Boston, MA. October 20-24, 2006. 22
  hours of AMA PRA Category1 credits.

          36. 67th Scientific Sessions of the American Diabetes Association in
  Chicago, IL. June 22-26, 2007. 29 hours of AMA Category 1 credits including
  satellite symposia.

        37. National Kidney Foundation 2008 Spring Clinical Meetings in Dallas,
  TX. April 2-6, 2008. 15.3 hours of AMA Category 1 credits.

        38. 90th Annual Meeting of The Endocrine Society in San Francisco, CA.
  June 14-17, 2008. 30.5 hours of AMA Category 1 credits.

       39. The Obesity Society 2008 Annual Scientific Meeting and satellite
  symposia, Phoenix, AZ. October 3-7, 2008. 24.25 hours of AMA Category1 Credits.

         40. 69th Annual Scientific Sessions of the American Diabetes Association in
  New Orleans, LA. June 5-9, 2009. 29.25 hours of AMA Category 1 credits
  (including 2 satellite symposia).

         41. Diabetes Symposium for Primary Care Providers. Lake Health. April 28,
  2010. 4 Category 1 credits.

          42. 71st Scientific Sessions of the American Diabetes Association in San
  Diego, CA. June 24-28, 2011. 28 hours of AMA Category 1 credits including
  satellite symposia.

       43. Risk Management Consult: failure to diagnose cancer. Medical Risk
  Management online course. April 10, 2012. 7 hours of AMA Category 1 credits.


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         43. 72nd Scientific Sessions of the American Diabetes Association in
  Philadelphia, PA. June 8-12, 2012. 21.5 hours of AMA Category 1 credits.

         44. 30th Annual Scientific Meeting of the of The Obesity Society in San
  Antonio, TX. September 20-24, 2012. 25 hours of AMA Category 1 Credits
  including satellite symposia.

         45. National Kidney Foundation 2013 Spring Clinical Meetings in Orlando,
  FL. April 3-6, 2013. 13 hours of AMA Category 1 credits.

         46. Ohio River Regional AACE Annual Meeting in Beachwood, OH, August
  2-3, 2013. 9.5 hours of AMA Category 1 credits.

         47. Obesity Week: ASMBS 30th Annual Meeting and the Obesity Society
  31st Annual Scientific Meeting and satellite symposia in Atlanta, GA. November
  13-16, 2013. 19.25 hours of AMA Category 1 credits.

         48. 74th Scientific Sessions of the American Diabetes Association in San
  Francisco, CA. June 13-17, 2014. 28.25 hours of AMA Category 1 credits.

        49. International Lyme and Associated Disease Society Annual Scientific
  Conference, Washington, D.C. October 10-12, 2014. 18.75 Category 1 credits.

        50. Obesity Week, 32nd Annual Scientific Meeting of the Obesity Society.
  Boston, MA. November 3-6, 2014. 10.5 Category 1 credits.

        51. Applying functional medicine in clinical practice. March 23-27, 2015.
  Tucson, AZ. 31.75 Category 1 credits.

        52. Risk management consult: repairing difficult patient relationships.
  Medical Risk Management, Inc. online course. April 8, 2015. 6 Category 1 credits.

          53. Drexel University ILADS Conference: tick borne and other chronic
  infections, research and practice. April 10-11, 2015. Philadelphia, PA. 12.75
  Category 1 credits.

         54. Institute for Functional Medicine 2015 Annual International
  Conference: The “Omics” Revolution, Nature and Nurture. May 28-30, 2015.
  Austin, Tx. 12.75 Category 1 credits.


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        55. 75th Scientific Sessions of the American Diabetes Association. Boston,
  MA. June 5-9, 2015. 25.75 Category 1 credits.

        56. 72nd Annual Meeting of the American Association of Physicians and
  Surgeons. St. Louis, MO. October 1-3, 2015. 14.5 Category 1 credits.

        57. 76th Scientific Sessions of the American Diabetes Association. New
  Orleans, LA., June 5-10-14, 2016. 27.25 Category 1 credits.

         58. 2016 International Lyme and Associated Disease Society Annual
  Scientific Conference. November 4-6, 2016. Philadelphia, PA. 17.5 Category 1
  credits.

         59. 77th Scientific sessions of the American Diabetes Association. San
  Diego, CA. June 9-13, 2017. 23.5 Category 1 credits.

         60. 78th Scientific sessions of the American Diabetes Association. Orlando,
  FL. June 22-26, 2018. 26 Category 1 credits.

         61. CITI program Good Clinical Practice for clinical trials with
  investigational drugs and medical devices US FDA focus. 6 Category 1 credits.
  November 1, 2018.

         62. Ohio State Coroners Association Death Certificate Training. 2 Category
  1 credits (AMA). December 5, 2020.

        63. Long term complications of bariatric surgery. 10 Category 1 credits
  (AMA). January 12, 2021.

          64. Annals of Internal Medicine review. 3 Category 1 credits. May 2021.




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  VIII. SPECIAL HONORS AND AWARDS

          Date:              Award:
          5-84               Teacher of the Year by Senior Medical Students:
                             University of Iowa College of Medicine

          1-87               Top Doctors of Cleveland (Endocrinologists):
                             Cleveland Magazine

          3-87               Physician's Recognition Award for
                             Continuing Medical Education: American Medical
                             Association

          1-90                Physician's Recognition Award for Continuing
          Medical Education: American Medical Association

          11-92              Fellowship status in the American College of
                             Physicians

          7-10               American Diabetes Association Circle of Hospitals
                             Award

          2012               Cleveland Super Doctors




  IX. Special Roles
         04-93               Participant in American Board of Internal Medicine
                             re-certification program

          08-94;             Relevance reviewer for certification and
          11-96              re-certification exam in Endocrinology, Diabetes and
                             Metabolism: American Board of Internal Medicine

          06-99 to 04-03     Physician representative: Quality Management
                             Committee, Cigna Health Care of Ohio




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          8-02 to present    Manuscript reviewer for Cleveland Clinic Journal of
                             Medicine

          2003, 2005         Manuscript reviewer for Endocrine Practice


          2006 to 2014       Diabetes Care Committee, LakeHealth
                             Principal author: inpatient subcutaneous insulin
                             order set, diabetic ketoacidosis order set

          8-2007 to 2/2010;
          10/2011 to 2021   Member, Pharmacy and Therapeutics sub-committee,
          Buckeye Community Health Plan

          2/2010 to 7/2010   Member Medical Management sub-committee,
                             Buckeye Community Health Plan. Resigned

          2009, 2010         Manuscript reviewer for Endocrine (Humana Press)

          2009 to 2018         Member, Nutrition Committee of the American
          Association of Clinical Endocrinologists

          2009 to present    Manuscript reviewer for American Journal of
                             Physiology, Heart and Circulatory Physiology

          2009               Item writer for Obesity Medicine Physician
                             Certification Examination

          2010, 2011         Certified Obesity Medicine Physician Examination:
                             workshop contributor and attendee

          2011 to 2020       Peer reviewer in endocrinology for Kepro, Keystone
                             Peer Review Organization

          2011 to 2014       Board of Directors, American Board of Obesity
                             Medicine

          2013 to 2017       Member, Program Committee, Diabetes Partnership
                             of Cleveland


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          2011 to 2020           Member, Item writing committee, American Board of
                                 Obesity Medicine examination

          2015-present           Manuscript reviewer, Annals of Internal Medicine




  X. HOSPITAL STAFF PRIVILEGES

  Hospital:                                                Department:

  Former because of relocation or resignation:
          University of Iowa Hospitals and Clinics         Internal Medicine
          Iowa City, Iowa


          University Hospitals of Cleveland                Internal Medicine/
          Cleveland, Ohio                                  Endocrinology
                                                           Part-time

          Hillcrest Hospital
          Cleveland Clinic Health System                   Internal Medicine/



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          Mayfield Heights, Ohio                           Endocrinology
                                                           Consulting




          Lake Health (now part of University Hospitals)          Internal Medicine/
          Willoughby, Ohio                                         Endocrinology
                                                                   Consulting


  Present:

          St. George Regional Hospital,                     Endocrinology
          Intermountain Health Care,
          St. George, UT




  XI. CURRENT PROFESSIONAL AFFILIATIONS

          1985-present        Doctors for Disaster Preparedness

          1985-present        American Diabetes Association, Professional
                              Section

          1986-2017           Diabetes Association of Greater Cleveland (Diabetes
                              Partnership of Cleveland

          1987-present        Association of American Physicians and Surgeons

          1987-2020           International Diabetes Federation

          1987-2023           American Association of Diabetes Educators

          1989-2022           American Society for Bone and Mineral Research


          1990-2022           The Endocrine Society


          1992 -present       American Association of Clinical Endocrinologists



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          1992-2014          American College of Physicians, Fellow


          1994-present       American Heart Association, Premium Professional
                                                  Gold Heart Member


          2003-2020          Ohio State Medical Association


          2003-2015          American Society of Hypertension


          2003-2010      American Medical Association


          2004-2021      North American Association for the Study of Obesity
                                                  (The Obesity Society)


          2005-2021      Academy of Physicians in Clinical Research

          2008-2010      American Chemical Society

          2010-2013      Docs 4 Patient Care

          2010-present   American Society of Nutrition

          2012-present   American Association for the Advancement of
                         Science

          2012-2015      Academy of Nutrition and Dietetics

          2014-2015      American Colleges of Sports Medicine

          2016-present   Bone Health and Osteoporosis Foundation

          2017-2020      International Society of Clinical Densitometry

          2018 –2022     National Lipid Association member




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  XII. BIBLIOGRAPHY

          A. Published or in Press or in Preparation
          1. Weiss, D.: Human Insulin, Drug Therapy Review. Iowa Medicine,
          Journal of the Iowa Medical Society 1984; 74:116-118

          2. Weiss, D., Bar, R.S. Weidner, N., Wener, M., Lee, F.: Oncogenic
          Osteomalacia: Strange Tumors in Strange Places. Postgraduate Medical
          Journal 1985; 61: 349-355

          3. Weidner, N., Bar, R.S., Weiss, D., Strottmann, M.P.: Neoplastic
          Pathology of Oncogenic Osteomalacia/Rickets. Cancer 1985; 55: 1691-
          1705

          4. Weiss, D., Bar, R.S., Weidner, N.: Oncogenic Osteomalacia. Annals
          of Internal Medicine 1985; 102: 557

          5. Weiss D. Hyperglycemia During Physical Stress. Amer J Med. 1996;
          100: 374.

          6. Hyperhomocysteinemia in Hypothyroidism. Annals of Internal Med
          2000; 132: 677.




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          7. Weiss, D.: How to Help Your Patients Lose Weight: Current Therapy for
          Obesity. Cleveland Clinic J Med 2000: 67: 739-54.

          8. Weiss D. Acarbose for the prevention of diabetes. Cleveland Clinic J Med
          2003; 70: 1088.

          9. Weiss, D. Management of diabetes should be a team approach.
          American Family Physician 2007; 75: 979.

          10. Weiss, D. co-author. Evolution of the lipid trial protocol of the Action
          to Control Cardiovascular Risk in Diabetes (ACCORD) trial. Am J Cardiol
          2007; 99 (12A): 56i-67i.

          11. Weiss, D. co-author. Effect of intensive treatment of hyperglycemia on
          microvascular outcomes in type 2 diabetes: an analysis of the ACCORD
          randomized trial. Lancet 2010; 376: 419-430.

          12. Weiss, D., Mechanick J. Dietary Supplements, Nutraceuticals, and
          Functional Foods, chapter of the Nutrition section of the 2011 edition of
          the American College of Endocrinology Self Assessment Program (ASAP).

          13. Weiss, D. Bariatric surgery, vitamin C, and kidney stones. Cleveland
          Clinic J Med 2010; 77: 844.2010.

          14. Empty sella co-authored chapter in: 5 Minute Clinical Consult 2014.

          15. Weiss, D. “reviewer”, involved in writing process, for American
          Association of Clinical Endocrinologists’ position statement on clinical
          nutrition and health promotion in endocrinology.
          Endocrine Practice 2012; 18: 633-41.

          16. Weiss, D. Functional foods, dietary supplements and nutraceuticals.
          Chapter of the Nutrition Section of the 2014 edition of the American
          College of Endocrinology Self Assessment Program (ASAP)

          17. Weiss, D. co-author. Paradoxical reduction in HDL-C with fenofibrate
          and thiazolidinedione therapy in Type 2 Diabetes: the ACCORD Lipid
          trial. Diabetes Care 2014; 37: 686-693.




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          18. Weiss, D. Diabetes therapy and cancer risk. Cleve Clinic J Med 2014;
          81: 714.

          19. Weiss, D. Starting insulin therapy. Cleve Clinic J Med 2015 82:638.

          20. Weiss, D. co-author. Randomized controlled trial of a nationally
          available weight control program tailored for adults with Type 2 Diabetes.
          Obesity. 2016; 24: 2269-2277.

          21. Weiss D, Weiss MF. Lyme disease. Ann Intern Med 2016; 165: 676-
          677.


        22. Weiss, D. co-author. Impact on psychosocial outcomes of a nationally
        available weight management program tailored for individuals with Type 2
  Diabetes: results of a randomized controlled trial. J Diabetes and its
  Complications. http://dx.doi.org/10.1016/j.jdiacomp.2017.01.022



          23. Weiss, D. co-author. Association of fenofibrate therapy with long-term
          cardiovascular risk in statin-treated patients with Type 2 diabetes.
          2017 JAMA Cardiology; 2: 370-380.

          24. Weiss, D co-author. Changes in weight control behaviors and hedonic
          hunger in a commercial weight management program adapted for
          individuals with type 2 diabetes. 2020 International Journal of Obesity; 44:
          990-98.

          25. Weiss, D co-author. Understanding inhaled Technosphere Insulin:
          results of an early randomized trial in Type 1 Diabetes. 2021 J Diabetes;
          13:164-72.


          26. Weiss, D. Long term complications of bariatric surgery. 2021
          JAMA 2021; 325: 186.




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  XII.    INDEPENDENT RESEARCH PRESENTATIONS

         1. Weiss MF, Weiss D. Is osteoporosis a vector-borne infection or a
  complication of treatment? 2016 International Lyme and associated diseases
  society annual scientific conference. Philadelphia, PA. November 4-6, 2016.




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  XIII. PRESENTATIONS TO MEDICAL PROFESSIONALS

          1. Anticoagulation with Heparin: Efficacy, Monitoring, and Adverse
          Effects. Clinical Pharmacology Seminar, U of Iowa , March 31, 1981


          2. Snake Venom Poisoning in the United States
          Internal Medicine Grand Rounds, U of Iowa, August 20, 1981


          3. Cryptococcal Meningitis
          Infectious Disease Grand Rounds, U of Iowa, November 1981
          Rheumatology-Immunology Grand Rounds, U of Iowa, January1982

          4. Tetanus. Internal Medicine Grand Rounds, U of Iowa, January 21, 1982

          5. Primary Hyperparathyroidism
          Internal Medicine Residents' Conference, U of Iowa, April 23, 1982

           6. Aldosterone and Its Deficiency States
          Endocrinology-Metabolism Conference, U of Iowa, October 15, 1982

           7. Hyperprolactinemia and Erectile Dysfunction
          Endocrinology-Metabolism Conference, U of Iowa, February 18, 1983

          8. The Effect of Non-Systemic Glucocorticoids on the Hypothalamic-
          Pituitary- Adrenal Axis Endocrinology-Metabolism Conference,
          U of Iowa, August 19, 1983

           9. Familial Euthyroid Hyperthyroxinemia
          Endocrinology-Metabolism Conference, U of Iowa, October 21,1983




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          10. Central Diabetes Insipidus
          General Medicine Conference, U of Iowa, March 20, l984

          11. Endocrine Dysfunction in Sarcoidosis
          Endocrinology-Metabolism Conference, U of Iowa, May 11, l984

          12. Thyroid Hormone Resistance
          Endocrinology-Metabolism Conference, U of Iowa, July 12, 1985

          13. Humoral Hypercalcemia of Malignancy. Does Ectopic
          Hyperparathyroidism Exist?
          Clinical Endocrinology Conference, U of Iowa, August 13, 1985

        14. Thyroid Hormone Therapy. Adverse Cardiovascular Effects and the
  Problem of Myxedema Coma. General Medicine Conference, U of Iowa,
  December 10, 1985

          15. The Thyroid: State of the Art Lecture Series
          Department of Internal Medicine, U of Iowa, December 20, 1985


          16. Diabetes Mellitus Update
          Family Practice Conference, St. Luke’s Davenport (Iowa) Family
          Practice Residence Program, January 8, 1986


          17. Disorders of Calcium Metabolism
          Endocrine section second year medical student course, U of Iowa
          March 11, 1986

          18. Clinical Approach to Disorders of Calcium, Phosphorus and
          Magnesium. Mt. Sinai Medical Center, Cleveland, Ohio
          Department of Emergency Medicine -July 25, 1986
          Department of Internal Medicine-August 11, 1986

          19. Hormone Resistant States
          Mt. Sinai Medical Center, Cleveland, Ohio
          Medical Resident's Journal Club - August 25, 1986

          20. Diabetes Mellitus: Clinical Update


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        Brentwood Hospital, Warrensville Heights, Ohio                  Residents'
  and Staff Conference - September 8, 1986

          21. Metabolic Bone Disease with a Focus on Oncogenic Osteomalacia
          Mt. Sinai Medical Center, Cleveland, Ohio
          Orthopedic Surgery Grand Rounds - October 22, 1986

          22. Diabetic Ketoacidosis
          Mt. Sinai Medical Center, Cleveland, Ohio
          Department of Emergency Medicine- December 18, 1986

          23. Understanding Thyroid Function Tests
          Mt. Sinai Medical Center, Cleveland, Ohio
          Department of Internal Medicine, Endocrine lecture series
          January 9, 1987

          24. Peri-partum Thyroid Disease
          Mt. Sinai Medical Center, Cleveland, Ohio
          Obstetrics and Gynecology Grand Rounds - January 17, 1987

          25. The Diagnosis of Hypo- and Hyperthyroidism: Recognition of
          Confusing Presentations. Mt. Sinai Medical Center, Cleveland, Ohio
          Internal Medicine Grand Rounds -February 4, 1987

          26. Diabetes Mellitus: Clinical Update
          Youngstown Osteopathic Hospital, Youngstown, Ohio.
          February 5, 1987

          27. Diabetes Mellitus: Clinical Update with a Focus on Type II Diabetes
          Wadsworth-Rittman Hospital, Wadsworth, Ohio
          Internal Medicine Grand Rounds - March 25, 1987

          28. The Diagnosis of Hypo- and Hyperthyroidism: Recognition of
          Confusing Presentations.
          Hillcrest Hospital Medical Rounds- September 8, 1987.

          29. Drug Effects on Thyroid Hormone Homeostasis.
          Greater Cleveland Academy of Pharmacy - September 16, 1987

          30. The Solitary Thyroid Nodule.


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          Warren Clinic, Warren, Ohio - October 21, 1987

          31. Thyroid Hormone Resistance
          Cleveland Clinic Foundation, Cleveland, Ohio
          Endocrinology Grand Rounds - April 29, 1988

          32. Diagnosing Hyperthyroidism and Hypothyroidism. Recognizing
          Confusing Presentations.
          Euclid General Hospital Grand Rounds- May 19, 1988.

          33. Evaluation of the Enlarged Thyroid.
          Mt. Sinai Medical Center, Cleveland, Ohio
          Department of Internal Medicine, Noon lecture series- June 2, 1988.

          34. Diabetes Update: Patient Education Programs; What Good Are They?
          And Human Insulin: Indications and Use. Mednet Department of Internal
          Medicine. November, 1988.

          35. Clinical Approach to Thyroid Disease.
          Mt. Sinai Internal Medicine Residents Noon Conference. May 1989

          36. Clinical Aspects of Thyroid Disease. Mt. Sinai Internal Medicine
          Residents Noon Conference. February 16, 1990.

          37. Managing Diabetes in the 1990's. Ashtabula County Medical Center
          May 10, 1990.

          38. Clinical Aspects of Blood Lipids. University Mednet Department of
          Internal Medicine. July 10, 1990.

          39. Clinical Aspects of Blood Lipids. University Mednet Department of
          Internal Medicine. December 10, 1990.

          40. Clinical Aspects of Blood Lipids, Part 1. University Mednet
          Department of Internal Medicine and Family Practice. May 30, 1991

          41. Clinical Aspects of Blood Lipids, Part 2. University Mednet
          Department of Internal Medicine and Family Practice. June 18, 1991




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         42. Clinical Aspects of Blood Lipids, Part 3. University Mednet
         Department of Internal Medicine and Family Practice.            September
  25, 1991

          43. Oncogenic Osteomalacia. Tracking the Source of the Evil Humor.
          Case Western Reserve University School of Medicine
          Endocrine Grand Rounds. March 19, 1992.

          44. Practical Tips in the Management of Diabetes Mellitus. Part 1.
          University Mednet Physicians. April 14 , 1992.

          45. Practical Tips in the Management of Diabetes Mellitus. Part 2.
          University Mednet Physicians. May 19, 1992

          46. Treatment Approaches in Patients with Type II Diabetes Mellitus.
          Internal Medicine/Family Practitioners, Canton, Ohio. May 27, 1992

         47. No-Nonsense Diabetes Management. A Symposium for Primary Care
  Physicians. Therapeutic Options-Type II (Insulin; Oral Agents).
         Cleveland Hilton South. June 3, 1992

        48. Diabetes mellitus. University Mednet Nursing Staff. Beachwood, Ohio.
  September 17, 1992.

          49. Diabetes: Essentials of Good Care. Internists and Family
          Practitioners. Pepper Pike, Ohio. September 24, 1992.

          50. Diabetes mellitus. Focus on Type II. Family practitioners.
          October 20, 1992.

          51. Diabetes mellitus: Essentials of Good Care. Internists and Family
          Practitioners. Akron, Ohio. October 22, 1992.

          52. Thyrotalk. University Mednet internists. Beachwood, Ohio.
          November 10. 1992.

          53. Treatment of Dyslipidemia. Cleveland Society of Hospital
          Pharmacists. Independence, Ohio. November 25, 1992.




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          54. Diabetes mellitus: Focus on treatment of Type II patients. Canton
          Veterans Administration Outpatient Clinic. February 4, 1993.

          55. Oncogenic osteomalacia. Hadassah Medical Center - Ein Kerem,
          Department of Endocrinology, Jerusalem, Israel. June 14, 1993.

          56. Clinical Management of Dyslipidemia. Family practitioners,
          Mentor, Ohio. July 13, 1993.

          57. The Management of Diabetes. 4th Annual Westside Seminar of the
          Cleveland Academy of Osteopathic Medicine. September 18, 1993

          58. Hypo- and Hyperthyroidism. Ashtabula area practitioners.
          Ashtabula, Ohio. October 28, 1993

          59. Diabetes Update: Focus on the DCCT. University Mednet Physicians
          and Nurses, Beachwood, Ohio. January 31, 1994.

          60. Diabetes Update: Focus on the DCCT. University Mednet Physicians
          and Nurses, Bedford, Ohio. February 3, 1994.

          61. Thyroid Disorders and Laboratory Assessment. University Mednet
          Laboratory Staff. Euclid, Ohio. July 7, 1994

          62. Diabetes Update. American Philippine Physicians Organization.
          Cleveland, Ohio. August 26, 1994.

          63. Hypercholesterolemia and its Management. Internal Medicine
          Physicians. Beachwood, Ohio September 23, 1994.

          64. Diabetes Update: Focus on the DCCT. University Mednet Physicians
          and Nurses. Mentor , Ohio. October 29, 1994.

          65. De Quervain's Subacute Thyroiditis. University Hospitals of
          Cleveland, Endocrinology Grand Rounds. November 2, 1994

          66. Important Developments in Diabetes Mellitus. Medical staff of
          Bedford Hospital. Orange, Ohio. November 2, 1994.




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          67. Diabetes: What Every Nurse Should Know. Licensed Practical Nurse
          Association of Ohio, Northeast Ohio Annual Meeting. Mentor, Ohio. March
          1, 1995.

          68. Depression in the Medical Setting. Licensed Practical Nurse
          Association of Ohio, Northeast Ohio Annual Meeting.
          Mentor, Ohio. March 1, 1995.

        69. Diabetes Mellitus: Exciting Clinical Progress. Lake Erie College of
        Osteopathic Medicine Primary Care 1995 symposium. Clymer, New York.
  March 5, 1995.

          70. Diabetes Treatment Update. FP and Internists. Beachwood, Ohio.
          May 17, 1995.

          71. Current Concepts and Therapy in the Management of
          Hypercholesterolemia. FP and Internists, Cleveland, Ohio.
          August 23, 1995.

          72. New Therapeutic Strategies in the Treatment of Type II Diabetes
          Mellitus. Grace Hospital, Cleveland, Ohio. August 26, 1995.

          73. Diabetes: What Every Treating Physician Must Know. University
          Mednet Mentor Clinic. September 19, 1995.

          74. Managing Hyperlipidemia. FP and Internists. Cleveland, Ohio.
          October 18, 1995.

          75. New Aspects in Diabetes Mellitus. Presented at the 1995 Internal
          Medicine Annual Fall Seminar of Meridia South Pointe Hospital.
          Dept of Internal Medicine. Sagamore Hills, Ohio. October 28, 1995.

          76. Hypercholesterolemia. FP and Internists. Canton, Ohio.
          November 16, 1995.

          77. Osteoporosis: Etiology, Pathophysiology, and Current Medical
          Management. Internists. Moreland Hills, Ohio. December 6, 1995.

          78. Update on Hyperlipidemia. American Philippine Physicians
          Organization. Cleveland, Ohio. January 6, 1996.


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 Daniel Weiss MD



          79. Osteoporosis: Recognition and Treatment. Cuyahoga Falls Hospital
          Grand Rounds. Cuyahoga Falls, Ohio. January 24, 1996.

         80. Pharmacotherapy of Type II Diabetes: "Maximizing Diabetes
         Treatment", a Diabetes Association of Greater Cleveland Allied Health
  Professionals Symposium. Landerhaven (Pepper Pike) Ohio. March 20, 1996.

          81. Osteoporosis Comes of Age. Mentor, Ohio. April 18, 1996.

          82. Diabetes: New Concepts in Management. Meridia South Pointe
          Hospital Primary Care Provider Seminar. Landerhaven ( Pepper
          Pike) Ohio. May 4, 1996.

          83. Osteoporosis: Finding Patients at Risk. University Mednet
          physicians and nurses. Willoughby, Ohio. June 17, 1996.

          84. Update on the Management of Lipid Disorders. Primary care
          providers. Cleveland, Ohio. June 29, 1996.

          85. New Options in the Treatment of Type II Diabetes. Beachwood, Ohio.
          July 8, 1996.

          86. Hypo- and Hyperthyroidism. Lake Hospital, Willoughby, Ohio.
          July 10, 1996.

          87. Hypo- and Hyperthyroidism. Lake Hospital, Painesville, Ohio.
          July 17, 1996.

          88. Hypercholesterolemia. Primary care providers. Moreland Hills,       Ohio.
          August 7, 1996.

          89. Diabetes Mellitus: Care at the Turn of the Century. Mentor, Ohio.
          September 5, 1996.

          90. Depression in Primary Care. Mentor, Ohio. September 12, 1996.

          91. Pharmacotherapy of Obesity: Treating the Underlying Disease.
          Primary care providers. Bratenahl, Ohio. September 24, 1996.




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          92. Management of Dyslipidemia. University Hospital Internal
          Medicine Residents. Cleveland, Ohio. October 9, 1996.

          93. New Options for the Treatment of Diabetes Mellitus. Fifth Annual
          "Practical Issues in Internal Medicine for the General Practitioner. A Focus
          on Type II Diabetes." University Hospitals Health System Bedford Medical
          Center. Landerhaven ( Pepper Pike) Ohio. October 9, 1996.

          94. Hypercholesterolemia. Internal Medicine residents Cleveland
          Veterans Administration Hospital. Cleveland, Ohio.
          October 10, 1996.

          95. An Update on Treatment of Hyperlipidemia. Advanced Practice
          Nursing Continuing Education Series. Cleveland VA Medical
          Center, Cleveland, Ohio. November 13, 1996.

          96. Osteoporosis Comes of Age. Recognition and Treatment. Moreland
          Hills, Ohio. December 23, 1996.

          97. Treating Hypercholesterolemia. Cleveland, Ohio. January 29, 1997.

          98. Pharmacotherapy of Obesity. Treating the Underlying Disease.
          Beachwood, Ohio. February 12, 1997.


          99. You Won't Find It That Way! Diagnosing and Treating Depression;
          A Sub-specialist's Perspective. Moreland Hills, Ohio. April 16, 1997.


          100. Obesity in the Patient with Type II Diabetes. Rochester, New York.
          April 30, 1997.

          101. New approaches for the early detection of postmenopausal
          osteoporosis. University Mednet Beachwood, Bedford and Mentor sites.
          May 14, May 22 and June 3, 1997 respectively.

          102. The use of anorectic agents in the treatment of Type 2 Diabetes.
          Hudson, Ohio. June 11,1997




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          103. Treating Hypercholesterolemia: does it matter which agent you
          use. Moreland Hills, Ohio. June 18 1997.

          104. Type 2 Diabetes. Current options for treatment and the role of
          troglitazone. Moreland Hills, Ohio. July 2, 1997

          105. Type 2 Diabetes. New options for treatment. Mentor, Ohio.
          August 7, 1998.

         106. Diabetes and obesity in minority populations: team tactics for a
         tough problem. Diabetes Association of Greater Cleveland Allied       Health
  Professional Symposium. Pepper Pike (Landerhaven), Ohio. September 10,
  1997.

          107. Prevention of MI. An evidence-based approach. Boardman, Ohio.
          September 20, 1997.

          108. Lowering cholesterol to reduce cardiovascular events. Oberlin, Ohio.
          September 25, 1997.

          109. Prevention of myocardial infarction: surprising new findings that
          may alter your approach. Toledo, Ohio. October 9, 1997.

          110. Prevention of myocardial infarction: surprising new findings that
          may alter your approach. St. Clairsville, Ohio. Belmont County
          Medical Society. October 16, 1997.

          111. Prevention of myocardial infarction: surprising new findings that
          may alter your approach. Youngstown, Ohio. October 21, 1997.

          112. Prevention of myocardial infarction: surprising new findings that
          may alter your approach. Middleburg Heights, Ohio. October 23, 1997.

          113. Type 2 Diabetes and update on troglitazone. Cleveland, Ohio.
          December 10, 1997.

         114. Treatment Type 2 Diabetes. New options and issues. Moreland Hills,
  Ohio. December 16, 1997.




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          115. Type 2 Diabetes: new guidelines, new options. Cleveland Academy
          of Osteopathic Physicians. Beachwood, Ohio. January 16, 1998.

          116. Diabetes Disease Management. Mentor, Ohio. January 19, 1998.

          117. Type 2 Diabetes. The role of troglitazone. Cleveland. March 4, 1998.

          118. Tailoring treatment for patients with Type 2 Diabetes. Cleveland.
          March 21, 1998.

          119. New options for treating Type 2 Diabetes. Bratenahl, Ohio. March
          25, 1998.

          120. Treating hypercholesterolemia: an evidence-based approach.
          Beachwood, Ohio. May 6, 1998.

          121. Clinical aspects of dyslipidemia. Pepper Pike, Ohio. May 21, 1998.

          122. Tailoring treatment for Type 2 Diabetes. The role of Prandin.
          Moreland Hill, Ohio. June 4, 1998.

          123. Tailoring therapy for Type 2 Diabetes. Aurora, Ohio. July 11, 1998.

          124. New strategies for achieving metabolic control in Type 2 Diabetes.
          Pepper Pike, Ohio. August 5, 1998.

          125. Optimizing glycemic control in Type 2 Diabetes. Concord, Ohio.
          August 12, 1998.

          126. Diabetes Disease Management. Cleveland. August 25, 1998.
          Moderator.

          127. Evista and Osteoporosis. A slide lecture program. Ashtabula, Ohio.
          August 27, 1998.

          128. Type 2 Diabetes. Update on Rezulin. Cleveland. September 2, 1998.

          129. Tailoring treatment for patients with Type 2 Diabetes. Cleveland.
          September 26, 1998.




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          130. Update on osteoporosis. Bedford, Ohio. October 2, 1998.

          131. Tailoring treatment for patients with Type 2 Diabetes. Cleveland.
          October 18, 1998.

        132. Diabetic dyslipidemia: a reasoned approach to a difficult problem.
        Presented at “Conquering Diabetic Complications.” A multidisciplinary
        symposium sponsored by University Hospitals of Cleveland. Cleveland.
  October 24, 1998.

          133. Tailoring therapy in Type 2 Diabetes and the role of Prandin.
          Cleveland. November 4, 1998.

          134. Current issues in the treatment of Type 2 Diabetes with a focus
          on troglitazone. Richmond Heights, Ohio. November 14, 1998.

          135. Optimizing glycemic control in Type 2 Diabetes. Niles, Ohio.
          November 16, 1998.

          136. Type 2 Diabetes and the place for troglitazone in treatment.
          Willoughby, Ohio. November 17, 1998.

          137.Evista: A slide lecture program. Akron, Ohio. November 20,1998.

          138. Update on the Pharmacotherapy of Type 2 Diabetes and the role of
          Prandin. Boardman, Ohio. December 12, 1998.

          139. What’s new for Type 2 Diabetes. Mayfield Heights, Ohio. December
          20, 1998.

          140. Diabetic dyslipidemia. Mayfield Heights, Ohio. February 14, 1999

          141: Insulin resistance and Type 2 Diabetes. Implications for treatment.
          Moreland Hills, Ohio. February 17, 1999.

          142. Treating dyslipidemia. Ohio Association of Physician Assistants. 2nd
          Annual Winter Conference. Newbury, Ohio. February 27, 1999.

          143. Treating diabetes. A continuum of care. Moreland Hills, Ohio. April 6,
          1999.


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          144. Type 2 Diabetes. Pepper Pike, Ohio. April 13, 1999.

          145. Treating Type 2 Diabetes. Optimizing glycemic control. Pittsburgh, PA.
          April 22, 1999.

          146. Treating Diabetic dyslipidemia. Union Hospital, Dover, Ohio. April 28,
          1999.

          147. Troglitazone update in the treatment of Type 2 Diabetes. Lake County
          Medical Society. Willoughby, Ohio. April 28, 1999.

          148. Tailoring treating for dyslipidemia. Painesville, Ohio. May 15, 1999.

          149. Treating depression. A non-psychiatrist's view. Cleveland, Ohio. May
          30, 1999.

          150. Insulin resistance and Type 2 Diabetes. Cleveland, Ohio. June 8, 1999

          151. Rosiglitazone. A new option for treating Type 2 Diabetes. Pepper Pike,
          OH. June 30, 1999.

          152. Xenical. A new alternative in weight management. Aurora, OH.
          July 11, 1999.

          153. Type 2 Diabetes. Optimizing outcomes. UHHS Bedford Medical
          Center, Bedford, OH. August 3, 1999.

          154. Treating obesity; the role of orlistat. Woodmere Village, Ohio. August
          12, 1999.

          155. New advances in the treatment of Type 2 Diabetes. Ashtabula, OH.
          September 7, 1999.

          156. Pioglitazone in the treatment of Type 2 Diabetes. Akron, OH.
          September 22, 1999.

          157. Management of obesity. In "Prescribing Controlled Drugs: Strategies
          for Clinical Practice. CWRU School of Medicine. Cleveland, OH. September
          25, 1999 .


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          158. New advances in the treatment of Type 2 Diabetes. Moreland Hills,
          OH. September 29, 1999.

          159. Treating Dyslipidemia. Cleveland, OH. November 10, 1999.

          160. New advances in the treatment of Type 2 Diabetes. Elkton, OH.
          November 16, 1999.

          161. Options for the treatment of Type 2 Diabetes: New and Old, Simple
          and Complex. Chardon, OH. November 18, 1999.

          162. Update on Type 2 Diabetes. Cuyahoga Falls, OH. December 2, 1999.

          163. New advances in the treatment of Type 2 Diabetes. Youngstown, OH.
          December 4, 1999.

          164. New advances in the treatment of Type 2 Diabetes. Cleveland, OH.
          December 8, 1999.
          165. Insulin resistance and Type 2 Diabetes. Canton, OH. December 11,
          1999.

          166. An Algorithm for the treatment of Type 2 Diabetes. Euclid, OH.
          January 31, 2000.

          167. New options for the treatment of Type 2 Diabetes. Akron, OH.
          February 4, 2000.

          168. New options for the treatment of Type 2 Diabetes. Alliance, OH.
          February 16, 2000.

          169. An Algorithm for the treatment of Type 2 Diabetes. Eastlake, OH.
          February 22, 2000.

          170 . Insulin resistance and its role in Type 2 Diabetes. Cleveland, OH.
          March 4, 2000.

          171. Multifactorial intervention in the patient with Diabetes. Woodmere
          Village, OH. March 15, 2000.




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          172. Lipids and cardiovascular event reduction. Mentor, OH. March 16,
          2000.

          173. An introduction to Humalog Mix 75/25 and a review of Humalog
          Insulin. Ashtabula, OH. April 6, 2000.

          174. Treating obesity. An update. Willoughby, OH. April 18, 2000

          175. Treating hypercholesterolemia. Mentor, OH. April 27, 2000.

          176. An introduction to Humalog Mix 75/25 and a review of Humalog
          Insulin. Kalamazoo, MI. April 28, 2000.

          177. Treating obesity. An update. Presented at the 11th Annual Update in
          Internal Medicine sponsored by the Northeastern Ohio Universities
          College of Medicine. Cuyahoga Falls, OH. May 1, 2000.

          178. Update on dyslipidemia. Mentor, OH. May 11, 2000.

          179. Case studies in osteoporosis. Mentor, OH. May 11, 2000

          180. A new insulin for the new millennium: Humalog Mix 75/25. Cleveland,
          OH. May 12, 2000.

          181. The role of thiazolidinediones in the management of Type 2 Diabetes.
          Marion, OH. May 17, 2000

          182. An introduction to Humalog Mix 75/25 and a review of Humalog
          Insulin. Cleveland, OH. May 18, 2000.

          183. The role of thiazolidinediones in the management of Type 2 Diabetes.
          Mansfield, OH. May 24, 2000.

          184. Treating obesity and the use of orlistat. Cleveland, OH. May 25, 2000.

          185. Weight management in patients with co-morbid diseases. Cleveland,
          OH. June 2, 2000.




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          186. Management of obesity. Presented as part of the education lunchtime
          CME series of Lake Hospital System. Erieside Clinic, Willoughby, OH. June
          8, 2000.

          187. Treating insulin resistance in Type 2 Diabetes. Cleveland, OH. July 5,
          2000.

          188. New advances in the treatment of Type 2 Diabetes. Sandusky, OH.
          July 8, 2000.

          189. Treating insulin resistance in patients with Type 2 Diabetes. Massilon,
          OH. July 26, 2000.

          190. New advances in the treatment of Type 2 Diabetes. Niles. OH. July 26,
          2000.

          191. Current concepts in the treatment and diagnosis of thyroid disorders.
          Family Medicine Grand Rounds. St Elizabeth Health Center, Youngstown,
          OH. July 27, 2000.

          192. Optimizing outcomes in Type 2 Diabetes. Mentor, OH. August 17,
          2000.

          193. Type 2 Diabetes: treating the dual defects. Cuyahoga Falls, OH.
          August 20, 2000.

          194. Treating obesity. Akron, OH. August 26, 2000.

          195. New Advances in the Treatment of Type 2 Diabetes. Columbus, OH.
          August 27, 2000.

          196. A new option for oral therapy of Type 2 Diabetes. September 6, 2000.

          197. Insulin therapy for Type 2 Diabetes. Akron, OH. September 13, 2000.

          198. Insulin therapy for Type 2 Diabetes. Ashtabula, OH. September 14,
          2000.

          199. Pharmacotherapy for Type 2 Diabetes. Cleveland, OH. September 28,
          2000.


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          200. Insulin adjustment and pattern management for intensive glycemic
          control. Northeastern Ohio chapter of the American Association of
          Diabetes Educators. Cleveland, OH. October 5, 2000.

          201. A Review of Humalog and introduction to Humalog Mix 75/25.
          Mentor, OH. October 10, 2000.

          202. Thyroid disorders: an overview. Presented as part of the education
          lunchtime CME series of Lake Hospital System. Erieside Clinic, Willoughby,
          OH. October12, 2000.

          203. New dimensions in the treatment of hyperlipidemia. Beachwood, OH.
          October 19, 2000.

          204. A Review of Humalog and introduction to Humalog Mix 75/25.
          Moreland Hills, OH. October 25, 2000.

          205. A new non-systemic approach to LDL cholesterol reduction.
          Cleveland, OH. October 29, 2000.

          206. A Review of Humalog and introduction to Humalog Mix 75/25.
          Youngstown, OH. November 4, 2000.

          207. Clinical update on Type 2 Diabetes. Madison, IN. November 7, 2000.

          208. Management of dyslipidemia. Mentor, OH. November 16, 2000.

          209. Treating insulin resistance in Type 2 Diabetes. Mayfield Heights, OH.
          November 25, 2000.

          210. Insulin resistance and Type 2 Diabetes. Akron, OH. December 2, 2000.

          211. Insulin resistance and Type 2 Diabetes. Woodmere Village, OH.
          December 14, 2000.

          212. Insulin and post-prandial glycemic control. Cleveland, OH. February
          15, 2001.




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          213. An algorithm for initial treatment of Type 2 Diabetes. Euclid, OH.
          February 19 2001.

          214. Post-prandial glycemic control and a new oral agent for Type 2
          Diabetes. Moreland Hill, OH. February 21, 2001.

          215. Optimizing outcomes in Type 2 Diabetes. Akron, OH. February 22,
          2001.

          216. Optimizing outcomes in Type 2 Diabetes. Woodmere Village, OH.
          February 28, 2001.

          217. A new non-systemic approach to LDL-cholesterol lowering.
          Independence, OH. March 1, 2001.

          218. A new non-systemic approach to LDL-cholesterol lowering. Niles, OH.
          March 8, 2001.

          219. A new non-systemic approach to LDL-cholesterol lowering. Cuyahoga
          Falls, OH. March 14, 2001.

          220. A novel approach to the treatment of Type 2 Diabetes. Moreland Hills,
          OH. March 21, 2001.

          221. A new non-systemic approach to LDL cholesterol lowering. Ashtabula,
          OH. April 3, 2001.

          221. Obesity and its treatment with orlistat. Eastlake, OH. April 9, 2001.

          222. Treating Type 2 Diabetes by targeting the dual defects. Mansfield,
          OH. April 17, 2001.

          223. Insulin therapy in Diabetes. Niles, OH. April 25, 2001

          224. Insulin resistance in Type 2 Diabetes. Cleveland, OH. April 28, 2001.

          225. Dyslipidemia in Diabetes. The data on statins. Euclid, OH. April 30,
          2001.




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          226. Optimizing outcomes in Type 2 Diabetes. Association of Philippine
          Physicians in Ohio. Cleveland, OH. May 5, 2001.

          227. Combination therapy for glycemic control in Type 2 Diabetes. Mentor,
          OH. May 16, 2001

          228. Faculty presenter at National WelChol Speakers’ Training Meeting.
          Lake Geneva, Wisconsin. June 2, 2001.

          229. Combination therapy for glycemic control in Type 2 Diabetes.
          Moreland Hills, OH. June 6, 2001.

          230. Challenges in the treatment of dyslipidemia. Concord, OH. June 19,
          2001.

          231. Update on the treatment of hypercholesterolemia. Concord, OH. June
          20, 2001.

          232. Insulin resistance and the use of thiazolidinediones in the treatment
          of Type 2 Diabetes. Mentor, OH. June 27, 2001.

          233. Insulin therapy in Type 2 Diabetes. The benefits of Insulin Glargine
          (Lantus). Warrensville Heights, OH. June 28, 2001.

          234. Insulin use in Type 2 Diabetes and the use of new true basal insulin.
          Mentor, OH. July 12, 2001

          235. Insulin resistance in Type 2 Diabetes; new perspectives on the
          thiazolidinediones. Moreland Hill, OH. July 25, 2001.

          236. Insulin use in Type 2 Diabetes and the use of new true basal insulin.
          Ashtabula. OH. July 26, 2001.

          237. Insulin resistance in Type 2 Diabetes; new perspectives on the
          thiazolidinediones. Ashtabula, OH. July 30, 2001.

          238. Post-prandial glucose. New options to improve outcomes. Moreland
          Hill, OH. July 31, 2001.




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          239. Diabetes Consultants Meeting, presenter, moderator. Beachwood, OH.
          August 21, 2001.

          240. Treatment of obesity with a focus on pharmacotherapy. Mentor, OH.
          September 19, 2001.

          241. Insulin resistance. New perspectives on the thiazolidinediones. Pepper
          Pike, OH. September 20, 2001.

          242. Insulin resistance and insulin deficiency; treating dual defects to
          optimize outcomes in Type 2 Diabetes. Medina, OH. September 23, 2001.

          243. Treating obesity. Weighing in on orlistat. Chagrin Falls, OH.
          September 24, 2001

          244. Insulin resistance: new perspectives on the thiazolidinediones.
          Hudson, OH. October 2, 2001.

          245. Insulin use in Type 2 Diabetes and the use of new true basal insulin.
          Mentor, OH. October 16, 2001.

          246. A new true basal insulin for Type 1 and Type 2 Diabetes. Mentor, OH.
          October 23, 2001.

          247. Insulin resistance: new perspectives on the thiazolidinediones. Bath,
          OH. October 25, 2001.

          248. Improving glycemic control in Type 1 and Type 2 Diabetes or how to
          treat insulin deficiency while preserving lifestyle. Pepper Pike, OH and
          northeastern Ohio teleconference sites. October 29, 2001.

          249. Optimizing outcomes in Type 2 Diabetes. 15th Annual Family Practice
          Weekend, Huntington, WV. November 10, 2001.

          250. Treating obesity in adults. Department of Internal Medicine, Trumbull
          County Memorial Hospital, Warren, OH. November 13, 2001.

          251. Unmet Needs in treating Diabetes. Roundtable Advisory Meeting for
          Pramlintide. Cleveland, OH. November 14, 2001.




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          252. Insulin therapy and the use of insulin glargine. Cleveland, OH.
          November 15, 2001.

          253. Improving glycemic control in Type 1 and Type 2 Diabetes or how to
          treat insulin deficiency while preserving lifestyle. Port Clinton, OH.
          November 28, 2001.

          254. Insulin resistance: new perspectives on the thiazolidinediones.
          Beachwood, OH. December 4, 2001.

          255. Insulin analogue use to optimize glycemia in patients with diabetes.
          Northeastern Ohio Chapter of the American Association of Diabetes
          Educators. Independence, OH. December 6, 2001

          256. Insulin resistance. New perspectives on the thiazolidinediones.
          Mentor, OH. December 17, 2001.

          257. Looking back, glancing forward: New approaches to dyslipidemia.
          Beachwood, OH. December 19, 2001.

          258. Insights into the treatment of Type 2 Diabetes. Beachwood, OH.
          January 15, 2002.

          259. Improving glycemic control in Type 2 Diabetes. Cleveland Academy of
          Osteopathic Physicians. Beachwood, OH. January 19, 2002.

          260. Using insulin to optimize glycemic control. Cleveland, OH. January 20,
          2002.

          261. A mini-insulin tutorial. Mentor, OH. January 29, 2002.

          262. Insulin resistance. New perspectives on the thiazolidinediones.
               Cleveland, OH. January 29, 2002.

          263. Type 2 Diabetes: New approaches to treatment. Pittsburgh, PA.
               February 16, 2002.

          264. The Evolution in the treatment of dyslipidemia. Mentor, OH. February
               19, 2002.




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          265. Type 2 Diabetes. New perspectives on the thiazolidinediones.
               Westlake, OH. February 25, 2002.

          266. Optimizing outcomes in Type 2 Diabetes. Selected topics.
               UniversityMednet Internal Medicine Department. Richmond Heights,
               OH. February 26, 2002

          267. Treatment of obesity in adults; the lowdown on orlistat. Chagrin Falls,
               OH. February 27, 2002.

          268. Osteoporosis and the role of risedronate in therapy. Moreland Hills,
               OH. February 28, 2002.

          269. Rediscovering insulin therapy for Type 1 and Type 2 Diabetes. Licking
               Memorial Hospital Grand Rounds. Newark, OH. March 11, 2002.

          270. Rediscovering insulin therapy for Type 1 and Type 2 Diabetes.
               Newcomerstown, OH. March 11, 2002.

          271. Rediscovering insulin therapy for Type 1 and Type 2 Diabetes.
               Genesis Health Care System Bethesda Hospital Grand Rounds.
               Zanesville, OH. March 12, 2002.

          272. Osteoporosis and the role of risedronate in therapy. Cleveland, OH.
               March 13, 2002

          274. Rediscovering insulin therapy for Type 1 and Type 2 Diabetes.
              Akron, OH. March 21, 2002

          275. Osteoporosis and the use of risedronate. Canton, OH
              March 23, 2002.

          276. Reducing cardiovascular events with ramipril; the HOPE trial.   Akron,
          OH. March 25, 2002.

          277. Reducing cardiovascular events with ramipril; the HOPE trial. Mentor,
          OH. March 26, 2002.




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          278. . Improving glycemic control in Type 1 and Type 2 Diabetes or how
          to treat insulin deficiency while preserving lifestyle. Toledo, OH. April 6,
          2002.

          279. The challenge of obesity. Presented at the Endocrinology Update of
          Lake Hospital System, a continuing medical education program. Eastlake,
          OH. April 24, 2002.

          280. Rediscovering insulin therapy for Type 1 and Type 2 Diabetes.
          Cleveland, OH. April 25, 2002.

          281. Colesevelam in the treatment of hypercholesterolemia. Lyndhurst, OH.
          May 7, 2002.

          282. Reducing cardiovascular events.: beyond conventional approaches.
          Bedford, OH. May 10, 2002.

          283. Insulin therapy: analogues for superior glycemic control. Association
          of Philippine Physicians in Ohio. Cleveland, OH. May 11, 2002.

          284. Selected topics in treating dyslipidemia. Mentor, OH. May 14, 2002.

          285. Rediscovering insulin therapy for Type 1 and Type 2 Diabetes.
          Hudson, OH. May 14, 2002.

          286. Treating Type 2 Diabetes: the role of thiazolidinediones. Mayfield
          Heights, OH. May 18, 2002.

          287. Colesevelam in the treatment of hypercholesterolemia. Rocky River,
          OH. May 22, 2002.

          288. Update on treatment of hypercholesterolemia. Geneva, OH. June 5,
          2002.

          289. Improving glycemic control in Type 2 Diabetes: know the options,
          consider the patient. Mentor, OH. June 10, 2002.

          290. Rediscovering insulin for Type 1 and Type 2 Diabetes. Solon, OH.
          June 26, 2002.




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          291. Treating osteoporosis and the use of risedronate. Mentor, OH. June
          27, 2002.

          292. Treating Type 2 Diabetes: New perspectives on the thiazolidinediones.
          Akron, OH. July 16, 2002.

          293. Treatment of Type 2 Diabetes and the central role of insulin
          resistance. Bedford, OH. August 23, 2002.

          294. Reducing cardiovascular events: a non-traditional approach.
          Beachwood, OH. September 17, 2002.

          295. Reducing cardiovascular events: a non-traditional approach. Mentor,
          OH. September 18, 2002.

          296. Optimizing glycemic control in Type 2 Diabetes: use of oral agents.
          Family Practice Residents, University Hospitals of Cleveland. October 2,
          2002.

          297. Treating Type 2 Diabetes; novel pharmacotherapeutic approaches.
          Alliance. OH. October 2, 2002.

          298. Improving cardiovascular outcomes: two safe effective modalities.
          WelChol and Benicar. Erie, PA. October 16, 2002.

          299. Improving cardiovascular outcomes: two safe effective modalities.
          WelChol and Benicar. Beachwood, OH. October 22, 2002.


          300. Insights into the treatment of Type 2 Diabetes. Moreland Hill, OH.
          October 23, 2002.

          301. Insights into the treatment of Type 2 Diabetes. North Canton, OH.
          October 24, 2002.

          302. Improving cardiovascular outcomes: two safe effective modalities.
          WelChol and Benicar. Akron, OH. November 5, 2002.

          303. Using insulin for Type 2 Diabetes. Family Practice Residents, University
          Hospitals of Cleveland. November 6, 2002.


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          304. . Improving cardiovascular outcomes: two safe effective modalities.
          WelChol and Benicar. Independence, OH. November 14, 2002.

          305 Insights into the treatment of Type 2 Diabetes. Warren, OH.
          November 19, 2002.

          306. Optimizing glycemic control in Type 2 Diabetes. Cleveland Medical
          Reading Club. Cleveland, OH. December 17, 2002.

          307. Type 2 Diabetes: Beyond guidelines to evidence-based targets.
          Chagrin Falls, OH. December 21, 2002.

          308. Case studies in dyslipidemia. Beachwood, OH. February 26, 2003.

          309. Reducing cardiovascular events through a non-conventional
          approach. Chardon, OH. March 3, 2003.

          310. Getting to goal in Type 2 Diabetes. Moreland Hills, OH. March 10,
          2003.

          311. Diabetes treatment update. UHHS Geauga Hospital, Chardon, OH.
          March 11, 2003.

          312. Getting to goal in Type 2 Diabetes. Mansfield, OH. March 17, 2003.

          313. Reducing cardiovascular events through a non-conventional
          approach. Mentor, OH. March 26, 2003.

          314. Reducing cardiovascular events through a non-conventional
          approach. Eastlake, OH. April 1, 2003.

          315. Using TZD therapy to optimize control in Type 2 Diabetes. Akron, OH.
          April 3, 2003.

          316. Rational use of insulin in Type 2 Diabetes. Cleveland, OH. April 10,
          2003.

          317. Type 1 Diabetes. Ohio College of Podiatric Medicine students. April
          11, 2003.


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          318. Type 2 Diabetes. Ohio College of Podiatric Medicine students. April
          18, 2003.

          319. The Heart Protection Study. Westlake, OH. May 7, 2003

          320. Early use of thiazolidinediones. Beachwood, OH May 15, 2003.

          321. Early use of thiazolidinediones. Pepper Pike, OH. May 20, 2003.

          322. Thiazolidinediones in Type 2 Diabetes. Akron, OH May 28, 2003.

          323. Rational use of insulin in Type 2 Diabetes. Southwest General
          Hospital. Internal Medicine Grand Rounds. May 30, 2003.

          324. Obesity: Evaluation and Management. Robinson Memorial Hospital
          Grand Rounds. Ravenna, OH. June 4, 2003.

          325. The Heart Protection Study. Ontario, OH. June 10, 2003.

          326. The Heart Protection Study. Beachwood, OH. June19, 2003.

          327. An update on osteoporosis treatment. Concord, OH. July 10, 2003.

          328. Rational use of insulin in Type 2 Diabetes. Huron Road Hospital
          Internal Medicine Grand Rounds. Cleveland, OH. July 14, 2003.

          329. The HOPE trial. Mentor, OH. July 15, 2003.

          330. The role of thiazolidinediones in Type 2 Diabetes. Geneva, OH. July
          16, 2003.

          331. The Heart Protection Study. Canton, OH. August 7, 2003.

          332. The HOPE trial. Mentor, OH. August 12, 2003.

          333. One Step Ahead of the Guidelines: The Heart Protection Study.
          Youngstown, OH. September 10, 2003.




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          334. One Step Ahead of the Guidelines: The Heart Protection Study.
          Lakewood, OH. September 16, 2003.

          335. Update on Lipid Therapy. Mentor, OH. September 17, 2003.

          336. Rosiglitazone update. Euclid Hospital, Cleveland Clinic Health System.
          Euclid, OH. September 19, 2003.

          337. The Diabetes maze: Knowing where you’re going and how to get
          there. Bath, OH. September 23, 2003.

          338. Rational use of insulin for the elderly with Type 2 Diabetes. Louis
          Stokes VA Medical Center, Cleveland, OH. September 26, 2003.

          339. Type 2 Diabetes and the use of thiazolidinediones. UHHS Richmond
          Heights Hospital Grand Rounds. Richmond Heights, OH. October 14,
          2003.

          340. Clinical and regulatory update on the management of
          hypothyroidism. Nationwide teleconferences on October 30, November
          10, 19, December 11 all in 2003.

          341. Update on treatment of dyslipidemia. Pepper Pike, OH. October 28,
          2003.

          342. Insulin pump therapy. UHHS Geuaga Hospital. Chardon, OH.
          November 11, 2003

          343. Update on treatment of dyslipidemia. Ashtabula County Medical
          Society. Ashtabula, OH. November 11, 2003.

          344. The Metabolic Syndrome. Euclid Hospital Grand Rounds. Euclid, OH.
          November 13, 2003.

          345. Update on dyslipidemia. Bratenahl, OH. November 13, 2003.

          346. Update on hypercholesterolemia. Mentor, OH November 24, 2003.

          347. Treatment of Type 2 Diabetes: Focus on Thiazolidinediones.
          Mansfield, OH. November 25, 2003.


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          348. The Heart Protection Study. Austintown, OH. December 4, 2003.

          349. Insulin resistance and use of Thiazolidinediones. Northfield, OH.
          December 5, 2003.

          350. Update on dyslipidemia. First Russian-American Physicians Meeting.
          Willoughby, OH December 6, 2003.

          351. Reducing cardiovascular events and the HOPE trial. Beachwood, OH.
           December 9, 2003.

          352. Treatment of dyslipidemia: an update. Mayfield Heights, OH. January
          14, 2004.

          353. Rosuvastatin: a panel presentation. Beachwood, OH. January 21, 2004.

          354. Clinical and regulatory update on the management of
          hypothyroidism. Nationwide teleconferences on February 2, 3, March 2, 16,
          30, May 6,

          355. Update on Type 2 Diabetes. Ohio College of Podiatric Medicine,
          Cleveland, OH. February 10, 2004.

          356. Intensive glycemic control for Type 2 Diabetes: a focus on insulin.
          Cuyahoga Falls General Hospital, Cuyahoga Falls, OH. February 21, 2004.

          357. Treatment of Type 2 Diabetes: Focus on Thiazolidinediones.
          Beachwood, OH. February 24, 2004.

          358. Insulin and its use: a workshop. Lake Hospital, Willoughby, OH. March
          18, 2004.

          359. Using insulin to optimize glycemia. Teleconference delivered on April
          1, April 20, May 4, June 11.

          360. Type 2 Diabetes. Multiple considerations for optimal outcomes.
          Fairview Hospital, Cleveland, OH. April 27, 2004.

          361. Osteoporosis. An update. Beachwood, OH. April 28, 2004.


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          362. Treatment of Type 2 Diabetes: Focus on Thiazolidinediones. Pepper
          Pike, OH. June 15, 2004.

          363. Type 2 Diabetes. University Hospitals of Cleveland, Family Practice
          Residents. June 17, 2004.

          364. Treatment of Type 2 Diabetes: Focus on Thiazolidinediones. Pepper
          Pike, OH. June 29, 2004.

          365. Getting to goal in Type 2 Diabetes; it matters how you get there.
          Painesville, OH . July 14, 2004.

          366. Lipid update. Beachwood, OH. July 21, 2004.

          367. Using insulin to optimize glycemic control in Type 2 Diabetes.
          Cleveland, OH. August 10, 2004.

          367. Strike Early to Obtain and Sustain A1c Goal. Westlake, OH. August 31,
          2004.

          368. Strike Early to Obtain and Sustain A1c Goal. Bluefield, West Virginia.
          September 9, 2004.

          369. Type 2 Diabetes and the use of thiazolidinediones. Meeting of the
          Ohio Association of Advanced Practice Nurses in Warren, OH. September
          23, 2004.

          370. Using insulin glargine alone or in combination with oral agents for
          Type 2 Diabetes. Teleconference delivered on Sept 29, October 6, October
          27.

          371. Treating hypercholesterolemia. Euclid, OH. October 5, 2004.

          372. Insulin use for Type 2 Diabetes: balancing simplicity with control.
          Mentor, OH. October 21, 2004.

          373. Strike Early to Obtain and Sustain A1c Goal. Woodmere Village, OH.
          October 28, 2004.




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          374. Thiazolidinedione use for Type 2 Diabetes. Madison, OH. October 29,
          2004.

          375. Strike Early to Obtain and Sustain A1c Goal. Hudson, OH. November
          11, 2004.

          376. Using insulin to optimize glycemic control. Cleveland, OH. November
          16, 2004.

          377. Using statins to reduce cardiovascular events in Type 2 Diabetes.
          Fairview Hospital, Cleveland, OH. November 18, 2004.

          378. Thiazolidinedione use for Type 2 Diabetes. Avon, OH. November 19,
          2004.

          379. An insulin practicum. Lyndhurst, OH. December 2, 2004.

          380. Type 2 Diabetes and the use of thiazolidinediones. Meeting of the
          Northeast Ohio Association of Diabetes Educators, Independence, OH.
          December 9, 2004.

          381. Statins: an update. Mentor, OH. January 3, 2005.

          382. Prescribing insulin for those with Type 2 Diabetes. Westlake, OH.
          January 27, 2005.

          383. Optmizing glycemic control with insulin. Huron Hospital Medical
          Grand Rounds. January 31, 2005.

          384. Prescribing insulin for those with Type 2 Diabetes. Saybrook, OH.
          February 2, 2005.

          385. Thiazolidinedione use for Type 2 Diabetes. North Royalton, OH.
          February 3, 2005.

          386. Diabetes: an update and overview. Greater Cleveland Peri-Anesthesia
          Nurses Association XI. Bedford, OH. February 26, 2005.

          387. Insights into insulin therapy. Mentor, OH. March 9, 2005.




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          388. Thiazolidinedione use for Type 2 Diabetes. Independence, OH. March
          10, 2005.

          389. Thiazolidinedione use for Type 2 Diabetes. Orange Village, OH. March
          24, 2005.

          390. Thiazolidinedione use for Type 2 Diabetes. Orange Village, OH. April
          19, 2005.

          391. Using Insulin Glargine for Type 2 Diabetes. Teleconference. May 4,
          2005.

          392. Treating Type 2 Diabetes. Neighborhood Family Practice, Cleveland
          OH. May 5, 2005.

          393. Thiazolidinedione use for Type 2 Diabetes. Concord, OH. May 10,
          2005.

          394. Treating hypertension and hypercholesterolemia: recent data with a
          focus on Type 2 Diabetes. Mentor, OH. May 11, 2005.

          395. Statins: an update on rosuvastatin.. Mentor, OH. May 12, 2005

          396. Intensive insulin therapy and insulin glulisine. Cincinnati, OH. May 16,
          2005.

          397. Complications of Diabetes. Can they be prevented ? Jewish Hospital
          Grand Rounds, Cincinnati, OH. May 17, 2005.

          395. Insulin Glulisine, national teleconference. May 19, 2005.

          396. Once monthly ibandronate for osteoporosis. Lakewood, OH. June 2,
          2005.

          397. Once monthly ibandronate for osteoporosis. Willoughby, OH. June 7,
          2005.

          398. Once monthly ibandronate for osteoporosis. Cleveland, OH. June 16,
          2005.




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          399. Byetta: The First Incretin Mimetic. Local moderator for a national
          program presented by satellite. Cuyahoga Falls, OH. June 21, 2005.

          400. Insulin initiation. A Case study approach. A teleconference held on
          June 21, 2005.

          401. Using insulin in Type 2 Diabetes. A Joslin Diabetes Center program.
          Moderator. Cleveland, OH. June 28, 2005.

          402. Once monthly ibandronate for osteoporosis. Pepper Pike, OH. June
          29, 2005.

        403. Thiazolidinedione use for Type 2 Diabetes. Broadview Heights, OH.
  June 30, 2005.

          404. Once monthly ibandronate for osteoporosis. Mentor, OH. July 11,
          2005.

          405. Byetta: The First FDA-approved Incretin Mimetic. Willoughby, OH. July
          12, 2005.

          406. Byetta: The First FDA-approved Incretin Mimetic. Cleveland, OH.
          July 13, 2005.

          407. Byetta: The First FDA-approved Incretin Mimetic. Westlake, OH.
          July 14, 2005.
          408. Byetta: The First FDA-approved Incretin Mimetic. Mentor, OH. July
          19, 2005.

          409. Byetta: The First FDA-approved Incretin Mimetic. Zanesville, OH.
          July 20, 2005.

          410. Byetta: The First FDA-approved Incretin Mimetic. Westlake, OH. July
          26, 2005

          411. Byetta: The First FDA-approved Incretin Mimetic. Hudson, OH. July
          27, 2005.

          412. Byetta: The First FDA-approved Incretin Mimetic. Canton, OH. July
          28, 2005.


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          413. Diabetic Microvascular Complications. A Joslin Diabetes Center
          program. Moderator. Cleveland, OH. August 2, 2005.

          414. Byetta: The First FDA-approved Incretin Mimetic. Cleveland, OH.
          August 3, 2005.

          415. Byetta: The First FDA-approved Incretin Mimetic. Milan, OH.
          August 4, 2005.

          415. Targeting lipids to reduce cardiovascular events; recent clinical trials.
          Beachwood, OH. August 9, 2005.

          416. Byetta: The First FDA-approved Incretin Mimetic. Erie, PA.
          August 16, 2005.

          417. Byetta: The First FDA-approved Incretin Mimetic. Coshocton, OH.
          August 17, 2005.

          418. Byetta: The First FDA-approved Incretin Mimetic. A teleconference.
          August 18, 2005.

          419. Byetta: The First FDA-approved Incretin Mimetic. A teleconference.
          August 25, 2005.

          420. Thiazolidinedione use for Type 2 Diabetes. Lakewood, OH. August
          26, 2005.

          421. Byetta: The First FDA-approved Incretin Mimetic. Concord, OH.
          August 31, 2005.

          422. Rosuvastatin in treating hypercholesterolemia. Mentor, OH.
          September 12, 2005.

          423. Byetta: The First FDA-approved Incretin Mimetic. Grand Rapids, MI.
          September 15, 2005.

          424. In-Hospital glucose control. Beachwood, OH. September 22, 2005.




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          425. Thiazolidinedione use for Type 2 Diabetes. Warren, OH. September
          29, 2005.

          426. Byetta: The First FDA-approved Incretin Mimetic. Schererville, IN.
          October 6, 2005.

          427. Thiazolidinedione use for Type 2 Diabetes. Beachwood, OH. October
          11, 2005.

          428. Collaboration and Clarity in Diabetes Care. PDM Healthcare Expo.
          Cleveland, OH. October 22, 2005.

          429. Lake Hospital System Diabetes Symposium: New therapies for 2
          Diabetes: the incretin pathway. AND Practical applications of therapy for
          Type 2 Diabetes case discussions, in conjunction with Dr Martin Mandel.
          Eastlake, OH October 26, 2005.

          430. Byetta: The First FDA-approved Incretin Mimetic. Beachwood, OH.
          October 27, 2005.
          431. Single agent efficacy in treating hypercholesterolemia. Huron
          Hospital Internal Medicine Residents, Cleveland, OH. October 28, 2005.

          432. Thiazolidinediones. Cleveland, OH. November 1, 2005

          433. Byetta: The First FDA-approved Incretin Mimetic. Vermilion, OH.
          November 1, 2005.

          434. Diabetes management. A case from the Joslin Diabetes Center
          Affiliate. St Vincent Charity Hospital Noon Residents Conference.
          Cleveland, OH. November 8, 2005.

          435. Targeting the incretin pathway in the treatment of Type 2 Diabetes.
          Genesis Healthcare System Bethesda Hospital Grand Rounds, Zanesville,
          OH. November 12, 2005.

          436. Thiazolidinediones. Cleveland, OH. November 15, 2005.

          437. Type 2 Diabetes. Thiazolidinediones and other treatment options; a
          roundtable discussion. Independence, OH. November 16, 2006.




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          438. Improving cardiovascular outcomes: LDL and beyond. A Joslin
          Diabetes Center program. Moderator. Cleveland, OH. November 17, 2005.

          439. Diabetes management. St Vincent Charity Hospital Noon Residents
          Conference. Cleveland, OH. November 22, 2005

          440. Diabetes, glycemia and new hormonal paradigms. A Joslin Diabetes
          Center program. Moderator. Cleveland, OH. December 8, 2005.

          441. Single agent efficacy of rosuvastatin in treating hypercholesterolemia.
          Beachwood, OH. December 13, 2005

          442. Single agent efficacy of rosuvastatin in treating hypercholesterolemia.
          Beachwood, OH. December 14, 2005.

          443. Single agent efficacy of rosuvastatin in treating hypercholesterolemia.
          Richmond Heights Hospital. Richmond Heights , OH. December 16, 2005.

          444. Inpatient glycemic control. A teleconference. December 19, 2005.

          445. Self-regulation of glycemic control. Understanding Byetta. A
          teleconference. February 2, 2006.

          446. New insights in the treatment of Type 2 Diabetes. Southwest General
          Health Center Grand Rounds. February 3, 2006.

          447. Type 2 Diabetes: Thiazolidinediones and other treatment options; a
          roundtable program. Madison, OH. February 7, 2006.

          448. Byetta: The First FDA-approved Incretin Mimetic. Mentor, OH
          February 7, 2006.

          449. Thiazolidinediones and other treatment options. Independence, OH.
          February 15, 2006.

          450. Single agent efficacy of rosuvastatin in treating hypercholesterolemia.
          Pepper Pike, OH. February 16, 2006.

          451. Thiazolidinediones in the treatment of Type 2 Diabetes. Hudson, OH.
          February 21, 2006.


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          452. Once monthly ibandronate for osteoporosis. Mentor, OH. February
          22, 2006.


          453. Reducing insulin resistance and cardiovascular risk. A Joslin Diabetes
          Center program. Moderator. Cleveland, OH. February 28, 2006.

          454. Thiazolidinediones in the treatment of Type 2 Diabetes.
          Independence, OH. March 7, 2006.

          455. New Insights into Initiating Insulin therapy. Willoughby, OH. March 8,
          2006.

          456. Type 2 Diabetes. Thiazolidinediones in the treatment of Type 2
          Diabetes. Shaker Heights, OH. March 13, 2006.

          457. Inpatient glucose control. Cleveland, OH. March 30, 2006.

          458. Single agent efficacy of rosuvastatin in treating hypercholesterolemia.
          Mentor, OH. April 7, 2006.

          459. Use of Symlin for Insulin Using Patients with Diabetes. Cleveland, OH.
          April 25, 2006.

          460. Thiazolidinediones in the treatment of Type 2 Diabetes. Warren, OH.
          April 26, 2006.

          461. Thiazolidinediones in the treatment of Type 2 Diabetes. UHHS
          Richmond Hospital Residents. Richmond Hts., OH. May 5, 2006.

          462. Rational use of insulin. Marion, OH. May 11, 2006.

          463. Thiazolidinediones in the treatment of Type 2 Diabetes. Beachwood,
          OH. May 17, 2006.

          464. Rational use of insulin. Hudson, OH. May 18, 2006.

          465. Rational use of insulin. Canton, OH. May 23, 2006.




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          466. Thiazolidinediones in the treatment of Type 2 Diabetes. Pepper Pike,
          OH. May 25, 2006.

          467. Rational use of insulin. Hudson, OH. June 1, 2006.

          468. Rational use of insulin. Warren, OH. June 7, 2006.

          469. Thiazolidinediones in the treatment of Type 2 Diabetes. Cleveland,
          OH. June 8, 2006.

          470. Insulin treatment in Type 2 Diabetes. A Joslin Diabetes Center
          program. Moderator. Cleveland, OH. June 13, 2006.

          471. Presenter at the American Academy of Nurse Practitioners’ Annual
          Meeting: Diagnostic Challenges in Diabetes; Intensive Insulin Therapy;
          Combination Therapy to Optimize Glycemic Control on June 21 and 22,
          2006. Grapevine, Texas.

          472. Thiazolidinediones in the treatment of Type 2 Diabetes. Madison, OH.
          June 29, 2006.

          473. Using insulin rationally. St Vincent Charity Hospital. Internal Medicine
          residents program. July 11, 2006.

          474. Apidra and rational use of insulin. Allentown, PA. July 12, 2006.

          475. Using insulin rationally; the inpatient setting. St Vincent Charity
          Hospital. Internal Medicine residents program. July 18, 2006.

          476. Changing the paradigm for insulin delivery. A Joslin Diabetes Center
          program. Moderator. Cleveland, OH. July 25, 2006.
          477. Thiazolidinediones in the treatment of Type 2 Diabetes. North
          Ridgeville, OH. July 28, 2006.

          478. Thiazolidinediones in the treatment of Type 2 Diabetes. Elyria, OH.
          August 4, 2006.

          479. Thiazolidinediones in the treatment of Type 2 Diabetes. Amherst, OH.
          August 8, 2006.




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          480. Humalog and Humalog Mix regimens in insulin therapy. A
          teleconference. August 21, 2006.

          481. Apidra and rational use of insulin. Elyria, OH. September 12, 2006.

          482. Thiazolidinediones in the treatment of Type 2 Diabetes. Twinsburg,
          OH. September 13, 2006.

          483. Diabetes, gastrointestinal hormones and incretins: clinical
          implications. A Joslin Diabetes Center program. Moderator. Cleveland, OH.
          September 21, 2006.

          484. Thiazolidinediones in the treatment of Type 2 Diabetes. Mentor, OH.
          September 27, 2006.

          485. Thiazolidinediones and Cardiovascular disease in Type 2 Diabetes.
          Moderator. Cleveland, OH. October 3, 2006.

          486. Byetta and Symlin: agents in the treatment of diabetes.
          Independence, OH. October 4, 2006.

          487. A novel approach to cardiometabolic risk reduction: the
          endocannabinoid system. Alliance Community Hospital, Alliance, OH.
          October 18, 2006.

          488. Byetta : where it fits in the treatment of Type 2 Diabetes. Madison,
          OH. October 25, 2006.

          489. Exubera. Woodmere Village, OH. October 26, 2006.

          490. Byetta. A teleconference. October 27, 2006.

          491. A novel approach to cardiometabolic risk reduction: the
          endocannabinoid system. Genesis Health Care System, Zanesville, OH.
          November 1, 2006.

          492. Januvia and oral DPP 4 inhibition. Columbus, OH. November 1, 2006.

          493. Januvia and oral DPP 4 inhibition. New Castle, PA. November 2, 2006.




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          494. A novel approach to cardiometabolic risk reduction: the
          endocannabinoid system. Trumbull Memorial Hospital, Warren, OH.
          November 3, 2006.

          495. Apidra and rational use of insulin. Niles, OH. November 8, 2006.

          496. Thiazolidinediones in the treatment of Type 2 Diabetes. Akron, OH.
          November 9, 2006.

          497. Treating Type 2 Diabetes. Woodmere Village, OH. November 14,
          2006.

          498. Exubera at the “Steps to Healthier Cleveland” symposium. Cleveland,
          OH. November 15, 2006.

          499. Ethnicity, Diabetes, and Cardiovascular Disease. A Joslin Diabetes
          Center program. Moderator. Cleveland, OH. November 15, 2006.

          500. Januvia and oral DPP 4 inhibition. Independence, OH. November 16,
          2006.

          501. Treating Type 2 Diabetes, Willoughby, OH. November 17, 2006.
          502. Januvia and oral DPP 4 inhibition. Canton, OH. November 21, 2006.

          503. Thiazolidinediones in the treatment of Type 2 Diabetes. Willoughby,
          OH. November 28, 2006.

          504. Using Symlin in the treatment of diabetes. Toledo, OH. November 29,
          2006.

          505. Januvia and oral DPP 4 inhibition. Boardman, OH. December 5, 2006.

          506. Januvia and oral DPP 4 inhibition. Pittsburgh, OH. December 6, 2006.

          507. Apidra and rational use of insulin. Cleveland, OH. December 7, 2006.

          508. Thiazolidinediones in the treatment of Type 2 Diabetes. Beachwood,
          OH. December 13, 2006.

          509. Januvia and oral DPP 4 inhibition. Cleveland, OH. January 10, 2007.


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          510. Januvia and oral DPP 4 inhibition. Akron, OH. January 11, 2007.

          511. Options for insulin therapy. Madison, OH. January 16, 2007.

          512. Thiazolidinediones in the treatment of Type 2 Diabetes.
          Independence, OH. January 17, 2007.

          513. Options for insulin therapy. Painesville, OH. January 18, 2007.

          514. Januvia and oral DPP 4 inhibition. Beachwood, OH. January 23, 2007.

          515. Exenatide and Pramlintide. Cleveland, OH. January 24, 2007.

          516. Januvia and oral DPP 4 inhibition. Vienna, WV. January 25, 2007.

          517. Januvia and oral DPP 4 inhibition. Charleston, WV. February 6, 2007.

          518. Exenatide in the treatment of Type 2 Diabetes. Mentor, OH. February

                   8, 2007.
          519. Apidra and rational use of insulin. Vienna, OH. February 20, 2007.

          520. Thiazolidinediones in the treatment of Type 2 Diabetes. Shaker
                   Heights, OH. February 22, 2007.

          521. Januvia and oral DPP 4 inhibition. Dayton, OH. February 27, 2007.
          522. Thiazolidinediones in the treatment of Type 2 Diabetes. Beachwood,

                   OH. February 28, 2007.
          523. Insulin therapy and the use of Exubera. Warren, OH. March 16, 2007.

          524. Thiazolidinediones and Type 2 Diabetes. Cleveland, OH. March 19,
                   2007.

          525. Byetta. Wheeling, WV. March 20, 2007.
          526. Type 2 Diabetes. Clarifying treatment options. Diabetes Association of

                   Greater Cleveland Allied Health Professionals Symposium, Westlake,
                   OH. March 22, 2007.


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          527. Thiazolidinediones and Type 2 Diabetes. Mentor, OH. March 22,

                   2007.
          528. Byetta and Symlin. Louisville, KY. March 27, 2007.

          529. DPP-4 inhibition in the treatment of Type 2 Diabetes. Beachwood,
                   OH. March 28, 2007.

          530. Type 2 Diabetes. Clarifying treatment options. UHHS Geauga Hospital
                   Grand Rounds. Chardon, OH. March 29, 2007.

          531. Simple Flexible Insulin Therapy. Teleconference. March 29, 2007.
          532. Rosuvastatin for treatment of hypercholesterolemia. Beachwood, OH.

                   April 12, 2007.
          533. Optimizing glucose control in Type 2 Diabetes: agent selection and

                   using newer agents. St. Vincent Charity Hospital Medical Grand
                   Rounds. Cleveland, OH. April 18, 2007.

          534. Byetta. Morgantown, KY. April 19, 2007
          535. Byetta. Lewisburg, KY. April 19, 2007

          536. Byetta and Symlin. Bowling Green, KY. April 19, 2007
          537. DPP-4 inhibition in the treatment of Type 2 Diabetes. Cranberry

                   Township, PA. April 25, 2007.
          538. Simple Flexible Insulin Therapy. Teleconference. April 26, 2007.

          539. DPP-4 inhibition in the treatment of Type 2 Diabetes. Cleveland, OH.
                   April 26, 2007.

          540. Using insulin to optimize glucose control in the outpatient and
                   inpatient setting. Euclid Hospital Grand Rounds. Euclid, OH. May 3,

                   2007.
          541. Insulin therapy and the benefits of a basal/bolus approach. Cleveland,

                   OH. May 4, 2007.




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          542. New delivery devices for insulin administration. Willoughby, OH. May

                   9, 2007.
          543. Symlin for patients on mealtime insulin. Vermilion, OH. May 10, 2007.

          544. Single agent efficacy for dyslipidemia. Warren, OH. June 6, 2007.
          545. Symlin for patients on mealtime insulin. Beachwood, OH. June 7,

                   2007.
          546. ONLY PROGRAMS FOR WHICH CME CREDIT WAS OFFERED ARE

                   SHOWN AFTER THE ABOVE DATE.
          547. Diabetes and Heart Failure. Case Western Reserve University School

                   of Medicine. June 10, 2008.
          548. Rational use of insulin. UHHS Richmond Hospital. September 3, 2009

          549. Prevention of Diabetic Complications; When is Diabetes Diagnosed.
                   LakeHealth Diabetes Symposium. April 28, 2010.

          550. Glycemic control for inpatients. Euclid Hospital Clinical Conference
                   Lecture. Euclid, OH. October 28, 2010.

          551. Insulin initiation and intensification at Diabetes Day for Primary Care
                   Physicians co-sponsored by American Association of Clinical
                   Endocrinologists. Cleveland, OH. November 13, 2010
          552. How to use insulin. UHHS Richmond Medical Center Graduate

                   Medical Education program. December 9, 2010.
          553. The Endocrinology Club. Update of the ACCORD Trial. Clinical

                   implications of the ACCORD trial to the management of Type 2
                   Diabetes. One of several presenters. March 10, 2011. Beachwood, OH.

          554. Greater Northwest Ohio Diabetes Symposium. Insulin initiation and
                   intensification. Findlay, OH. September 17, 2011.

          555. Akron General Medical Center, Endocrine Grand Rounds: Enlightened
                   Insulin Prescribing. Akron, OH. March 20, 2013.


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          556. Unmet Needs in Treating Dyslipidemia. Woodmere, OH. October 22,

                   2013.
          557. Pharmacotherapy for weight loss. Obesity Update 2014 symposium.

                   Eastlake, OH. LakeHealth April 30, 2014.
          558. “Diabetes and body weight” presented during Ohio AADE Diabetes

                   Education Day on June 6, 2014. Independence, OH.
          559. Diabetes: what’s new to know for the outpatient and inpatient.

                   LakeHealth Symposium on January 28, 2015.
          Eastlake, OH.

          560. Akron General Medical Center, Endocrine Grand Rounds:
                   Addressing the triple challenge of hypoglycemia, weight and

                   glucose control. Akron, OH. February 3, 2016
          561. Diabetes Symposium. LakeHealth. Served as moderator for this

                   program with 4.0 Category 1 credits and presenter of:
                   Type 2 Diabetes and cardiovascular outcome trials: which agents

                   have shown benefit?
                   AND Insulin in Type 2 Diabetes: what to do and what’s new?

                   Eastlake, OH. January 24, 2018.
          562. Treating Type 2 Diabetes; What you might not have considered,

                   glycemic and non-glycemic factors at the Cleveland Academy of
                   Osteopathic Medicine’s 54th Annual January Seminar. Cleveland, OH.

                   January 18, 2019.
          563. Diabetes Treatment Overview. UHHS Family

                   Medicine didactics (to residents). October 26, 2021.
          564. Diabetes Treatment Overview. UHHS Family

                   Medicine didactics (to residents). November 9, 2022




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  Note: Dr. Weiss continues to be an speaker presenting at programs across the
  United States. However, as of June 2007 only programs that were non-
  promotional in nature are listed above.




  XIV. Outpatient Teaching of Health Professionals in Training

       Instruction of internal medicine residents 1-2 half days a week in the
  months of June and July 1995 from University Hospitals of Cleveland.

         Teaching of 3rd year Family Practice Resident from the University Hospitals
  of Cleveland program: February 2004.

        Teaching of 3rd year Internal Medicine Resident from the University
  Hospitals of Cleveland program: December 2004, February 2005

         Teaching of Internal Medicine and Family Practice Residents from the
  osteopathic medicine programs of UHHS-Richmond Heights Hospital and
  Millcreek Community Hospital (Erie, PA): November 2005; March 2006, May 2006,
  September 2006, October 2006; May 2008, January 2009, August 2009, December
  2009, January 2010, February 2010, March 2010, June 2010, November 2010,
  August-December 2011, January 2012, June 2012 then until 2020.

         Teaching of medical students: April 2010, May 2013, February 2016, 2018,
  2019, 2020




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          Teaching of nurse practitioner students: July 2011, August 2014, July
          2015, July 2016, 2018, 2019, 2020, 2021


  Lecturer on Diabetes mellitus for the Ohio College of Podiatric Medicine:
               2003
              2004
              2006
              2007




  XV. Inpatient Teaching Service
         Internal Medicine Residents at Hillcrest Hospital
                             September 1992
                             May 1993
                             December 1993
                             July 1994
                             August 1996


  XVI. Legal experience

          Expert witness work:
  1992-1993 US Air Flight 405 in which plaintiff claimed diabetes was the result of
  the air crash.

  2021 in which the plaintiff claimed that a motor vehicle accident was the result of
  the person’s uncontrolled diabetes




  XVII. Participation in Clinical Trials




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         1991 to 1997: Intranasal calcitonin for the prevention of osteoporotic
  vertebral fractures (PROOF). Study 320. Principal investigator; sponsor : Sandoz
  (Novartis)

         1995 to 1997: The efficacy of fluoxetine in adult stuttering. Principal
  investigator of this investigator initiated trial.

        1996-97.Comparative outcomes study of metformin vs. conventional
  approach. Principal investigator ( sponsor: Bristol-Myers Squibb)

        1998 : A comparison of echocardiographic findings in patients treated with
  Redux (dexfenfluramine HCL) vs. matched obese patients not treated with
  anorexigens: a multicenter U. S. study. Principal investigator (sponsor: Interneuron
  Pharmaceuticals) Findings published in Circulation 1999; 100:2161-67.

         1998: Tricor U.S. multicenter physician experience trial. . Principal
  investigator (sponsor:Abbott)

        1998-99: An evaluation of the Serene support program in conjunction with
  Serzone for the treatment of depression. Principal investigator (sponsor:Bristol-
  Myers Squibb)

       2000-2001: Omapatrilat Cardiovascular Treatment Versus Enalapril:
  OCTAVE. Principal investigator (sponsor: Bristol-Myers Squibb).

          2000-2009: Action to Control Cardiovascular Risk in Diabetes (ACCORD)
  Trial. Principal investigator (sponsor: National Heart Lung and Blood Institute).

         2001-2002: Antihypertensive Efficacy of Adding Candesartan Cilexetil to
  Lisinopril in Comparison to Up-titration of Lisinopril. Principal investigator
  (sponsor: Astra-Zeneca).

         2001- 2003: A Randomized, Double-Blind, Placebo-Controlled,
  Multicenter, 24-week Study to Evaluate the Safety and Tolerability of Pyridorin
  (pyridoxamine dihydrochloride) in Patients with Diabetic Nephropathy Associated
  with Type 1 or Type 2 Diabetes. Sub-Principal investigator. (sponsor: Biostratum).

        2002: A Phase 3, Randomized, Triple-Blind, Parallel-Group, Long-Term,
  Placebo-Controlled, Multicenter Study to Examine the Effect on Glucose Control
  (HbA1c) of AC2993 Given Two Times a Day in Subjects With Type 2 Diabetes


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  Mellitus Treated With Metformin Alone. Principal investigator. (sponsor: Amylin
  Pharmaceuticals)

         2002: A Phase 3, Randomized, Triple-Blind, Parallel-Group, Long-Term,
  Placebo-Controlled, Multicenter Study to Examine the Effect on Glucose Control
  (HbA1c) of AC2993 Given Two Times a Day in Subjects With Type 2 Diabetes
  Mellitus Treated With a Sulfonylurea Alone. Principal investigator.   (sponsor:
  Amylin Pharmaceuticals)

         2002: A Phase 3, Randomized, Triple-Blind, Parallel-Group, Long-Term,
  Placebo-Controlled, Multicenter Study to Examine the Effect on Glucose Control
  (HbA1c) of AC2993 Given Two Times a Day in Subjects With Type 2 Diabetes
  Mellitus Treated With Metformin and a Sulfonylurea. Principal investigator.
  (sponsor: Amylin Pharmaceuticals)

         2002-2004: An Open-Label Extension Study to Examine the Long-Term
  Effect on Glucose Control (HbA1c) and Safety and Tolerability of AC2993 Given
  Two Times a Day to Subjects Treated With Metformin Alone. Principal
  investigator. (sponsor: Amylin Pharmaceuticals)

         2004: An Open-Label Extension Study of Protocol to Examine the Long-
  Term Effect on Glucose Control (HbA1c) and Safety and Tolerability of AC2993
  Given Two Times a Day to Subjects Treated With Sulfonylurea Alone. Principal
  investigator. (sponsor: Amylin Pharmaceuticals

         2004: An Open-Label Extension Study to Examine the Long-Term Effect on
  Glucose Control (HbA1c) and Safety and Tolerability of AC2993 Given Two Times
  a Day to Subjects Treated With Metformin and a Sulfonylurea. Principal
  investigator. (sponsor: Amylin Pharmaceuticals)

         2003-2005: Efficiency and Safety of Inhaled Technosphere/Insulin
  Compared to Technosphere/Placebo in Patients with Type 2 Diabetes Mellitus
  Following Diabetes Education. Principal investigator. (sponsor: Mannkind
  Corporation).

        2004-2007: An Open-Label Study to Examine the Long-Term Effect on
  Glucose Control (HbA1c) and Safety and Tolerability of Exenatide Given Two
  Times a Day to Subjects With Type 2 Diabetes Mellitus. Principal investigator.
  (sponsor: Amylin Pharmaceuticals)




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         2004-2006: A Multicenter, Randomized, Double-Blind Study to Compare
  the Effect of 24 Weeks Treatment with vildagliptin or Placebo in Drug Naïve
  Patients with Type 2 Diabetes. Principal investigator. (sponsor: Novartis
  Pharmaceuticals, Inc.)

          2004-2005: Apidra (insulin glulisine) Administered in a Fixed Bolus Regime
  vs. Variable Bolus Regime Based on Carbohydrate Counting in Adult Subjects
  with Type 2 Diabetes Receiving Lantus (insulin glargine) as Basal Insulin: A
  Multicenter, Randomized, Parallel, Open-Label Clinical Study. Principal
  investigator. (sponsor: Sanofi-Aventis PharmaceuticalsI

          2004-2007: A Three Year Safety and Tolerability Open-Label Follow-On
  Trial Evaluating Technosphere/Insulin in Subjects with Type 2 Diabetes Mellitus.
  Principal investigator. ( sponsor: Mannkind Corporation).

         2005: A Multicenter, Open-Label, Parallel 2:1, Randomized, Treat to Target
  Trial Comparing Efficiency and Safety of Insulin Detemir Versus Insulin Glargine
  Using a Basal/Bolus Regime with Insulin Aspart as Mealtime Insulin in Subjects
  with Type 2 Diabetes. Principal investigator. (sponsor: NovoNordisk).

         2005: A Multicenter, Randomized, Double-Blind, Parallel-Design Study to
  Evaluate the Lipid-Altering Efficacy of 2 Formulations of MK-0524A. Principal
  investigator. (sponsor: Merck & Co., Inc.)

          2005: A Multicenter, Randomized, Double-Blind, Placebo-Controlled, 1-
  Year Extension of the Phase lla Clinical Efficacy Study (026-01) to Assess the
  Tolerability of a Combination Tablet. Principal investigator. (sponsor: Merck &
  Co., Inc.)

         2005: A Multicenter, Randomized, Double-Blind, Parallel Group, 6-Week
  Study to Evaluate the Efficacy and Safety of Ezetimibe/Simvastatin Combination
  Tablet Versus Atorvastatin in Patients with Type 2 Diabetes Mellitus and
  Hypercholesterolemia. Principal investigator. (sponsor: Merck & Co., Inc.)

        2006-2008: Effect of glycemic control of liraglutide versus glimepiride in
  Type 2 Diabetes. NN2211-1573. (sponsor: Novo Nordisk)

        2006-2008: Pulmonary outcomes within a 2 year period in subjects with
  diabetes mellitus treated with study drug or usual anti-diabetic treatment and in




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  subjects without abnormalities in glucose control. MKC-TI-030. (sponsor:
  Mannkind)

         2006-2007: A 24-week multi-center, randomized, open-label study of
  study drug versus insulin in patients with Type 2 Diabetes mellitus. ACA401.
  (sponsor: Amylin).

        2006-2008: A Multicenter, Randomized, Double-Blind Active-Controlled,
  Phase 3 Trial to Evaluate the Efficacy and Safety of Saxagliptin in Combination
  With Metformin IR as Initial Therapy Compared to Saxagliptin Monotherapy and
  to Metformin IR Monotherapy in Subjects With Type 2 Diabetes Who Have
  Inadequate Glycemic Control. (sponsor: Bristol-Myers Squibb)

        2006-2008: The Collaborative Study Group Trial: The Effect of Sulodexide
  in Overt Type 2 Diabetic Nephropathy. KRX 101-401. (sponsor: Keryx).

          2006-2008: The Collaborative Study Group Trial: The Effect of Sulodexide
  in Patients With Type 2 Diabetes and Microalbuminuria. KRX 101-301. (sponsor:
  Keryx).

         2007-2008: A randomized, single and double-blind, three arm, parallel
  group, placebo controlled trial in patients with Type 2 Diabetes uncontrolled
  despite high doses of insulin plus insulin sensitizers. (sponsor: Bristol-Myers
  Squibb)

         2008-2010: A multicenter study to evaluate the safety, tolerability and
  efficacy of E2007 in patients with painful diabetic neuropathy. E2007-G000-227.
  (sponsor: Eisai)


        2008-2009: A Multicenter, Randomized Double-Blind, Placebo Controlled
  Study Comparing the Safety and Efficacy of multiple doses of study drug versus
  placebo in obese subjects with Type 2 Diabetes Mellitus. NB-304. (sponsor:
  Orexigen)

         2007-2009: A Randomized Double-Blind, Placebo Controlled 24 week
  study to evaluate the efficacy and safety of study drug versus pioglitazone in
  subjects with Type 2 Diabetes. INT131-007(sponsor: Intekrin Therapeutics)




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         2007-2009: A Randomized Double-Blind, Active-Controlled parallel group
  efficacy and safety study of study drug compared to glimepiride over two years in
  Type 2 diabetic patients with insufficient glycemic control despite metformin
  therapy. BI 1218.20 (sponsor: Boehringer Ingelheim).

         2008-2009: A Randomized Double-Blind, Placebo Controlled parallel
  group efficacy and safety study of BI1356 over 24 weeks in Type 2 diabetic
  patients with insufficient glycemic control despite metformin therapy. BI 1218.17.
  (sponsor: Boehringer Ingelheim).

          2009: A multicenter, randomized, placebo controlled “factorial’ design 12
  month study to evaluate the efficacy and safety of AVE5530 co-administered with
  all registered strengths of atorvastatin in patients with primary
  hypercholesterolemia. EFC 6911. (sponsor: Sanofi-Aventis).

         2008-2011: A multicenter, randomized, placebo controlled trial of study
  drug in patients with Type 2 diabetes uncontrolled on pioglitazone with or
  without metformin. EFC 6017 GET GOAL P. (sponsor: Sanofi-Aventis)

        2008-2009: Effect of glycemic control of study drug or exenatide added to
  metformin, sulphonylurea, or a combination of both in subjects with Type 2
  diabetes. NN2211-1797. (sponsor: Novo Nordisk).

         2008-2009: A randomized, open-label, parallel-group, comparator-
  controlled multicenter study to evaluate the glycemic effects, safety, and
  tolerability of weekly study drug in subjects with Type 2 diabetes mellitus. BCB
  108. (sponsor: Amylin)

        2008-2009: The effect of study drug compared to sitagliptin, both in
  combination with metformin in subjects with Type 2 diabetes. A 26 week,
  randomized open label active comparator three armed parallel group multicenter
  multinational trial with a 52 week extension. NN2211-1860. (sponsor: Novo
  Nordisk).

         2006-2008: Observational Study of Safety and Tolerability of Levemir™
  FlexPen™ (Insulin Detemir) in the Treatment of Type 1 and Type 2 Diabetes
  Mellitus




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         2008-2009: Effect of Two Different Fasting Blood Glucose Targets on
  Glucose Control in Patients With Type 2 Diabetes Using Insulin Detemir Once
  Daily (TITRATE™). (sponsor: Novo Nordisk)

        2008-2010: A randomized, double-blind, placebo-controlled, multi-center,
  Phase 2b study to evaluate the safety and efficacy of study drug in patients with
  nephropathy due to Type 2 Diabetes. Pyr-210. (sponsor: NephroGenex).

        2009: Efficacy, Safety and Preference Study of a Comparator Insulin Pen
  PDS290 vs. a Novo Nordisk Marketed Insulin Pen in Diabetics. (sponsor: Novo
  Nordisk)

         2009: A Phase 2, Randomized, double blind, placebo and active controlled
  multi-center study to determine the safety and efficacy of TAK-379 in subjects
  with Type 2 Diabetes. TAK-379-201. (sponsor: Takeda)

         2009-2010: A Phase 3 multi-center, open label, randomized, clinical trial
  evaluating efficacy and safety of study drug in combination with Lantus versus
  Humalog in combination with Lantus in subjects with Type 1 Diabetes mellitus
  over a 16 week treatment period. MKC-TI-117. (sponsor: Mannkind)

         2009-2010. A 12 week, double blind, placebo controlled trial of LY2428757
  in patients with Type 2 Diabetes mellitus. 1-MC-GECD(a). (sponsor: Eli Lilly).

         2009-2011: A randomized, double blind placebo controlled study to
  assess safety and efficacy of ISIS 301012 as add-on therapy in high risk
  hypercholesterolemic patients. ISIS 301012-CS12. (sponsor: Genzyme; Isis)

         2009-2010: A Phase 3 randomized, double blind placebo controlled,
  parallel group, safety and efficacy study of BI 1356 compared to placebo as add-
  on to pre-existing antidiabetic therapy over 52 weeks in Type 2 diabetic patients
  with severe chronic renal impairment. BI 1218.43 (sponsor: Boehringer Ingelheim)

         2008-2012: TRX4 Therapeutic Evaluation of Different Multi-Dose Regimens
  in Type 1 Diabetes Mellitus (TTEDD). (sponsor: Tolerx).

        2008-2012: DEFEND-1: Durable response therapy evaluation for early or
  new onset Type 1 Diabetes. TRX4_DM_006_NA-08. (sponsor: Tolerx)




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         2009- 2011: A multicenter, randomized, double-blind, placebo controlled
  study to evaluate the safety and tolerability of oral study drug in subjects with
  euvolemic hyponatremia. CK-LX3430 with open label extension. (sponsor:
  Cardiokine)

         2010-2012: A randomized, placebo controlled, 2 arm parallel group,
  multicenter study with a 24 week double blind treatment period assessing the
  efficacy and safety of study drug in patients with Type 2 Diabetes insufficiently
  controlled with insulin glargine and metformin. EFC 10781. (sponsor: Sanofi-
  Aventis)

         2010: A trial comparing efficacy and safety of NN1250 and insulin glargine
  in subjects with Type 2 Diabetes. NN1250-3724. (sponsor: Novo Nordisk).

         2010-2017: A randomized, placebo controlled clinical trial to evaluate
  cardiovascular outcomes after treatment with once weekly study drug in patients
  Type 2 Diabetes mellitus. (sponsor: Amylin, then AstraZeneca).

        2010-2012: DEFEND-2: Durable response therapy evaluation for early or
  new onset Type 1 Diabetes. (sponsor: Tolerx).

         2010-2017: A Randomized, Multicenter, Double-Blind, Parallel, Placebo-
  Controlled Study of the Effects of JNJ-28431754 on Cardiovascular Outcomes in
  Adult Subjects With Type 2 Diabetes Mellitus. (sponsor: Johnson and Johnson).

         2010-2011: A Phase 3, Multi-Center, Placebo-Controlled, Randomized,
  Double-Blind, 12-Week Study to Evaluate the Effect of Two Doses of AMR101 on
  Fasting Serum Triglyceride Levels in Patients With Persistent High Triglyceride
  Levels (≥200 mg/dL and <500 mg/dL) Despite Statin Therapy: The AMR101
  ANCHOR Study. (sponsor: Amarin)

         2010-2017: A Multicenter, Randomized, Active-Control, Phase 3B Study to
  Evaluate the Cardiovascular Safety and Efficacy of study drug and Allopurinol in
  Subjects With Cardiovascular Comorbidities, Hyperuricemia, and Gout. (sponsor:
  Takeda)

         2010- 2011: An open label randomized multicenter study to assess patient
  preference for and evaluate clinical benefit of insulin glargine (Lantus®)
  SoloSTAR® pen versus conventional vial/syringe method of insulin glargine
  (Lantus®) injection therapy in patients with type 2 diabetes mellitus. Study 05191.


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  (sponsor: Sanofi-Aventis).

        2011- 2013: A Phase 3, multinational, randomized, double-blind, placebo-
  controlled, parallel-group study to investigate the clinical efficacy and safety of
  DiaPep277® in newly diagnosed Type 1 diabetes subjects. (sponsor: Andromeda
  Biotech).

         2011-2012: Bardoxolone methyl evaluation in patients with chronic kidney
  disease and Type 2 diabetes: the occurrence of renal events
  (BEACON). (sponsor: Reata Pharmaceuticals).


         2011-2012: Natural History Study of the Development of Type 1 Diabetes.
  NIH Trial-Net.

         2011-2012: A Phase 3b, multi-Center, double-blind, placebo-controlled,
  parallel group, study to evaluate the effect of Dalcetrapib 600 mg on
  cardiovascular events in adult patients with stable coronary heart disease, CHD
  risk equivalents or at elevated risk for cardiovascular disease . (sponsor: Roche).

          2012-2013: The impact of LY2605541 versus Insulin Glargine for patients
  with Type 1 Diabetes mellitus treated with preprandial insulin Lispro: a double
  blind, randomized 52 week study. The Imagine 3 study. (sponsor Lilly).

          2012-2013: The impact of LY2605541 versus Insulin Glargine for patients
  with Type 2 Diabetes mellitus advanced to multiple injection bolus insulin with
  insulin Lispro: a double blind, randomized 26 week study. The Imagine 4 study.
  (sponsor: Lilly).


         2012-2013: 6-Month, Multicenter, Randomized, Open-label, Parallel
  group, Study Comparing the Efficacy and Safety of a New Formulation of Insulin
  Glargine and Lantus both plus Mealtime Insulin in Patients with Type 2 Diabetes
  Mellitus with a 6-Month Safety Extension Period. EFC 11628 (sponsor: Sanofi-
  Aventis).

         2012-2015: A multicenter, randomized, double-blind, placebo-controlled
  study assessing the occurrence of major adverse cardiovascular events in
  overweight and obese subjects with cardiovascular risk factor receiving
  naltrexone SR/bupropion SR. (sponsor: Orexigen Therapeutics)


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       2012-2015: Effects on glycemic control and weight of a modified
  commercial weight control program for people with Type 2 Diabetes. (sponsor:
  Weight Watchers International, Inc.)

         2012-2013: A 6-Month, Multicenter, Randomized, Open-label, Parallel-
  group Study Comparing the Efficacy and Safety of a New Formulation of Insulin
  Glargine and Lantus Injected in the Morning or Evening in Patients with Type 1
  Diabetes Mellitus with a 6-month Safety Extension Period (sponsor: Sanofi
  Aventis)

         2012-2013: Long-term safety and tolerability of REGN727/SAR236553 in
  high cardiovascular risk patients with hypercholesterolemia not adequately
  controlled with their lipid modifying therapy: a randomized, double-blind,
  placebo-controlled study. (sponsor: Sanofi-Aventis)

        2013-2014: A comparison of LY2605541 once daily at a fixed time with
  LY2605541 variable time of dosing in patients with type 1 diabetes mellitus: An
  open label, randomized, crossover study. (sponsor: Lilly)

        2013-2015: Efficacy and safety of FIAsp compared to insulin aspart both in
  combination with insulin detemir in adults with Type 1 Diabetes. onset 1.
  (sponsor: Novo Nordisk)

         2013-2016: A trial comparing cardiovascular safety of insulin degludec
  versus insulin glargine in subjects with Type 2 Diabetes at high risk of
  cardiovascular events. Devote. (sponsor: Novo Nordisk).

          2014-2015: The efficacy and safety of liraglutide as adjunct therapy to
  insulin in the treatment of Type 1 Diabetes. Adjunct One.
  (sponsor: Novo Nordisk)

         2014-2015 : A randomized Phase 2, double-blind, placebo-controlled,
  treat-to-target, parallel group, 3-arm, multicenter study to assess the efficacy and
  safety of canagliflozin as add-on therapy to insulin in the treatment of subjects
  with Type 1 Diabetes mellitus. (sponsor: Janssen)

         2015-2016: A phase 2 double-blind, placebo-controlled, dose-ranging
  study evaluating the efficacy, safety and tolerability of GS-4997 in subjects with
  diabetic kidney disease. (sponsor: Gilead Sciences)


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          2015-2017: An open label, randomized, multi-center, parallel-group clinical
  trial comparing efficacy and safey of Mylan’s insulin glargine with Lantus in Type
  1 Diabetes mellitus patients. (sponsor: Mylan)

         2016-2018: A randomized, active-controlled, parallel group, 16 week
  open label study comparing the efficacy and safety of the morning injection of
  Toujeo (insulin glargine U300) versus Lantus in patients with Type 1 Diabetes
  mellitus. (sponsor: Sanofi)

          2016-2018: A 26 week randomized, open-label, active controlled, parallel
  group, study assessing the efficacy and safety of the insulin glargine/lixisenatide
  fixed ratio combination in adults with Type 2 Diabetes inadequately controlled on
  GLP-1 receptor agonist and metformin + pioglitazone, followed by a fixed ratio
  combination single-arm 26 week extension period. (sponsor: Sanofi)

        2016-2020: Simponi to arrest Beta cell loss in Type 1 Diabetes. (sponsor:
  Janssen).

        2016-2019: Efficacy and safety of oral semaglutide using a flexible dose
  adjustment based on clinical evaluation versus sitagliptin in subjects with Type 2
  Diabetes mellitus. (sponsor: Novo Nordisk)


        2017-2018: Efficacy and safety of fast-acting insulin aspart compared to
  NovoRapid® both in combination with insulin degludec with or
  without metformin in adults with Type 2 Diabetes (onset® 9). (sponsor: Novo
  Nordisk)

         2017-2019: I8B-MC-ITRM: A prospective, randomized, double-blind
  comparison of LY900014 to Insulin Lispro with an open-label postprandial
  LY900014 arm, in combination with insulin glargine or insulin degludec, in adults
  with Type 1 Diabetes: PRONTO-T1D. (sponsor: Lilly)

         2017-2019: EFC14868: A randomized, double-blind, placebo-controlled,
  parallel-group, 52-week multicenter study to evaluate the efficacy and safety of
  sotagliflozin in patients with Type 2 Diabetes who have inadequate glycemic
  control on basal insulin alone or in addition to oral anti-diabetes drugs (OADs).
  (sponsor: Sanofi)




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          2018-2020: EFC14875: A randomized, double-blind, placebo controlled,
  parallel group, multicenter study to demonstrate the effects of sotagloflozin on
  cardiovascular and renal events in patients with Type 2 Diabetes, cardiovascular
  risk factors and moderately impaired renal function. The SCORED Trial. (sponsor:
  Sanofi)

         2019: Long term effects of semaglutide on diabetic retinopathy in subjects
  with Type 2 Diabetes NN9535-4532 (FOCUS). (sponsor: Novo Nordisk)

         2019-2021: Cardiovascular outcomes with oral semaglutide in subjects
  with Type 2 Diabetes NN9924-4473 (SOUL). (sponsor: Novo Nordisk)




  XVIII. Speakers Bureaus and Advisory Boards: current
          Lilly



  May 10, 2023




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